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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA




DJENEBA SIDIBE, JERRY JANKOWSKI,
SUSAN HANSEN, DAVID HERMAN,
CAROLINE STEWART, OPTIMUM
GRAPHICS, INC., and JOHNSON POOL &
SPA, on Behalf of Themselves and All Others
Similarly Situated,
                                                 Case No. 3: 12-cv-4854-LB
                         Plaintiffs,
                                                 CLASS ACTION
                 v.


SUTTER HEALTH,


                         Defendants.




     Declaration of Dr. Tasneem Chipty in Opposition to Motion for Summary Judgment
                                       May 26, 2018



                      Filed Under Seal Pursuant to Protective Order
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I.     Introduction

       1.      My name is Tasneem Chipty. I declare the following under penalty of perjury.

       2.      I am the managing principal and founder of Matrix Economics, an economic
consulting firm in the Boston area. I specialize in industrial organization – the study of how
markets function, including the choices consumers make and the competitive interactions among
firms. I also specialize in econometrics – the application of statistical methods, including
regression models, to study empirically marketplace behaviors. I have served on the faculties of
The Ohio State University, Brandeis University, and the Massachusetts Institute of Technology,
where I taught courses in industrial organization, regulatory policy, and econometrics. I am the
author or coauthor of several academic articles, published in peer-reviewed journals including
the American Economic Review and the Review of Economics and Statistics.

       3.      I have been a consultant to a variety of businesses and government agencies,
including the Department of Justice and the Federal Communications Commission. As part of
this work, I have studied market definition and competitive effects of firm behavior in a wide
range of industries, for both plaintiffs and defendants involved in adversarial proceedings. A
significant portion of my work has focused on the healthcare marketplace, specifically on issues
involving hospital competition and hospital contracting practices. For example, I served as a
consulting expert for private plaintiff Saint Alphonsus Medical Center to evaluate the
competitive effects of St. Luke’s Health System’s acquisition of Saltzer Medical Group, in
Nampa, Idaho. I serve as an antitrust advisor to the Massachusetts Health Policy Commission,
and in that capacity have studied the competitive effects of hospital acquisitions by Partners
Health Care. For these and other assignments, I have analyzed patients’ choice of hospitals using
both state inpatient databases and health plan claims data; I have studied issues of product and
geographic market definition; and I have studied the question of whether hospitals have market
power over health plans in various relevant antitrust markets. I have also provided economic
analyses in matters concerning class certification: in particular, I served as a testifying expert for
the defense in Comcast Corp. v. Behrend, a case that included United States Supreme Court
proceedings. I received my Ph. D. in economics from the Massachusetts Institute of Technology
in 1993 and my B. A. degree in economics and mathematics from Wellesley College in 1989. A




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copy of my resume is attached as Appendix A. It describes my background, including education,
publications, and testimony experience.

        4.       I have been retained as an independent expert by Plaintiffs’ counsel to undertake
economic analyses of issues pertaining to liability, damages, and class certification in Sidibe et
al. vs. Sutter, a lawsuit challenging certain contracting practices of Sutter Health (“Sutter”) with
commercial health plans, such as Anthem Blue Cross of California (“Anthem”) and Blue Shield
of California (“Blue Shield”). 1 Sutter is the second largest health system in Northern California,
second only to Kaiser Permanente (“Kaiser”). Kaiser, however, is a closed health system that
does not contract with non-Kaiser commercial health plans. Sutter, therefore, is the largest
hospital system in Northern California with which commercial health plans can contract to
assemble provider networks to attract subscribers seeking to access healthcare in Northern
California. Plaintiffs allege that Sutter exercises its market power over certain irreplaceable
Sutter hospitals, in what Plaintiffs refer to as “Tying Markets,” to force health plans into “all-or-
nothing” contracting; the effect of this practice is to tie the sale of Sutter hospitals in the Tying
Markets to the sale of other Sutter hospitals, in what Plaintiffs refer to as “Tied Markets,” where
health plans (and their plan members) have more hospital choices. 2,3

        5.       In their Complaint, Plaintiffs describe the boundaries of the relevant geographic
markets for the sale of general acute care inpatient hospital services to health plans using
geographic regions known as “hospital service areas” (or “HSAs”), as defined by the Dartmouth




1
  “Fourth Amended Complaint,” Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf of Themselves and
All 15 Other Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, filed September 29, 2017 in the United
States District Court Northern District of California (hereafter “Complaint”), ¶ 1.
2
  Complaint, ¶ 4-6.
3
  Throughout this report, I use the terms: (a) “health plan” to mean commercial health plans or insurers that sell
health insurance products; (b) “subscribers” to mean the purchasers of healthcare insurance products, including both
group purchasers, such as employers, and individuals; (c) “plan member” to mean individuals that are covered by
the health insurance policy; and (d) “patients” to mean individuals that use healthcare services.




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Atlas of Health Care. 4,5 Specifically, the Complaint describes as the tied geographic markets the
four geographies of: (a) the Sacramento HSA; (b) the San Francisco HSA; (c) the Modesto HSA;
and (d) the Santa Rosa HSA. 6 The Complaint also describes as the tying geographic markets the
eight geographies of: (a) the combination of the Berkeley and Oakland HSAs; (b) the Crescent
City HSA; (c) the Lakeport HSA; (d) the Antioch HSA; (e) the Jackson HSA; (f) the Tracy HSA;
(g) the Auburn HSA; and (h) the Davis HSA. 7

         6.       My assignment for this report is to evaluate whether the Tying and Tied Markets
described by Plaintiffs in their Complaint constitute relevant hospital antitrust markets for the
purpose of assessing harm to competition resulting from Sutter’s conduct. I have also been asked
to evaluate the analyses and opinions put forward by Sutter’s expert, Professor Gautam
Gowrisankaran, regarding the validity of the geographic markets set forth in the Complaint. 8
Professor Gowrisankaran makes four distinct points in his report. First, he explains that
Dartmouth Atlas HSAs “were not intended to serve as antitrust markets.” 9 Second, he describes
the distance between residents of an HSA and their nearest hospital outside of that HSA,
concluding that patients have nearby alternative hospitals outside of their HSA. 10 Third, he


4
  Complaint, ¶ 3. The Dartmouth Institute for Health Policy & Clinical Practice, the organization that compiles the
Dartmouth Atlas of Healthcare, describes HSAs as a “collection of ZIP codes whose residents receive most of their
hospitalizations from the hospitals in that area.” See The Dartmouth Atlas of Healthcare, “Glossary,” available at
http://www.dartmouthatlas.org/tools/glossary.aspx, site visited April 4, 2018. See also, The Center for the
Evaluation of Clinical Services, “The Dartmouth Atlas of Health Care,” available at
http://www.dartmouthatlas.org/downloads/atlases/96Atlas.pdf, site visited April 4, 2018, pp. 12-13.
5
  General acute care inpatient hospitals provide a broad range of 24-hour inpatient care that includes but is not
limited to medical, nursing, surgical, and pharmacy services. These hospitals exclude specialty facilities such as
psychiatric hospitals, rehabilitation facilities, and long-term acute care. For ease of notation, I refer to general acute
care inpatient hospitals as “hospitals” and general acute care inpatient hospital services as “inpatient hospital
services.” See “§ 70005. General Acute Care Hospital,” 22 CCR § 70005, available at
https://govt.westlaw.com/calregs/Document/ID7B72350D4BB11DE8879F88E8B0DAAAE?viewType=FullText&o
riginationContext=documenttoc&transitionType=CategoryPageItem&contextData=(sc.Default), site visited May 11,
2018.
6
  Complaint, ¶ 5.
7
  Complaint, ¶ 4.
8
  “Declaration of Gautam Gowrisankaran, Ph. D,” Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf of
Themselves and All 15 Other Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, filed October 5, 2017
(hereafter “Gowrisankaran Report”); and Deposition of Gautam Gowrisankaran, Ph. D., Djeneba Sidibe, Diane
Dewey and Jerry Jankowski on Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health, Case No.
3:12-cv-4854-LB, February 6, 2018 (hereafter “Gowrisankaran Deposition”).
9
  Gowrisankaran Report, pp. 14-37.
10
   Gowrisankaran Report, pp. 37-41.




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describes patient flows and observes that some area-patients seek care outside of the HSA in
which they live. 11 Fourth, he observes that Kaiser competes for subscribers in HSAs where it
does not have a local hospital. 12 Based on these analyses, Professor Gowrisankaran concludes
that the geographic markets outlined in the Complaint are not valid antitrust markets because
they ignore significant competitive constraints on Sutter. 13 I evaluate the relevance of each of
Professor Gowrisankaran’s points in this report.

         7.       In forming my opinions, I have reviewed documents prepared in the ordinary
course of business from Sutter and various California health plans, including Anthem, Blue
Shield, UnitedHealthcare Group Inc. (“United”), Health Net, Inc. (“Health Net”), and Aetna Inc.
(“Aetna”). I understand that my team and I have had access to all documents, deposition
testimony, and discovery responses produced by or to Plaintiffs in this matter. These documents
include, but are not limited to, strategy documents, internal email exchanges, pricing analyses,
and contracts. Among other things, I have analyzed: (a) data from the American Hospital
Association; (b) inpatient discharge and hospital annual financial disclosure data from the Office
of Statewide Health Planning and Development (“OSHPD”); (c) data from the Centers for
Medicare and Medicaid Services; (d) claims data from Anthem; and (e) data from the California
Department of Insurance (“CDI”) and the California Department of Managed Health Care
(“DMHC”). I have also reviewed declarations filed in the UFCW & Employers Benefit Trust
(“UEBT”) matter by Sutter and by former and current health plan executives, 14 including, but not
limited to, those of: (a) David Joyner, who served as Vice President of Corporate Development
from 1998 to 2002, Vice President of Network Management from 2002 to 2008, and Senior Vice
President of Large Group and Specialty Benefits from 2009 to 2012 at Blue Shield; 15 (b) Tracy


11
   Gowrisankaran Report, pp. 41-51.
12
   Gowrisankaran Report, pp. 51-56.
13
   Gowrisankaran Report, p. 56.
14
   “Class Action Complaint,” UFCW & Employers Benefit Trust v. Sutter Health; Sutter East Bay Hospitals; Sutter
West Bay Hospitals; Eden Medical Center; Sutter Central Valley Hospitals; Mills-Peninsula Health Services; Sutter
Health Sacramento Sierra Region; Sutter Coast Hospital; Palo Alto Medical Foundation for Healthcare, Research
and Education; and Sutter Medical Foundation, Case No. CGC-14-538451, filed April 7, 2014 in Superior Court of
the State of California for the City and County of San Francisco (hereafter “UEBT Complaint”).
15
   “Declaration of David Joyner in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 7, 2017 (hereafter “Joyner Declaration”).




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Barnes, Director of Contracting for Northern California at Blue Shield; 16 (c) Steve Melody, who
served as Director of Network Development and Management for Northern California from 1997
to 2001 and Vice President of Health Care Service from 2001 to 2009 at Anthem; 17 (d) Aldo De
La Torre, Vice President of Anthem; 18 (e) Janet Lundbye, who served as Vice President of
Network Management in California from 2009 to 2015 and is currently the Regional Vice
President of Network Strategy for the West Region at United; 19 (f) Chandra Welsh, Vice
President for Network Management in Northern California at Aetna; 20 and (g) Becky LaCroix-
Milani, Regional Vice President for Provider Network Management at Health Net. 21 I have also
reviewed deposition testimony collected in this matter, including, but not limited to, the
testimony of: (a) Robert Reed, Sutter’s Former Chief Financial Officer; (b) Peter Anderson,
Sutter’s Chief Strategy Officer; (c) Melissa Brendt, Sutter's Chief Contracting Officer; (d) Randy
Lukins, Regional Director of Contracting for Anthem; (e) Michael Beuoy, Vice President at Blue
Shield, overseeing pricing and forecasting for all of Blue Shield’s lines of business; (f) Tracy
Barnes; and (g) David Joyner. In addition, I have reviewed both Professor Gowrisankaran’s
report and his deposition testimony in this matter. These and other materials are cited throughout
my report. A full list of materials that I have considered in forming my expert opinions with
respect to my assignment in this report is attached as Appendix B.

         8.       The work presented in this report has been conducted by me and staff working
under my direction, at both Berkeley Research Group and Matrix Economics. I receive $850 per


16
   “Declaration of Tracy Barnes in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 7, 2017 (hereafter “Barnes Declaration”).
17
   “Declaration of Steve Melody in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 7, 2017 (hereafter “Melody Declaration”).
18
   “Declaration of Aldo De La Torre in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 7, 2017 (hereafter “De La Torre Declaration”).
19
   “Declaration of Janet Lundbye in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 6, 2017 (hereafter “Lundbye Declaration”).
20
   “Declaration of Chandra Welsh in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 8, 2017 (hereafter “Welsh Declaration”).
21
   “Declaration of Becky LaCroix-Milani in Connection with Plaintiff UEBT’s Motion for Class Certification,”
UFCW & Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health,
et al., Defendants, Case No. CGC 14-538451, February 7, 2017 (hereafter “Lacroix-Milani Declaration”).


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hour for my work in this matter. I also receive compensation from Berkeley Research Group
based on its collected staff billings in support of this effort. My compensation is not dependent
on the outcome of this matter. My work in this matter is ongoing. I reserve the right to
supplement and to amend my opinions.


II.       Summary of Opinions

          9.     Based on my training and experience in healthcare antitrust economics, my
review of the record in this case, and the analyses described in this report, it is my opinion that
eleven of the twelve candidate geographic markets described by Plaintiffs in their Complaint are
relevant hospital antitrust markets. Of these eleven, four are Tied Markets and seven are Tying
Markets. These eleven are as follows:

      •   The Sacramento HSA, where Sutter owns and operates Sutter Medical Center,
          Sacramento (“Sutter Sacramento”);

      •   The San Francisco HSA, where Sutter owns and operates four campuses, including the
          St. Luke’s campus, of California Pacific Medical Center (“CPMC”);

      •   The Modesto HSA, where Sutter owns and operates Memorial Medical Center Modesto
          (“Sutter Modesto”);

      •   The Santa Rosa HSA, where Sutter owns and operates Sutter Santa Rosa Regional
          Hospital (“Sutter Santa Rosa”); 22

      •   The combined Berkeley and Oakland HSAs, where Sutter owns and operates several
          campuses, including the Summit campus, of Alta Bates Medical Center (“Alta Bates”);

      •   The Crescent City HSA, where Sutter owns and operates Sutter Coast Hospital (“Sutter
          Coast”);

      •   The Lakeport HSA, where Sutter owns and operates Sutter Lakeside Hospital (“Sutter
          Lakeside”);



22
   In 2014, Sutter closed Sutter Medical Center of Santa Rosa and opened a new location, Sutter Santa Rosa
Regional Hospital. See Sutter Health, “Sutter Santa Rosa History,” available at
https://www.sutterhealth.org/ssrrh/about/history/history-ssrrh, site visited April 2, 2018.


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     •   The Antioch HSA, where Sutter owns and operates Sutter Delta Medical Center (“Sutter
         Delta”);

     •   The Jackson HSA, where Sutter owns and operates Sutter Amador Hospital (“Sutter
         Amador”);

     •   The Tracy HSA, where Sutter owns and operates Sutter Tracy Community Hospital
         (“Sutter Tracy”); and

     •   The Auburn HSA, where Sutter owns and operates Sutter Auburn Faith Hospital (“Sutter
         Auburn”).

         10.      In the case of the Sutter Davis Hospital (“Sutter Davis”), the evidence suggests
that the relevant antitrust market is no broader than the hospital’s 90 percent primary service area
(“PSA”). 23 I also find that Sutter has market power in each of the Tying Markets, regardless of
whether there may be support for a broader geography. My conclusions are based on a
combination of economic principles, descriptive and statistical analyses of patient discharge data,
ordinary-course documents from both health plans and Sutter, and testimony from health plan
executives. The key pieces of evidence are summarized here:

         11.      First, the evidence shows that, in most of the candidate markets, the majority of
area-patients prefer a local area-hospital for their inpatient hospital care. For eleven of the
twelve candidate geographic markets (I discuss the Davis HSA separately, below), the percent of
patients in each candidate geographic market that stays in the candidate geographic market for
their care is: (a) over 75 percent for Sacramento; (b) about 95 percent for San Francisco; (c)
about 80 percent for Modesto; (d) about 75 percent for Santa Rosa; (e) about 80 percent for
Berkeley-Oakland; (f) about 70 percent for Crescent City; (g) about 50 percent for Lakeport; and


23
  The term primary service area generally refers to the geography from which the hospital receives most of its
patients. This concept is used in the ordinary course by hospitals as well as by federal antitrust authorities tasked
with oversight of hospital markets. For example, accountable care organizations track their 75 percent service area,
which is defined as “the lowest number of postal zip codes from which [an accountable care organization
participant] draws at least 75 percent of its [patients].” (See U.S. Department of Justice, “Statement of Antitrust
Enforcement Policy Regarding Accountable Care Organizations Participating in the Medicare Shared Savings
Program.” Federal Register, Vol. 76, No. 209, 2011, available at https://www.gpo.gov/fdsys/pkg/FR-2011-10-
28/pdf/2011-27944.pdf, site visited April 24, 2018, at p. 67028.) Similarly, a hospital’s 90 percent primary service
area is the smallest collection of zip codes which account for 90 percent of the hospital’s discharges. Throughout
this report, I use the term “PSA” to refer to a 90 percent primary service area defined in this way.




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(h) about 55 percent for Tracy. For Jackson, Antioch, and Auburn, this number is about 40
percent. This evidence is consistent with nationwide findings that show that most patients seek
care near where they live. 24 It is also consistent with evidence from other cases cited by
Professor Gowrisankaran. 25 Professor Gowrisankaran fails to recognize this pattern, even though
he computes comparable numbers. 26

         12.      Second, the evidence shows that patients who stay in the candidate geographic
market for their inpatient care spend substantially less time driving than patients who travel
outside the area for their care. The average drive times for area-patients who receive their care
from a hospital in the candidate geographic market versus area-patients who receive their care
from an outside hospital are as follows: (a) 17 versus 38 minutes for Sacramento; (b) 16 versus
45 minutes for San Francisco; (c) 18 versus 71 minutes for Modesto; (d) 20 versus 67 minutes
for Santa Rosa; (e) 14 versus 45 minutes for Berkeley-Oakland; (f) 16 versus 107 minutes for
Lakeport; (h) 17 versus 44 minutes for Antioch; (i) 21 versus 71 minutes for Jackson; (i) 9 versus
51 minutes for Tracy; and (k) 18 versus 45 minutes for Auburn. 27 If patients who choose to


24
   Probst, Janice, Sarah Laditka, Jong-Yi Wang, and Andrew Johnson, “Effects of Residence and Race on Burden of
Travel for Care: Cross Sectional Analysis of the 2001 US National Household Travel Survey,” BMC Health
Services Research, Vol. 7, No. 40, 2007, pp. 1-13.
25
   In FTC et al. vs. Advocate-NorthShore, the economic evidence noted by the court was that “most patients prefer to
go to nearby hospitals” and that “80 percent of patients drove to the hospital of their choice in 20 minutes or less.”
(See “Opinion,” Federal Trade Commission and State of Illinois v. Advocate Health Care Network, Case No. 16-
2492, filed October 31, 2016 (hereafter “Advocate-NorthShore Appellate Decision”), p. 14.) In FTC et al. v. Penn
State Hershey Medical Center et al., the court noted that “The Government presented undisputed evidence that 91%
of patients who live in Harrisburg receive GAC [general acute care] services in the Harrisburg area. Such a high
number of patients who do not travel long distances for healthcare supports the Government’s contention that GAC
services are inherently local.” (See “Opinion,” Federal Trade Commission and Commonwealth of Pennsylvania v.
Penn State Hershey Medical Center; Pinnacle Health System, Case No. 16-2365, filed September 27, 2016 hereafter
“Hershey-Pinnacle Appellate Decision”), p. 21.)
26
   Differences in my and Professor Gowrisankaran’s patient flows stem from differences in our underlying data.
Professor Gowrisankaran uses the 2015 release of OSHPD’s Patient Origin and Market Share Data (“POMS”), a
summary dataset calculated by OSHPD based on patient discharges. By contrast, I use the 2011 OSHPD Patient
Discharge Data (“PDD”). A key difference between the two datasets is the rate at which zip codes are shortened
from five digits to three digits, or completely redacted to preserve patient confidentiality. Roughly ten percent of zip
codes in the POMS data are partially or completely masked, compared to roughly one percent of zip codes in the
2011 PDD. 2011 is the last year in which OSHPD made available the more disaggregate data. Thus, my estimates,
computed from the PDD, are more accurate than Professor Gowrisankaran’s estimates. See Gowrisankaran Report,
Footnote 78.
27
   For Crescent City, the average drive time for area-patients who receive care at an area-hospital is 32 minutes. I am
not able to compute average drive times for area-patients who travel outside of the area for hospital care, because the
OSHPD data are missing data for area-patients that choose an Oregon hospital. The average drive time for area-
patients that choose a California hospital is 275 minutes.




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receive care at out-of-area hospitals do so because of the proximity to these hospitals, they
should have similar average drive times as patients who receive care at in-area hospitals. These
results show that, contrary to Professor Gowrisankaran’s assertions, area-patients who drive
outside of the candidate geographic markets are typically not going to otherwise closer hospitals
just outside of the candidate geography. Further, the large difference in drive times makes it less
likely that patients who receive their care at an area-hospital would be willing to switch to a
hospital outside of the area. In other work, Professor Gowrisankaran himself has recognized that
the large literature on hospital choice finds that patients are “very sensitive to travel time” and
that “an increase in travel time of 5 minutes” can have a material impact on patient choice and
consumer welfare. 28

         13.      Third, the evidence shows that patients who choose hospitals in the candidate
geographic area are insistent on hospitals in the candidate geography. There are several pieces
of evidence that show insistence for hospitals in the candidate geography. The first of these
comes from an ordinary-course analysis performed by Blue Shield in 2014 (referred to as the
“Blue Shield redirection analysis”) that provides direct assessment of health plans’ ability to
substitute hospitals in the candidate geography with hospitals outside of it. 29 As part of this
analysis, Mr. Tracy Barnes, Blue Shield’s Director of Provider Contracting for Northern
California, and his colleagues used their decades of experience designing hospital networks in
California to determine whether and where patients would be redirected if Sutter were to go out-
of-network and patients were to experience a significant increase in out-of-pocket costs for


28
   Gowrisankaran, Gautam, Aviv Nevo, and Robert Town, “Mergers When Prices are Negotiated: Evidence from the
Hospital Industry,” American Economic Review, Vol. 175, No. 1, 2015, pp. 172-203, at p. 23 (“Consistent with the
large literature on hospital choice, we find that patients are very sensitive to travel times. The willingness to travel is
increasing in the DRG weight and decreasing in age. An increase in travel time of 5 minutes reduces each hospital's
share between 17 and 41%. The parameter estimates imply that increasing the travel time to all hospitals by one
minute reduces consumer surplus by approximately $167.”).
29
   For several Sutter hospitals, a Blue Shield team conducted a two-step analysis of UEBT claims to determine
whether and where Sutter patients would redirect, if their chosen Sutter hospital were to go out of network. In the
first step, the team determined the share of dollars that could potentially be redirectable to other hospitals. In the
second step, the team determined, based on their “experience of the marketplace and understanding of which
hospitals are complimentary, how far apart they are from one another, [and] preferences of members,” where
patients would redirect. (See Deposition of Tracy Barnes, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, January 30-
31, 2018 and February 1, 2018 (hereafter “Barnes Deposition”), pp. 432 and 440.) For a more complete description
of the Shield redirection analysis, see: (a) BSC_SutterSub00063535; (b) BSC_SutterSub00037814 – 2014-4
Analysis Redirect.xls; and (c) Barnes Deposition, pp. 423-470 and Exhibit 162.




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choosing their local Sutter hospital. Blue Shield expected that                                          of patient
dollars, for patients who received care at a Sutter hospital in each of the candidate geographies,
would remain at a local area-hospital, even if the local Sutter hospital were to go out-of-network.
The percent that would remain local, either at Sutter or at another area-hospital, is: (a)
percent for                   (b)         percent for                       (c)     percent for                (d)
percent for                 ; (e)     percent for                           ; (f)      percent for
(b)     percent for                 (c)     percent for               (d)         percent for            (e)
                                                             30
percent for            and (f)      percent for                   Thus, the Blue Shield redirection analysis
shows that patients of these Sutter hospitals have strong preferences for hospitals in the local
geography, implying that health plans have little to no ability to substitute inside hospitals for
outside ones. Professor Gowrisankaran ignores this evidence. He explained in his deposition that
he did not review or seek out any ordinary-course documents or health plan testimony in
reaching his conclusions on market definition in this case, 31 even though health plan preferences
provide direct insight into patient preferences for area hospitals.

         14.      For the four candidate Tied Markets, I also conducted a diversion analysis based
on an econometric model of patient choice among non-Kaiser hospitals. 32,33 This diversion
analysis studies the question of where area-patients would go if they could no longer go to their
first-choice hospital and were forced to go elsewhere for their inpatient care. In each instance, I
find that the majority of patients who receive care inside of the candidate geographic market
would stay in the candidate geographic market even if their first-choice hospital were no longer
available to them. The percent that would stay in the candidate geography is: (a) 61 percent for



30
   Chipty Workpapers.
31
   Gowrisankaran Deposition, p. 83.
32
   This is a method commonly used in defining hospital geographic markets. See Farrell, Joseph, David Balan, Keith
Brand, and Brett Wendling, “Economics at the FTC: Hospital Mergers, Authorized Drugs, and Consumer Credit
Markets,” Review of Industrial Organization Vol. 39, No. 4, 2011, pp. 271-296 (hereafter “Farrell et al.”), at p. 275
(“We typically begin our empirical analysis by estimating the diversion ratios between the merging hospitals.”).
33
   Diversion analysis evaluates where patients would go if their preferred hospital was removed from their choice
set. If there are no other local hospitals, then this thought experiment necessarily forces patients to choose a hospital
outside of the candidate market, and it is inherently incapable of providing information on patient preference to stay
local. None of the candidate Tying Markets, with the exception of Berkeley-Oakland, have another non-Kaiser local
hospital. Berkeley-Oakland has a single alternative, Alameda County Medical Center, which has been out-of-
network for the major health plans for many years.




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Sacramento; (b) 65 percent for San Francisco; (c) 68 percent for Modesto; and (d) 73 percent for
Santa Rosa.

         15.      One cannot reject the notion of a candidate market as a relevant market, as
Professor Gowrisankaran has, simply because some patients leave the candidate market for their
hospital care. 34 To do so would be to fall into the trap of what is described by economists and
recognized by courts to be the “silent majority” fallacy. 35 For example, in Advocate-North Shore,
a case cited by Professor Gowrisankaran, 36 the appellate court concluded that the district court
erred by overlooking the market power created by the remaining patients’ preferences. In that
case, the evidence was that 48 percent of patients would stay in the candidate market if their
first-choice hospital (inside the candidate market) was not available to them. 37 Despite this fact,
the FTC’s economist found, and the court accepted, that the candidate market was a relevant
market. 38 As explained by the court, it is a mistake to “focus on the patients who leave a
proposed market instead of on hospitals’ market power over the patients who remain, which
means that the hospitals have market power over the insurers who need them to offer
commercially viable products to customers who are reluctant to travel farther for general acute
hospital care.” 39 Professor Gowrisankaran did not rely upon a diversion analysis, a widely-used
method in hospital market definition, in arriving at his opinions about market definition in this
case. 40 Furthermore, by rejecting the candidate markets as relevant markets because of patient
outflow, he has committed the error of ignoring the “silent majority.”

34
   To do so would require a basis to conclude that the actual travel habits of some consumers would be predictive of
the travel habits of others, in response to a price increase by a hypothetical monopolist. See Capps, Cory, David
Dranove, Shane Greenstein, and Mark Satterthwaite, “The Silent Majority Fallacy of the Elzinga-Hogarty Criteria:
A Critique and New Approach to Analyzing Hospital Mergers,” National Bureau of Economics Research, Working
Paper 8216, available at http://www.nber.org/papers/w8216, site visited April 4, 2018, pp. 1-52 (hereafter “Capps et
al.”), at p. 1 (“[I]f travelers and non-travelers display fundamentally different demand behavior, either because they
differ in their taste for travel or their need for local/non-local services, then there is no necessary relationship
between the market experiences of these two groups post-merger.”).
35
   Capps et al., Op. Cit.
36
   Gowrisankaran Report, pp. 35-36 and Exhibit 6.
37
   Advocate-North Shore Appellate Decision, pp. 23-24.
38
   Id.
39
   Advocate-North Shore Appellate Decision, pp. 25-26.
40
   Gowrisankaran Deposition, p. 164 (“Q: Is [the diversion ratio] a tool that’s used in market definition analysis
when it comes to hospital services? A: Yes diversion ratios are used.”), and pp. 201-202 (“Q: In your analysis, did
you go through a diversion ratio exercise? A: I did not perform any diversion ratios for – for my report here, for my
analysis.”).




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         16.      Fourth, most of the candidate markets satisfy the hypothetical monopolist test, as
described by the Federal Trade Commission and Department of Justice Merger Guidelines. 41
For the four candidate Tied Markets (the Sacramento, San Francisco, Modesto, and Santa Rosa
HSAs), I am able to use the diversion ratios and data on hospital prices and margins to determine
whether a profit-maximizing hypothetical monopolist over the non-Kaiser hospitals located in
the candidate geographic market would raise the price of at least one area-hospital, by at least
five percent above current levels. In each instance, I find that the answer is yes, meaning that the
test is satisfied and the candidate market is a relevant market. While Professor Gowrisankaran
describes the idea of the hypothetical monopolist test, 42 he does not actually implement or use it
to interpret whether the patient flows that exist are competitively significant. Had he done so, he
would have found that each of these four candidate Tied Markets is a relevant antitrust market.

         17.      For the candidate Tying Markets, I am not able to implement the same numerical
calculation, because there are no viable hospital alternatives in the local area. Where there are no
viable hospitals, standard diversion analysis will necessarily show outflow and the current price
levels will reflect monopoly pricing. 43 In these instances, I use the health plan testimony and
ordinary-course documents to draw inferences about market definition. 44

     •   The first piece of evidence comes from the Blue Shield redirection analysis; it provides a
         direct window to the hypothetical monopolist test, to the extent the preferences of the
         hospital’s patients resemble preferences of the residents of the candidate geography. The
         evidence shows that most patients of these hospitals in Plaintiffs’ candidate Tying


41
   U.S. Department of Justice and the Federal Trade Commission, “Horizontal Merger Guidelines,” DOJ, August 19,
2010, available at https://www.justice.gov/atr/horizontal-merger-guidelines-08192010, site visited April 7, 2018
(hereafter Merger Guidelines), § 4.
42
   Gowrisankaran Report, pp. 10-11.
43
   Where the hypothetical monopolist is an actual monopolist, the numerical calculation would suffer from the
Cellophane fallacy and lead to a false rejection of the candidate market as the relevant antitrust market. See Werden,
Gregory, “Market Delineation under the Merger Guidelines: Monopoly Cases and Alternative Approaches,” Review
of Industrial Organization, Vol. 16, No. 2, 2000, pp. 211-218 (explaining that there are times when it is appropriate
to use the Merger Guidelines’ paradigm for market delineation in non-merger cases, and there are times when it is
not.).
44
   As I explain below, central to hospital market definition is the question of whether a hypothetical monopolist over
hospitals in a candidate market could create a viable provider network without some set of area hospitals. If the
answer to the question is no, the hypothetical monopolist would have market power over health plans, and the
candidate market would be a relevant market. Testimony and document evidence can shed light on the extent to
which health plans need area-hospitals, even where numerical calculations are not possible.




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         Markets would not switch away from their chosen Sutter hospital, even if they had to pay
         significantly more out-of-pocket. (See Exhibit 19, below.) The evidence also shows



                                                                45
                                                                     Thus, this evidence supports the candidate
         geographies of the
                          as relevant antitrust markets. It also suggests
                                                                                 could be relevant antitrust
         markets.

     •   For Berkeley-Oakland, there is also direct evidence that a health plan would not be able
         to create a commercially viable network without including the local Sutter hospitals (Alta
         Bates-Main and Alta Bates-Summit).


                                                       6
                                                           Because of the substantial overlap between
         Alameda County and the Berkeley-Oakland HSAs, 47 Mr. Beuoy’s statement implies that


                                    Consistent with this view,



                                                                      8,49




45
   The share of PSA discharges that are in the candidate geographic market for each hospital are as follows: (a) 100
percent for Sutter Coast; (b) 82 percent for Sutter Lakeside; (c) 77 percent for Sutter Delta; (d) 66 percent for Sutter
Amador; (e) 51 percent for Alta Bates-Main; (f) 45 percent for Alta Bates-Summit; (g) 43 percent for Sutter Tracy;
and (h) 35 percent for Sutter Auburn. See Chipty Workpapers.
46




47
 Nearly 85 percent of Alta Bates patients living in Alameda County live in the two-HSA area of Berkeley and
Oakland. See Chipty Workpapers.
48




49
  Despite the fact that it was out-of-network and perceived to be lower quality, diversion analysis shows Alameda
County Medical Center was among the highest recipients of patients being diverted away from both Alta Bates and
Alta Bates Summit. See Chipty Workpapers.




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     •   In addition, there is direct evidence from health plans and Sutter about the “must have”
         nature of some of the Sutter hospitals. For example, according to United, Sutter has a
         “geographic monopoly” in areas with Sutter Tracy, Sutter Auburn, and Sutter Amador,
         indicating that from the perspective of residents living near these hospitals, it would not
         be feasible to assemble a commercially viable health plan without the local Sutter
         hospital. 50 Further, network adequacy requirements also necessitate that health plans
         include certain Sutter hospitals in their networks in some geographies, such as in the
         Crescent City HSA (with Sutter Coast). 51

Professor Gowrisankaran has ignored this documentary and testimony evidence. Yet, this
evidence supports the conclusion that the candidate Tying Markets of the Berkeley-Oakland
HSAs, the Crescent City HSA, the Lakeport HSA, the Antioch HSA, the Jackson HSA, the
Tracy HSA, and the Auburn HSA are relevant antitrust markets.

         18.     The evidence is less clear with respect to the Davis HSA, where Sutter owns and
operates Sutter Davis, the only non-Kaiser hospital in the HSA. The data show that 38 percent of
patients who live in the Davis HSA stay in the Davis HSA for hospital inpatient care. The
average drive time of these patients that stay in the HSA is 15 minutes and the average drive time
of those who go out is 39 minutes. The Blue Shield redirection analysis anticipates that
percent of Sutter Davis patients would continue to use Sutter Davis if the hospital were to go out-
of-network. However, only eight percent of Sutter Davis patients, from the hospital’s PSA, live
in the Davis HSA. Thus, there is no basis to conclude that the preferences residents in the Davis
HSA resemble the strong preferences of Sutter Davis patients overall. Therefore, I cannot
conclude from this evidence that the Davis HSA is a relevant antitrust market. I conclude,
however, that the relevant market is no broader than Sutter Davis’s PSA.

50
   Email from Anne Harvey, United’s Director of Provider Services Northern CA, to United’s Marianna D’Ambrosi
and Kerri Balbone, “RE: Sutter indemnified claims – transition to ACME, process improvement and risk mitigation
project kick off,” October 13, 2008, UHC-00134453 (hereafter “Harvey Email”), p. 1 (indicating that Sutter has
“geographic monopolies for the following submarkets – Auburn, Amador, Tracy, Marin, Vallejo, Antioch, Berkeley,
Oakland, San Mateo, Clearlake and Humboldt…Despite widespread Broker acknowledgement of the high cost of
Sutter, it is not feasible to present an HMO or FFS network in Northern CA that does not include them.”).
51
   California’s Knox Keene Health Care Service Plan Act of 1975 requires DMHC-regulated (predominantly HMO)
health insurance products to adhere to network adequacy standards under which health plans must provide hospital
services within 30 minutes or 15 miles of a member’s residence or workplace. Analogous network adequacy
requirements exist for products regulated by the California Department of Insurance; See 10 CCR § 2240.1(c)(2),
available at http://www.insurance.ca.gov/0400-news/0100-press-
releases/2016/upload/NetworkAdequacyRegulation3-8-16.pdf, site visited May 2, 2018.


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         19.      Thus, based on consideration of the evidence within the framework of the
hypothetical monopolist test, I find that eleven of the twelve candidate geographic markets
described by Plaintiffs in their Complaint are economically coherent antitrust markets. I also find
that the relevant antitrust market with respect to Sutter Davis is no broader than the hospital’s 90
percent PSA.

         20.      Furthermore, the evidence shows that Sutter has market power over health plans
in the Tying Markets, even where the Tying Markets may be broader than the candidate markets.
There is direct evidence that patients that use the Sutter hospitals in the Tying Markets are
insistent on using the local Sutter hospital. The Blue Shield redirection analysis shows that the
                of patients would continue to use their local Sutter hospital, even if that hospital
were to go out of network: (a)            percent of                patients would continue to use Alta
Bates; (b)        percent of                   patients would continue to use                          (c)    percent
of                      patients would continue to use                           ; (d)    percent of
patients would continue to use                       ; (e)      percent of                        patients would
continue to use                       ; (f)    percent of                   patients would continue to use
               ; (g)     percent of                     patients would continue to use                          ; and
                                                                                            52
(h)     percent of                   patients would continue to use                              Consistent with this
evidence, there is ample health plan testimony and other documentary evidence that Sutter has
market power over health plans in relevant markets that contain these Sutter hospitals. 53 By
contrast, the evidence shows that health plans (and plan members) have more hospital choices in
the Tied Markets.




52
  By contrast, patient insistence on using the local Sutter hospital is substantially lower in the Tied Markets. See
Exhibit 20, below.
53




                                                                                                     See also Harvey
Email, p. 1 (indicating that Sutter has “geographic monopolies for the following submarkets – Auburn, Amador,
Tracy. Marin, Vallejo, Antioch, Berkeley, Oakland, San Mateo, Clearlake and Humboldt…Despite widespread
Broker acknowledgement of the high cost of Sutter, it is not feasible to present an HMO or FFS network in Northern
CA that does not include them.”). See also Deposition of Chandra Welsh, UFCW & Employers Benefit Trust on
behalf of itself and all others situated vs. Sutter Health et al., Case No. CGC 14-538451, April 12, 2017 (hereafter
“Welsh Deposition”), pp. 196-198 (describing Sutter Coast, Sutter Lakeside, and Sutter Auburn as “must-have from
a marketability standpoint,” and explaining that these rural hospitals are “really it for a given area.”).


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                                                         ***

         21.      For the reasons I have already mentioned, I find Professor Gowrisankaran’s
arguments against the Plaintiffs Tied and Tying Markets to be unconvincing. Professor
Gowrisankaran is distracted by Plaintiffs’ use of HSAs to build candidate geographic markets.
He spends more than half of his report explaining that HSAs as a general matter were not
constructed as antitrust markets. He forgets, however, that no off-the-shelf geographic
boundaries, be they ZIP codes, counties, metropolitan statistical areas, or states, are built for
specific antitrust purposes. Yet, antitrust economists and practitioners use such off-the-shelf
boundaries for convenience in building candidate geographic markets. Plaintiffs do not assert
that all HSAs are (or need to be) relevant antitrust markets, as evidenced by the fact that one of
their asserted relevant markets is the combination of two HSAs. To determine whether a
candidate market is a relevant antitrust market, one must study consumer demand within the
framework of the hypothetical monopolist test, as I have done in this report. One cannot merely
rely, as Professor Gowrisankaran has done, on patient inflows and outflows and distances
between hospitals to suggest that hospitals outside of the candidate market are substitutes for
patients who live inside the candidate geographies. While patient flows may require one to
broaden the boundaries of a candidate market, one cannot know that without consideration of the
evidence within the framework of the hypothetical monopolist test. The evidence in this case
shows that patient outflows do not defeat Sutter’s market power over health plans. Had Professor
Gowrisankaran performed a hypothetical monopolist test or considered the significant ordinary-
course document and testimony evidence from health plans, within the framework of the
hypothetical monopolist test, he would have found strong support for most of the candidate
markets as relevant antitrust markets. 54 Furthermore, Professor Gowrisankaran’s view that the
Plaintiffs’ candidate markets ignore important competitive constraints on the local Sutter
hospitals in the Tying Markets ignores the significant documentary evidence to the contrary.

         22.      The remainder of this report describes the support for each of these opinions.

54
  De La Torre Declaration, ¶ 8 (“As a result, it is not possible to develop, and successfully market a commercially
viable insurance product and/or benefit plan in Northern California without any Sutter providers.”); and
“Declaration of David Katz in Connection with Plaintiff UEBT’s Motion for Class Certification,” UFCW &
Employers Benefit Trust, on behalf of itself and all others similarly situated, Plaintiffs, vs. Sutter Health, et al.,
Defendants, Case No. CGC 14-538451, February 6, 2017 (hereafter “Katz Declaration”), ¶ 4




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distinguish healthcare from “standard” goods and services. 55 Unlike with standard goods and
services, consumers seek access to healthcare services even before they know what their medical
needs are. In addition, consumers do not negotiate directly with healthcare providers, instead
they purchase access to provider networks assembled by health plans. Healthcare providers
include: (a) hospitals that provide general or specialized care to treat diseases or trauma on a
short-term, inpatient basis; 56 (b) specialty hospitals that include psychiatric and rehabilitation
facilities; (c) long-term care facilities; (d) outpatient facilities; and (e) physician services.
Provider networks include a selection of each of these types of healthcare providers. The
allegations in this case and, thus, the analyses in this report focus on competition among
hospitals that provide care on a short-term, inpatient basis.

         25.      Health plans negotiate with hospital systems, like Sutter, over the terms of their
inclusion in provider networks. 57 Agreements between health plans and hospital systems specify
the prices (the “reimbursement rates” or “allowed amounts”) that health plans pay hospital
systems for specific healthcare services, like hip replacement or normal newborn deliveries, on
behalf of health plan members that receive care for both their fully-insured and self-insured
products. 58 Agreements between health plans and hospital systems can also specify other terms.
There may be terms, for example, that govern where the hospital system is placed in the health
plan’s provider network (e.g. equal placement in a broad network product or preferred placement
in a tiered or narrow network product). There may be terms, as in the case of Sutter’s contracts




55
   Vistnes, Gregory, “Hospitals, Mergers, and Two-Stage Competition,” Antitrust Law Journal, Vol. 67, No. 3,
2000, pp. 671-692 (hereafter “Vistnes (2000)”); and Ho, Kate and Robin Lee, “Equilibrium Provider Networks:
Bargaining and Exclusion in Health Care Markets,” NBER Working Paper 23742, Issued August 2017, Revised
May 2018 (hereafter “Ho and Lee (2017)”), available at http://www nber.org/papers/w23742.pdf, site visited May
23, 2018; and Kessler, Daniel and Mark McLellan, “Is Hospital Competition Socially Wasteful?” Quarterly Journal
of Economics, Vol. 115, No. 2, 2000, pp. 577-615.
56
   These hospitals typically provide a full range of round-the-clock inpatient care including medical, nursing,
surgical, anesthesia, laboratory, and radiology services, among others.
57
   Health plans sell access to provider networks to both self-insured and fully-insured covered lives. Health plans
also sell administrative services such as claims processing, to self-insured employers, and risk-bearing services. See,
for example, Austin, D. Andrew and Thomas Hungerford, “The Market Structure of the Health Insurance Industry,”
Congressional Research Service, CRS Report R40834, available at https://fas.org/sgp/crs/misc/R40834.pdf, site
visited October 24, 2017, pp. 21-22.
58
   Allowed amounts can be borne in part by plan members, in the form of deductible, copayment, or coinsurance,
depending on the terms of the agreement between plan member and the health plan.




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with health plans, that govern whether and how health plans can incent patients to choose among
the different providers in the network.

         26.      Hospital markets have been characterized by two stages of competition. 59 In the
first stage, hospitals compete with each other to be included in provider networks. In the second
stage, patients choose a hospital from their provider network. Patients that have equal access to
all hospitals in their provider network typically choose a hospital based on non-price factors such
as convenience and whether the hospital has the expertise to address their medical need. Health
plans are increasingly using benefit design to steer patients to choose hospitals that cost less. 60
For example, some health plans may give plan members a discount for agreeing to use a
narrower provider network consisting of less expensive hospitals. Some health plans may give
patients a discount for choosing a lower-priced hospital within a provider network. In such cases,
patients are more likely to consider price as a factor in their hospital choice. Health plans have
more leverage in their negotiation with hospitals when there are more hospitals capable of
serving the needs of area-patients and when patients can be steered to use lower-priced
hospitals. 61 By contrast, where there are fewer competing hospitals or where plan members have
strong preferences for a hospital, that hospital has more leverage in its negotiations with health
plans.

         27.      According to the Complaint, there are some hospital markets in Northern
California where health plans could use benefit design to steer patients away from higher-priced
Sutter hospitals. 62 There are also some hospital markets in Northern California where some plan




59
   Vistnes (2000), p. 672 (“Hospital competition is modeled as a two-stage game. In the first stage, hospitals
compete to be included in a plan’s hospital network. In the second stage, hospitals compete for a plan’s individual
enrollees….”); and Farrell et al., p. 4.
60
   Delbanco, Suzanne, Roslyn Murray, Robert A. Berenson, and Divvy K. Upadhyay, “A Typology of Benefit
Designs,” Urban Institute, April 2016, available at
https://www.urban.org/sites/default/files/publication/80321/2000780-A-Typology-of-Benefit-Designs.pdf, site
visited April 18, 2018.
61
   Vistnes (2000), p. 677 (“The strength of a plan’s threat [in negotiations with a hospital] also depends on the extent
to which other hospitals are good substitutes from the patient’s perspective.”); and Ho and Lee (2017), p. 48 (“[W]e
find that selective contracting and informed network design can have substantial effects on overall health care
spending. Narrow hospital networks are preferred by a profit-maximizing insurer primarily due to their ability to
substantially reduce negotiated rates.”).
62
   Complaint, ¶ 6.




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members cannot be steered because they have strong preferences for Sutter hospitals. 63
According to the Complaint, Sutter requires health plans to include all Sutter hospitals in their
provider networks, and Sutter prohibits health plans from giving patients financial incentives to
go to lower-priced hospitals. 64 Given the nature of hospital markets, one would expect the effect
of the Sutter’s conduct, under certain circumstances, to raise Sutter hospital prices that are
negotiated between health plans and Sutter in the first stage of competition.

        B.       The Role of Kaiser Permanente

        28.      Kaiser Permanente (“Kaiser”) is the largest healthcare system in California.
Kaiser consists of a network of owned and operated hospitals, outpatient facilities, and
physicians. 65 Kaiser is also a health plan covering about 45 percent of commercial plan members
in the state of California. 66 The Kaiser health plan is widely described as a “health maintenance
organization,” 67 which means that Kaiser plan members must stay within the Kaiser network and
their care is closely managed to contain costs. Kaiser is a “closed” healthcare system because
non-Kaiser health plans, like Anthem and Blue Shield, cannot include Kaiser hospitals in their
provider networks. With the exception of emergencies, only Kaiser plan members can access
healthcare in the Kaiser system.

        29.      Because Kaiser is a closed system, commercial health plans cannot turn to Kaiser
as substitutes for non-Kaiser hospitals, like the Sutter hospitals, when assembling their provider
networks. Thus, Kaiser does not compete with Sutter in the first stage of hospital competition,
for inclusion in provider networks. Kaiser also does not compete with Sutter in the second stage
of hospital competition to attract patients because no patient would have both Kaiser and Sutter
hospitals in the provider network. Thus, Kaiser hospitals are not in the relevant antitrust markets
for the purpose of evaluating Sutter’s market power over health plans like Anthem and Blue

63
   Complaint, ¶ 4.
64
   Complaint, ¶¶ 33-46.
65
   Kaiser Permanente, “Fast Facts About Kaiser Permanente,” available at https://share kaiserpermanente.
org/article/fast-facts-about-kaiser-permanente/, site visited March 17, 2018.
66
   California Health Care Foundation, “California Health Insurers, Enrollment,” available at
https://www.chcf.org/wp-content/uploads/2018/02/QRGHealthInsurersEnrollment2018.pdf, site visited April 30,
2018, p. 2.
67
   See, for example, CalHealth.Net, “Anthem Blue Cross Versus Kaiser – The Heavyweights of California,”
available at https://www.calhealth.net/Kaiser-versus-Anthem-California.htm, site visited April 8, 2018.




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Shield, which are the “upstream” markets for the sale of inpatient hospital services to
commercial health plans. 68,69 By contrast, Kaiser competes with health plans like Anthem and
Blue Shield for plan members in the “downstream” markets for the sale of commercial insurance
to subscribers. 70 When health plans lose plan members to Kaiser, Sutter also loses the ability to
attract those plan members to a Sutter hospital when they need inpatient medical care. Thus,
there are the separate issues of whether and the extent to which Kaiser disciplines health plan
premiums, but these issues are not the focus of this report. For the remainder of this report
assessing the boundaries of the relevant antitrust markets, I focus the discussion on non-Kaiser,
Northern California hospitals. For convenience, I refer to these hospitals simply as Northern
California hospitals.

         C.       Northern California Hospitals

         30.      According to OSHPD data, there were approximately 118 hospitals in Northern
California, over the period 2008 to 2015. 71 Exhibit 2 shows a breakdown, by year, along with the
split between inpatient and outpatient charges. As seen here, there has been a decrease in the
number of hospitals. Throughout the period, charges for inpatient services account for the
majority of hospital charges, though there has been a shift in the composition towards outpatient
care.




68
   The Plaintiffs have alleged the existence of two different types of relevant markets: (a) a set of upstream markets
for the sale of inpatient hospital services to commercial health plans; and (b) a set of downstream markets for the
sale of commercial insurance to subscribers in different rating areas. (See Complaint, ¶ 73.) My opinions in this
report relate to the upstream markets for the sale of inpatient hospital services to commercial health plans.
69
   While Kaiser is irrelevant to the market definition analysis for the upstream market, it can potentially constrain
Sutter’s ability to exercise market power in this upstream market through competition with Sutter in the downstream
market. However, as discussed below in the market power section, the downstream competition from Kaiser is
insufficient to discipline Sutter in the upstream market.
70
   Boston Consulting Group, “Consumer and Employer Research: Key Imperatives and Strategic Implications,”
December 4, 2014, DEF00877866-907, at 886 (“once consumers chose [Kaiser], they no longer have the option of
selecting Sutter. [Kaiser] is the enemy and that battle must be fought at the insurance level.” [Emphasis in
original]).
71
   I study hospitals where: (a) the hospital describes itself as either “General” or “General Acute” in its annual
financial disclosure to OSHPD; and (b) the last four digits of the hospital’s Medicare Provider Number (MPN) falls
within the range 0001 – 0879, the range specified by the Centers for Medicare and Medicaid Services (CMS) for
“Short-term (General and Specialty) Hospitals.” See CMS, “Center for Clinical Standards and Quality/Survey &
Certification Group Memorandum,” March 11, 2016, available at https://www.cms.gov/Medicare/Provider-
Enrollment-and-Certification/SurveyCertificationGenInfo/Downloads/Survey-and-Cert-Letter-16-09.pdf, site visited
March 26, 2018.


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                                                Exhibit 2
                                      Northern California Hospitals,
                                    Inpatient and Outpatient Charges




            Notes:
            1. Hospitals are defined as hospitals with "General" or "General Acute" as a type of care in
            the OSHPD Patient Discharge Pivot Profiles and with a CMS ID in the range 050001 -
            050879.
            2. This summary excludes all Kaiser facilities.
            Sources:
            1. OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2008-2015.
            2. OSHPD Hospital Annual Financial Disclosure Data Complete Data Set, 2008-2015.
            3. Centers for Medicare and Medicaid Services (CMS) Historical Impact Files, 2008-2015.


         31.      As of 2015, the top five hospitals systems, in order of number of hospitals in
Northern California are: (a) Sutter, with 22 hospitals; (b) Dignity Health, with 14 hospitals; (c)
Adventist, with seven hospitals; (d) St. Joseph Health System, with five hospitals; and (e) Tenet
Healthcare, with three hospitals. 72 Exhibit 3A shows the distribution of all Northern California
systems, based on their number of hospitals in Northern California, and Exhibit 3B shows the
distribution of all Northern California systems, based on their number of hospital beds in
Northern California. 73 By both metrics, Sutter is the largest health system in Northern California
with which health plans like Anthem and Blue Shield can contract.




72
  Chipty Workpapers.
73
  Systems were defined based on each hospital’s system name from the OSHPD Hospital Annual Financial
Disclosure Data Pivot Profiles, which is populated for all systems with at least three hospitals. See Appendix C and
Chipty Workpapers.


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                                      Exhibit 3A
                      Northern California Hospital Systems in 2015,
                             Based on Number of Hospital




   Note: See notes for Exhibit 2.
   Source: See sources for Exhibit 2.


                                   Exhibit 3B
                  Northern California Hospital Systems in 2015,
                            Based on Hospital Beds




   Note: See notes for Exhibit 2.
   Source: See sources for Exhibit 2.


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         D.       Sutter Health

         32.      Sutter is a health system headquartered in Sacramento. Sutter consists of a
network of hospitals, physician organizations, surgery centers, home health and hospice
programs, medical research facilities, training programs, and specialty services, serving
communities in Northern California cities and towns. Sutter reports that it owns and operates: (a)
24 hospitals; (b) a network of about 5,500 physicians; (c) about 35 outpatient surgery centers; (d)
about five acute rehabilitation centers; (e) seven behavioral health centers; (f) about 30 urgent
care centers; and (g) about ten walk-in-clinics. 74

         33.      Exhibit 4 shows a list of all Sutter hospitals, along with each hospital’s: (a)
location; (b) bed count; and (c) description in the Complaint as a “Tying,” “Tied,” or “Other”
hospital. As seen here, the largest Sutter hospital is CPMC, located in San Francisco; it has three
campuses – Davies, Pacific, and California (referred to collectively as “CPMC”) – which report
jointly to OSHPD, as well as the St. Luke’s campus, which reports separately. The next largest
Sutter hospital is Sutter Sacramento, in Sacramento, which was previously composed of two
campuses: Sutter Memorial and Sutter General. The third largest Sutter hospital is Alta Bates
Medical Center (“Alta Bates”), located in Alameda County. Alta Bates has three campuses – the
Alta Bates main campus located in Berkeley, the Herrick campus in Berkeley, and the Summit
campus located in Oakland. (I refer collectively to the first two as “Alta Bates-Main” and to the
third as “Alta Bates-Summit.”) Exhibit 5 shows a map of the Sutter hospitals.




74
  Sutter Health, “What is Sutter Health” available at https://www.sutterhealth.org/about/what-is-sutter-health, site
visited May 17, 2018.


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                                                 Exhibit 4
                                              Sutter Hospitals




Note: San Leandro Hospital was sold by Sutter Health in 2013.

Sources:
1. California Office of Statewide Health Planning and Development (OSHPD), 2011 Pivot Profiles.
2. Dartmouth Atlas of Healthcare Hospital Service Area (HSA) Listings.




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        E.       California Health Plans

        34.      Most California residents who have health insurance through a commercial health
plan are covered under an employer’s self-insured or fully-insured product. 75 With a fully-
insured product, employers pay a premium to a health plan that underwrites the risk and assumes
full financial responsibility should employees need medical services. There are dozens of
commercial health plans in the state of California selling fully-insured products to subscribers.
Exhibit 6 shows the top-ten, non-Kaiser health plans in California in terms of fully-insured plan
members as of December 2016. Of these, Blue Shield and Anthem are the largest, collectively
serving about 60 percent of non-Kaiser plan members. Blue Shield, Anthem, United, Health Net,
and Aetna – the health plans whose executives’ testimony I have reviewed regarding the
importance of Sutter to the success of their provider networks – account for nearly 90 percent of
all non-Kaiser plan members in California.

                                           Exhibit 6
                           Top-Ten Commercial Health Plans in California
                                        December 2016




        Notes:
        1. These data reflect non-Kaiser commercial enrollments from both DHMC’s Enrollment
           Summary reports and CDI’s Covered Lives Reports.

75
  Self-insured employers assume the financial responsibility for paying claims and contract with health plans for
access to the health plans’ provider networks and administrative services; these plans are referred to as
“administrative services only” (“ASO”). Although self-insured plan members are not Class members, as defined in
the Complaint, they are part of the market definition because health plans negotiate with hospitals simultaneously
for both fully-insured and self-insured members. See Cothran, Josh, “The Private Insurance Market in California,
2015,” California Healthcare Foundation, available at https://www. chcf. org/publication/the-private-insurance-
market-in-california-2015/, site visited March 17, 2018 (hereafter “Cothran”).


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        2. Enrollment figures for Centene and Health Net are combined, because Centene acquired
           Health Net in March 2016.
        Source: California Health Insurers Enrollment Database, Reporting by DMHC & CDI, 2012-2016.


        35.      In California, regulatory oversight of health plans is handled by two separate
entities: (a) the DMHC that oversees HMOs; and (b) the CDI that oversees traditional health
insurance products. 76 Both agencies focus on consumer rights and the stability of the healthcare
delivery system in California. 77 As part of this mission, both agencies oversee the financial
ability of health plans to pay claims, and both require health plans to adhere to network adequacy
standards under which health plans must provide hospital services within 30 minutes or 15 miles
of a member’s residence or workplace. 78

        F.       Challenged Contractual Provisions in Sutter’s Systemwide Contracts with
                 Health Plans

        36.      Plaintiffs in this case challenge Sutter’s contracting practices with Blue Shield,
Anthem, United, Health Net and Aetna. 79 The existence of these contracting practices was




76
   California Health Care Foundation, “Insurance Markets,” June 2003, available at https://www.chcf.org/wp-
content/uploads/2017/12/PDF-HIMURegulatoryOversight.pdf, site visited March 18, 2018 (hereafter “CHCF
Insurance Markets”).
77
   Hansen, John, “The Department of Managed Health Care Regulates California Health Plans and Protects
Consumers,” Health for California Insurance Center (hereafter “DMHC Regulates”), July 21, 2016, available at
https://www.healthforcalifornia.com/the-department-of-managed-health-care-regulates-california-health-plans-
protects-consumers, site visited April 12, 2018; and CHCF Insurance Markets, p. 3.
78
   DMHC Regulates (“The department gets its authority from the Knox Keene Health Care Service Plan Act of
1975”); “§ 1300.51. Application for License as a Health Care Service Plan or Specialized Health Care Service
Plan,” 28 CCR § 1300.51, available at https://govt.westlaw.com/calregs/Document/IBCF3D0D0D44911DEB97
CF67CD0B99467?viewType=FullText&originationContext=documenttoc&transitionType=CategoryPageItem&con
textData=(sc.Default), site visited May 23, 2018; and California Department of Insurance, “Provider Network
Adequacy,” available at http://www.insurance.ca.gov/01-consumers/110-health/10-basics/pna.cfm, site visited April
12, 2018.
79
   Complaint ¶¶ 1,13.




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confirmed by representatives of each of the health plans. 80,81 There are two main provisions that
are central to Plaintiffs’ theory of harm:

     •   First, Sutter forces health plans to take all Sutter hospitals in network, either by imposing
         explicit “all-or-nothing” requirements or by imposing exorbitant out-of-network rates for
         non-participating hospitals. 82
     •   Second, Sutter deters health plans from engaging in benefit design that has the effect of
         steering some of their members to lower-cost providers that participate in their provider
         networks. 83

         G.      Plaintiffs’ Theory of Harm

         37.     According to Plaintiffs, Sutter has two types of hospitals. The first are hospitals
that health plans could exclude from their provider networks, at least for some insurance
products. These are the “Tied” hospitals of: (a) Sutter Sacramento; (b) CPMC; (c) Sutter
Modesto; and (d) Sutter Santa Rosa. 84 The second are hospitals that health plans need to include
in provider networks, because there are no or few workarounds to those hospitals from the
perspective of a significant number of plan members. These are the “Tying” hospitals of: (a) Alta
Bates; (b) Sutter Lakeside; (c) Sutter Amador; (d) Sutter Coast; (e) Sutter Delta; (f) Sutter
Auburn; (g) Sutter Tracy; and (h) Sutter Davis. 85

         38.     According to Plaintiffs, Sutter’s ability to force health plans into onerous
contracts stems from health plan demand for its Tying hospitals, located in various Tying


80
   For Blue Shield, see Joyner Declaration, ¶ 15, referencing Joyner Exhibit 1, “Blue Shield’s systemwide agreement
with Sutter from 2002,” (“With respect to Existing Plans and New Plans in which [Sutter] Providers participate,
[Blue Shield] or Other Payor, whichever is applicable, shall include all [Sutter] Providers in the Plan, unless the
Parties mutually agree otherwise….”); Joyner Declaration, ¶ 18 (explaining that Sutter imposed requirements
prohibiting benefit design that would steer volume away from Sutter beginning in 2004); Joyner Declaration, ¶ 37
(“Effective January 1, 2005, Hospital Providers shall be paid ninety-five percent (95%) of Billed Charges, less a
Member's applicable co-payment or cost-share, for services rendered to Members enrolled in any Benefit Program
(excluding Medicare + Choice Members) in which a Hospital Provider does not participate.”).
81
   For Anthem, see Melody Declaration, ¶ 12 (referencing Anthem’s systemwide agreement with Sutter from 2001);
see also De La Torre Declaration, ¶¶ 12-13, 20 (referencing De La Torre Exhibit 7, Anthem’s systemwide
agreement with Sutter from 2012.).
82
   Complaint ¶¶ 33-34. Sutter required health plans to pay between 95 percent and 100 percent of billed charges
(referred to as “non-par” rates) for out-of-network care.
83
   Complaint ¶¶ 40-43.
84
   Complaint ¶¶ 64-67.
85
   Complaint ¶¶ 56-63.


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Markets. Thus, Sutter is alleged to have abused its market power in the Tying Markets to extract
higher prices from health plans in the Tied Markets, where Sutter does not have the same market
power. In the remainder of this report, I assess whether Plaintiffs’ proposed Tied and Tying
Markets constitute economically coherent antitrust markets. I also assess whether Sutter has
market power in the Tying Markets, relative to the Tied Markets, and whether these conclusions
are sensitive to the exact boundaries of the relevant geographic markets.


IV.     Antitrust Principles of Market Definition

        39.      As matter of economics, market definition in antitrust analysis is intrinsically
related to the alleged conduct and the theory of harm. Market definition done well can: (a)
inform on the issue of whether the firm alleged to have engaged in the misconduct, Sutter in this
case, has market power over some relevant antitrust markets; and (b) delineate the boundaries of
the relevant antitrust markets where the defendant’s conduct has interfered with the competitive
process, resulting in higher prices or some other form of consumer harm. For these reasons and
in response to the assertions made by Sutter and their expert Professor Gowrisankaran, I study
whether the Tied and the Tying Markets described in the Complaint constitute economically
coherent antitrust markets for the sale of inpatient hospital services purchased by commercial
health plans.

        A.       Basics of Market Definition

        40.      At the center of market definition is the study of the choices that are available to
consumers. 86 Here, the immediate consumers of inpatient hospital services, like those offered by
Sutter, are the non-Kaiser health plans selling fully-insured and self-insured products to
subscribers living in various areas of Northern California. 87 A relevant antitrust market for
evaluating competitive effects is found by considering where health plans might reasonably turn
to defeat an attempted price increase by a hypothetical monopolist over hospitals in a candidate
geographic market. If health plans could credibly switch away to hospitals outside of the
candidate market, in response to a price increase at hospitals inside the candidate market, the

86
   Merger Guidelines §4 (“Market definition focuses solely on demand substitution factors, i.e., on customers’
ability and willingness to substitute away from one product to another in response to a price increase or a
corresponding non-price change such as a reduction in product quality or service.”).
87
   Vistnes (2000), p. 672 (“In this two-stage model, the customer in the first stage is the health plan.”).


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relevant antitrust market would likely be broader than the candidate market. A health plan’s
ability to switch away from area-hospitals depends on the preferences of its plan members. The
more insistent are plan members to area-hospitals, the less likely it would be that a provider
could credibly exclude area-hospitals from its provider network. 88 Furthermore, a health plan’s
ability to exclude a hospital from its provider network may also be affected by network adequacy
regulations. Where a hospital is the only hospital (e.g. Sutter Coast) within 30 minutes of a plan
member’s residence, health plans wishing to market a provider network to those residents will
not be able to exclude the hospital from its provider network. 89 Thus, at the center of hospital
market definition is evidence about health plans’ ability to contract around individual hospitals
or hospital systems.

         41.      There are two dimensions of a relevant market: product market and geographic
market. The market definition test of the Merger Guidelines is whether a profit-maximizing
hypothetical monopolist over the set of products or geographies in the candidate market would
impose at least a small but significant, non-transitory increase in price (“SSNIP”) on at least one
product in the market. 90 In conduct cases, like this one, one must be cautious in implementing
the formal test in situations where a firm has already behaved like a monopolist. Where the
market is already at the monopoly price, one would necessarily find no room to raise price;
ignoring this feature of the market would lead to what is known as the Cellophane fallacy, which
would result in an overly broad market. 91

88
   As explained by the Third Circuit in Hershey-Pinnacle, “Patients are relevant to the analysis, especially to the
extent that their behavior affects the relative bargaining positions of insurers and hospitals as they negotiate rates.
But patients, in large part, do not feel the impact of price increases. Insurers do. And they are the ones who negotiate
directly with the hospitals to determine both reimbursement rates and the hospitals that will be included in their
networks.” See Hershey-Pinnacle Appellate Decision, pp. 22-23.
89
   As described above, both DMHC and CDI require health plans to adhere to network adequacy standards under
which health plans must provide hospital services within 30 minutes or 15 miles of a member’s residence or
workplace. Accordingly, in areas where Sutter is the only hospital within a 30-minute radius of a member’s
residence, health plans will need to contract with the local Sutter hospital in order to have a provider network to sell
to residents in those areas.
90
   Merger Guidelines, §4.1.1 (“Specifically, the [hypothetical monopolist] test requires that a hypothetical profit-
maximizing firm, not subject to price regulation, that was the only present and future seller of those products
(‘hypothetical monopolist’) likely would impose at least a small but significant and non-transitory increase in price
(‘SSNIP’) on at least one product in the market, including at least one product sold by one of the merging firms.”).
91
   Merger Guidelines, Footnote 5 (“Market definition for the evaluation of non-merger antitrust concerns such as
monopolization or facilitating practices will differ in this respect if the effects resulting from the conduct of concern
are already occurring at the time of evaluation.”). See also, Froeb, Luke and Gregory Werden, “The Reverse
Cellophane Fallacy in Market Delineation,” Review of Industrial Organization, Vol. 7, No.2, 1992, pp. 241-247, at



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        42.      Where possible, the market definition test is implemented in an iterative fashion.
One begins with a candidate market and evaluates whether a hypothetical monopolist would
impose at least a SSNIP. The price increase would be unprofitable if it drives too many sales out
of the candidate market. In this case, one expands the candidate market to include additional
products or geographies. A finding that a profit-maximizing hypothetical monopolist could
impose at least a SSNIP would be evidence that the candidate market is a relevant market.
Notably, a well-defined antitrust market can have inflows and outflows; the market definition
test provides a framework to assess whether those flows are sufficient to defeat a hypothetical
monopolist’s imposition of a SSNIP. Attempts to interpret patient flows outside of the
framework of the hypothetical monopolist, as Professor Gowrisankaran has done, can lead to
misleading interpretation.

        43.       Market definition is not a precise exercise. Such analyses inherently involve
some degree of uncertainty. For this reason, antitrust economists recognize that relevant markets
“need not have precise metes and bounds,” particularly when the economic conclusions are
robust to alternative definitions. 92 Consistent with this view, Professor Gowrisankaran himself
explained that a “market analysis does not always yield only one market definition that is
accurate. It might yield a couple of different market definitions that could each be plausible.
…[W]hat's important here is not saying well, we want to have an airtight definition of a market,
but rather that [one] identifies likely potential competitors … [that are] important in assessing
whether the potential act or – or acts do, in fact, violate the antitrust laws.” 93 In other words,
what is important is that one’s conclusions about competitive effects and harm to competition are
robust to reasonable alternatives to the precise boundaries of the relevant market. Furthermore,

241 (“In the landmark Cellophane case, the Supreme Court erroneously concluded that du Pont did not have
significant market power because the Court evaluated the elasticity of demand for Cellophane at the monopoly
equilibrium, at which the elasticity was far higher than at the competitive equilibrium. The Court’s error is
commonly referred to as the Cellophane fallacy.”).
92
   Merger Guidelines, §4 (“Customers often confront a range of possible substitutes for the products of the merging
firms. Some substitutes may be closer, and others more distant, either geographically or in terms of product
attributes and perceptions. Additionally, customers may assess the proximity of different products differently. When
products or suppliers in different geographic areas are substitutes for one another to varying degrees, defining a
market to include some substitutes and exclude others is inevitably a simplification that cannot capture the full
variation in the extent to which different products compete against each other. The principles of market definition
outlined below seek to make this inevitable simplification as useful and informative as is practically possible.
Relevant markets need not have precise metes and bounds.”).
93
   Gowrisankaran Deposition, p. 110.




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as a matter of economics, where there is direct evidence of market power, one may not need to
rely on market definition to assess market power. 94

         B.       Economic Insights on Defining Hospital Antitrust Markets from the Literature

         44.      The evidence shows that most patients seek care near where they live.
Nationwide, people generally travel about 20 minutes to see a doctor. 95 On average, people
commute farther to work than they do to receive medical care. 96 Academic literature on hospital
choice indicates that a small increase in travel time is typically associated with a large decrease
in the probability that a patient will visit a hospital. For example, Professor Gowrisankaran
himself explains in his academic work that: “Consistent with the large literature on hospital
choice, we find that patients are very sensitive to travel times. The willingness to travel is
increasing in the DRG weight and decreasing in age. An increase in travel time of 5 minutes
reduces each hospital’s share between 17 percent and 41 percent. The parameter estimates imply
that increasing the travel time to all hospitals by one minute reduces consumer surplus by
approximately $167.” 97 Furthermore, some state health departments, including California’s




94
   Merger Guidelines § 4 (explaining that “[s]ome of the analytical tools used by the Agencies to assess competitive
effects do not rely on market definition,” and “[e]vidence of competitive effects can inform market definition, just as
market definition can be informative regarding competitive effects.”). See also, Rosch, J. Thomas, “The Past and
Future of Direct Effects Evidence,” Remarks at ABA Section of Antitrust Law’s 59th Spring Meeting Washington,
DC, March 30, 2011 available at https://www ftc.gov/sites/default/files/documents/public_statements/past-and-
future-direct-effects-evidence/110330aba-directeffects.pdf, site visited May 17, 2018 (“Reliance on direct effects
evidence offers a number of advantages over inferences drawn from market definition and concentration. Market
definition, of course, is not an end in itself but rather an indirect means of determining the presence of market power
or the likelihood that it will be exercised. Focusing on market definition risks obscuring the ultimate question…
whether the transaction [or the practice] is likely to substantially lessen competition. The answer to that question
may turn on market definition, but it doesn’t have to…. Another benefit of direct effects evidence is its potential to
help define the relevant market. I have described this as “backing into” the market definition.”).
95
   Probst, Janice C., Sarah B. Laditka, Jong-Yi Wang, and Andrew O. Johnson, “Effects of Residence and Race on
Burden of Travel for Care: Cross Sectional Analysis of the 2001 US National Household Travel Survey,” BMC
Health Services Research, Vol. 7, No. 40, 2007, pp. 1-13.
96
   Probst, Janice C., Sarah B. Laditka, Jong-Yi Wang, and Andrew O. Johnson, “Mode of Travel and Actual
Distance Traveled for Medical or Dental Care by Rural and Urban Residents,” South Carolina Rural Health
Research Center, May 2006, pp. 1-61, available at
http://www.sc.edu/study/colleges_schools/public_health/research/research_centers/sc_rural_health_research_center/
documents/61modeoftravelandactualdistancetraveled2006.pdf, site visited October 17, 2017, at pp. 44-45.
97
   Gowrisankaran, Nevo, and Town (2015), at p. 191.




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DMHC, as well as federal agencies, require or advocate network adequacy standards under
which residents can obtain hospital care within a 30-minute drive of their residence. 98

        45.      Economists studying hospital competition in previous antitrust cases have
typically defined the hospital geographic market to be no broader than a city or a metropolitan
area. 99 For example, during the FTC’s challenge to the proposed merger between the Advocate
and NorthShore hospital systems, the FTC’s economist observed that “most patients prefer to go
to nearby hospitals” and that “80 percent of patients in NorthShore’s service area drive 20
minutes or less (and 15 miles or less) to reach their hospital of choice.” 100

        46.      While each case involves consideration of the unique circumstances of local
competitive conditions, recent cases provide guidance on the methodology used to define
relevant hospital markets. See, for example, the appellate decisions in Advocate-NorthShore, 101
Hershey-Pinnacle, 102 and St. Luke’s-Saltzer. 103 The economic analyses described in these

98
   Chan, Leighton, L. Gary Hart, and David C. Goodman, “Geographic Access to Health Care for Rural Medicare
Beneficiaries,” Journal of Rural Health, Vol. 22, No. 2, Spring 2006, pp. 140-146; Bosonac, Edward M., Roslind C.
Parkinson, and David S. Hall, “Geographic Access to Hospital Care: A 30-Minute Travel Time Standard,” Medical
Care, Vol. 14, No.7, July, 1976, pp. 616-624; and Department of Health and Human Services, Office of Inspector
General, “State Standards for Access to Care in Medicaid Managed Care,” OEI-02-11-00320, September, 2014.
99
   “Order Amending Opinion and Amended Opinion,” Cascade Health Solutions fka McKenzie-Willamette Hospital,
an Oregon nonprofit corporation, Plaintiff-Appellant, v. PeaceHealth, a Washington State nonprofit corporation,
Defendant-Appellee, and PacificSource Health Plans, Defendant, Regence BlueCross BlueShield of Oregon;
Providence Health Plan, McKenzie-Willamette Regional Medical Center Associates, LLC, Defendant-Intervenors;
McKenzie-Willamette Hospital, Plaintiff-Appellee, v. PeaceHealth, a Washington State nonprofit corporation,
Defendant-Appellant, and PacificSource Health Plans, Defendant, Regence BlueCross BlueShield of Oregon,
Providence Health Plan, McKenzie-Willamette Regional Medical Center Associates, LLC, Defendant-Intervenors;
McKenzie-Willamette Hospital, Plaintiff-Appellee, v. PeaceHealth, a Washington State nonprofit corporation,
Defendant-Appellant; McKenzie-Willamette Hospital, an Oregon nonprofit corporation, Plaintiff-Appellant, v.
PeaceHealth, Defendant-Appellee , Case Nos. 05-35627, 05-35640, 05-36153, and 05-36202, filed September 4,
2007, amended February 1, 2008, Section I.A (the relevant geographic market was “primary and secondary acute
care hospital services in Lane County [Oregon]”); Hershey-Pinnacle Appellate Decision, p. 15 (the relevant
geographic market was “the four counties encompassing and immediately surrounding Harrisburg, Pennsylvania:
Dauphin, Cumberland, Lebanon, and Perry counties;”); Advocate-NorthShore Appellate Decision, p. 6 (the relevant
geographic market was the “North Shore Area,” an area encompassing eleven hospitals in and around Chicago’s
north shore).
100
    Advocate-NorthShore Appellate Decision, pp. 14, 17.
101
    Advocate-NorthShore Appellate Decision, pp. 14, 20-26.
102
    Hershey-Pinnacle Appellate Decision, pp. 11, 14-15, 21-23.
103
    “Opinion,” Saint Alphonsus Medical Center-Nampa Inc.; Saint Alphonsus Health System Inc.; Saint Alphonsus
Regional Medical Center, Inc.; Treasure Valley Hospital Limited Partnership; Federal Trade Commission; State of
Idaho; v. St. Luke’s Health System Ltd.; St. Luke’s Regional Medical Center, Ltd.; Saltzer Medical Group, Case
Nos. 1:12-cv-00560-BLW and 1:13-cv-00116-BLW, February 9, 2015 (hereafter “St. Luke’s-Saltzer Appellate
Decision”), pp. 22-23. (“The district court found that a hypothetical Nampa PCP monopolist could profitably impose
a SSNIP on insurers. Citing testimony that Nampa residents ‘strongly prefer access to local PCPs,’ the court found



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decisions highlight: (a) the importance of understanding health plans’ need for area-hospitals (in
Advocate-NorthShore and Hershey-Pinnacle) and area-physicians (in St. Luke’s-Saltzer); (b) the
insights that can and cannot be drawn from patient flows; and (c) the appropriate use of the
hypothetical monopolist test to define geographic markets.

        C.       Approaches to Hospital Market Definition

        47.      Following this literature, I evaluate the boundaries of the relevant geographic
hospital market, for each of the Sutter hospitals, by studying: (a) qualitative information from
health plans, including health plan ordinary-course documents and testimony, about the
importance of certain hospitals to their members and, as such, to their provider networks; (b)
data on how far patients drive and what share of area-patients leave the area for inpatient care;
(c) data and ordinary-course analysis of diversion and aggregate diversion outside of the
candidate market; and (d) assessment of patient flows and other evidence within the framework
of the hypothetical monopolist test. Before turning to this evidence, I provide an overview of
diversion analysis and the implementation of the hypothetical monopolist test.

                 1.       Diversion Analysis

        48.      Hospital market definition typically begins with the analysis of what is widely
described as “diversion.” 104 Diversion describes where patients would go for care if their first-
choice hospital were no longer available as a choice. The hospital that would capture the highest
diversion is sometimes referred to as the “next-best substitute” for the first-choice hospital. The
hospital that would capture the second-highest diversion is the next “next-best substitute” for the
first-choice hospital, and so on. In a bargaining framework, the presence of a strong next-best
substitute would give a health plan more leverage in negotiations with the first-choice hospital. If
an area-hospital’s next-best substitute is inside the candidate geographic market, then the more
likely it is that the candidate geographic market is a relevant antitrust market. Conversely, if an




that “commercial health plans need to include Nampa PCPs in their networks to offer a competitive product.’ ‘Given
this dynamic—that health plans must offer Nampa Adult PCP services to Nampa residents to effectively compete—
Nampa PCPs could band together and successfully demand a [SSNIP] (or reimbursement increase) from health
plans.’), pp. 13-15.
104
    Farrell et al., p. 275.


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area-hospital’s next-best substitute is outside the candidate geographic market, then the less
likely it is that the candidate geographic market is a relevant antitrust market.

        49.      Diversion analysis requires information on patient preferences for hospitals.
Where there are multiple hospitals in a candidate geographic market, one can build a statistical
model of patient choice and use the parameters of that model to compute diversion. Where there
is only one hospital in the candidate geographic market, one needs additional insights into patient
preferences to determine whether patients would remain at the area-hospital even if the area-
hospital were to go out-of-network. I describe both approaches here.

                          a)       Statistical Diversion Analysis

        50.      Where there is more than one hospital in the candidate market, I estimate a
widely-used, patient-level model of hospital choice among non-Kaiser hospitals that accounts for
a broad set of observable factors, including: (a) patient characteristics, such as age, gender,
income, and distance (in minutes) from different hospital choices; (b) patient’s medical need; (c)
hospital characteristics, including whether the hospital is a teaching hospital, whether it is a
designated trauma facility, and whether it offers the medical services the patient needs. The
model results are economically meaningful and consistent with prior literature. 105 For example, I
find that patients dislike travelling longer distances and that patients are more willing to travel
longer distances when they have a strong reason to travel (e.g. to access medical services that are
not available locally or that better match their medical need). 106 The model results are also robust
to a range of alternative modelling decisions. A detailed description of the analysis dataset, the
hospital choice model, and the results of the econometric estimation are presented in Appendix
C.

        51.      Using these results, I estimate the utility that each patient would obtain from each
hospital and predict patient choice for any set of hospitals. I then conduct a diversion analysis,



105
    Ho, Kate and Robin Lee, “Supplement to ‘Insurer Competition in Health Care Markets,’” Econometrica, Vol. 85,
No. 2, 2017, pp. 1-10, at pp. 1, 3 (finding that patients dislike more distant hospitals and prefer hospitals with
matching clinical characteristics); and Lewis, Matthew and Kevin Pflum, “Diagnosing Hospital System Bargaining
Power in Managed Care Networks,” American Economic Journal: Economic Policy, Vol. 7, No. 1, 2015, pp. 243-
274, at p. 261 (with similar qualitative results).
106
    Farrell et al., p. 277.




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which is a counterfactual experiment in which I remove the predicted first-choice hospital from
each patient’s choice set and ask: where would that patient go instead? 107 For each candidate
Tied or Tying Market, where there is more than one non-Kaiser hospital in the candidate market,
I compute for each area-resident the probability of choosing each alternative hospital. I also
compute “aggregate diversion inside:” the share of area-residents predicted to go to one of the
area-hospitals who would substitute to one of the other area-hospitals if their first-choice hospital
were no longer available. As an illustration, suppose that there were: (a) two area-hospitals; (b)
60 area-patients predicted to receive care at the first area-hospital; and (c) 40 area-patients
predicted to receive care at the second area-hospital. Further suppose that the model predicts that
of the 60 area-patients for whom the first area-hospital was the best hospital choice, 50 would go
to the second area-hospital if the first one were no longer available to them and 10 would go to
an out-of-area hospital. Also suppose that the model predicts that of the 40 area-patients for
whom the second area-hospital was the best hospital choice, 20 would go to the first area-
hospital if the second one were no longer available to them and 20 would go to an out-of-area
hospital. In this example, the “aggregate diversion inside” would be 70 percent, calculated as (50
+ 20) ÷ 100.

         52.       As a matter of economics, a relatively high aggregate diversion inside indicates
that the area-hospitals’ strongest substitutes are located inside the area, making it more likely that
the candidate geographic market is a relevant antitrust market. For example, in Advocate-
NorthShore, a recent hospital matter to which Professor Gowrisankaran cites, the FTC’s expert
found (and the court accepted) that aggregate diversion inside was 48 percent and that this
number, coupled with other evidence, supported the FTC’s geographic market definition in that
case. 108




107
    Farrell et al., pp. 275-277 (explaining that the use of individual patient-level characteristics as control variables in
the choice model enables identification of the variation in valuation of product characteristics across patients:
“Hence, the model generates reasonable substitution patterns in that hospitals that are closer in product
characteristics space to the hypothetically excluded hospital are predicted to capture a disproportionate (relative to
observed shares) share of the diverted patients.”).
108
    “Redacted Memorandum Opinion and Order,” Federal Trade Commission and State of Illinois v. Advocate
Health Care Network, et al., Case No. 15 C 11473, March 16, 2017, p. 9 (“48% of the patients admitted to one of
the [hospitals in the candidate geographic market] would substitute to one of the other hospitals in the [candidate
geographic market] if their chosen hospital were no longer available.”), and p. 14 (“Dr. Tenn has appropriately
delineated the relevant geographic market.”).


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        53.      In addition to aggregate diversion inside that captures the diversion from all
hospitals in a candidate geography, the statistical model can also be used to calculate the full set
of diversion ratios that describe diversion from each Sutter hospital to all other hospitals,
including ones outside of the candidate market. The diversion ratio from one hospital to another
hospital is defined as the share of the first hospital’s patients who would substitute to the second
hospital if the first hospital were not available. These diversion ratios are used in the hypothetical
monopolist test described below.

                          b)       Blue Shield Redirection Analysis

        54.      Where there is only one hospital in the candidate market, patients predicted to
receive care from the single area-hospital can only divert to out-of-area hospitals, and the
statistical model would necessarily find that none of these patients would substitute to another
area-hospital if their first-choice hospital were no longer available. This result, however, would
be an artifact of there being no other hospitals in the candidate market and, by construction, the
aggregate diversion inside would necessarily be zero. In this case, the approach described above
cannot provide insight into patient preferences for staying local. In this case, I rely upon
estimates of diversion constructed in the ordinary-course by personnel at Blue Shield, who
studied where patients would likely redirect to receive inpatient care if their chosen Sutter
hospital were no longer in network. 109 This type of information, upon which market participants
make real-world decisions that affect their business, can be highly probative and is often used by
antitrust economists to understand competitive dynamics. 110

        55.      I understand that the Blue Shield redirection analyses were created under the
supervision of Blue Shield’s Tracy Barnes, for the purpose of
                                                                                                                111




109
    BSC_SutterSub00037814; and Barnes Deposition, pp. 423-468.
110
    Merger Guidelines, § 2.2.1 (“Documents created in the normal course are … probative…. Documents describing
industry conditions can be informative regarding the operation of the market and how a firm identifies and assesses
its rivals, particularly when business decisions are made in reliance on the accuracy of those descriptions.”).
111
    Barnes Deposition, p. 426 (“This [referring to the redirection analysis] was done in 2014 based on some other
work we were doing as part of our Sutter renewal. Whenever we have a Sutter renewal, we have to, as I discussed
yesterday, filed transition and d

                                                                     ”)




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Using their experience in building provider networks and their knowledge of the Northern
California marketplace, including information about hospital quality, member preferences,
distance to other hospitals, and California’s regulatory access standards, 112 Mr. Barnes and his
team determined the share of claim expenditures that could be diverted to alternative hospitals if
Sutter were to go out-of-network. 113 For example, the Blue Shield team determined that, if
          were to go out-of-network with Blue Shield,                  percent of claims could be moved to
                                           but the remaining         percent would stay at                         in
spite of any efforts Blue Shield might make to incent patients to switch away.

         56.      A key difference between the statistical model and Blue Shield’s redirection
analysis is the treatment of the first-choice hospital in the counterfactual analysis. The statistical
model removes the chosen hospital from the patient’s choice set; this removal is akin to shutting
the hospital down, or equivalently raising its price by a very large amount. The Blue Shield
redirection analysis moves the hospital to an out-of-network status, but it keeps the hospital open
and available to patients, though at a higher price; this move raises the price of the preferred
hospital, but by less than it would take to shut the hospital down. Both counterfactuals are
informative in their own way.

                  2.       Hypothetical Monopolist Test

         57.      Where possible, one can use the framework of the hypothetical monopolist test to
evaluate if the diversion, redirection patterns, or other evidence support a relevant antitrust
market. Recall that the hypothetical monopolist test asks whether a profit-maximizing
hypothetical monopolist over the set of hospitals in the candidate geography would engage in at
least a small but significant, non-transitory increase in price (“SSNIP”). If the answer is yes, that
means health plans cannot work around the area-hospitals and that hospitals outside of the


112
    Barnes Deposition, p. 440: 5-16 (“Q: And could you describe for us, please, the criteria that you used in coming
up with these percentages? A: There is no, you know, set criteria. This is nothing out there that there is any sources.
At the end of the day you have got to use your experience of the marketplace and understanding of which hospitals
are complimentary, how far apart they are from one another, preferences of members. I could have hospitals right
next door to each other, but if one had a very bad reputation you are not going to be able to channel there.”).
113
    This analysis was done in two steps. First, Mr. Barnes and his team determined the set of claims that could be
redirectable, and of those, how many would likely be redirected.

See Barnes Deposition, p. 388.




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candidate market cannot discipline the hypothetical monopolist. In such cases, the candidate
market is an economically coherent relevant antitrust market. If the answer is no, then one must
go broader and re-assess. 114

                                a)        Inferences Using the Diversion Analysis

         58.      Where there is more than one hospital in a candidate market, I can draw
inferences about market definition by computing the optimal price increase, above current levels,
that the hypothetical monopolist would impose over its hospitals in the candidate geography.
Following the FTC’s economic analysis in Advocate Northshore, I consider the outcome of
negotiation between health plans and hospitals in a simplified bargaining framework. In
Appendix D, I show that in such a simplified bargaining model, a hypothetical monopolist would
find it profit-maximizing to impose the following price increase on each of its hospitals in the
candidate market: 115,116 This optimal price is found by comparing the current price level (p0) to
the hypothetical monopolist’s optimal price level (p*) and solving for the percentage change in
price:

                                                 (𝑝𝑝1∗ − 𝑝𝑝1𝑜𝑜 ) 1 𝑛𝑛              𝑝𝑝𝑖𝑖
                                         %∆𝑝𝑝1 =                =  �    𝑀𝑀𝑖𝑖 𝐷𝐷1𝑖𝑖
                                                       𝑝𝑝1𝑜𝑜      2 𝑖𝑖=2           𝑝𝑝1𝑜𝑜

                   (𝑝𝑝1∗ −𝑝𝑝1𝑜𝑜 )
The expression                      represents the profit-maximizing price increase (or SSNIP) imposed by
                       𝑝𝑝1𝑜𝑜

the hypothetical monopolist on hospital 1, where hospital i is one of the other in-area hospitals,



114
    Katz, Michael L., and Carl Shapiro, “Critical Loss: Let’s Tell the Whole Story,” Antitrust Magazine, Spring
2003, pp. 49-56, available at https://faculty.haas.berkeley.edu/shapiro/critical.pdf, site visited May 22, 2018, at 49
(“In performing successive iterations of the price increase test, the hypothetical monopolist will be assumed to
pursue maximum profits in deciding whether to raise the prices of any or all of the additional products under its
control. This process will continue until a group of products is identified such that a hypothetical monopolist over
that group of products would profitably impose at least a ‘small but significant and nontransitory’ increase,
including the price of a product of one of the merging firms.”).
115
    This is a well-accepted framework, which has been used to study competitive effects in a broad range of
applications, including recently by the FTC’s expert in the Advocate-NorthShore hospital merger matter. See “Brief
and Required Short Appendix of Appellants Federal Trade Commission and State of Illinois (Public Version),”
Federal Trade Commission and State of Illinois v. Advocate Health Care Network, et al., Case No. 16-2492, filed
July 15, 2016, pp. 16-17. See also, Tenn, Steven, “Key Takeaways from the Advocate-Northshore Merger
Litigation,” CPI Antitrust Chronicle, July 2017, pp. 1-6 (hereafter “Tenn (2017)”), at p. 4 (“Plaintiffs relied on an
economic model which takes as inputs the key factors that the Merger Guidelines identify as those which determine
the incentive to raise price post-merger: the degree of substitution between the parties and variable cost margins.”).
116
    Without loss of generality, the formula expresses the price increase that would be profitable for hospital 1. See
Appendix D.


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𝑀𝑀𝑖𝑖 is the variable contribution margin (i.e., the difference between revenue and variable costs for
                                                                            𝑝𝑝𝑖𝑖
inpatient services provided to commercial patients) of hospital i,                 represents the price of
                                                                           𝑝𝑝1𝑜𝑜

hospital i relative to hospital 1, and 𝐷𝐷1𝑖𝑖 is the diversion ratio from hospital 1 to hospital i.

        59.      As seen through the terms of the equation above, the optimal price increase is
determined by a combination of: (a) the diversion from hospital 1 to each area-hospital i; (b) the
price of each area-hospital i, relative to the price of hospital 1; and (c) the variable contribution
margin of each area hospital i. The hypothetical monopolist finds it profitable to impose a larger
price increase on the price of hospital 1:

    •   The larger is diversion ratio to in-area hospital i. A larger diversion between hospital 1
        and hospital i indicates that more of the lost patient volume from hospital 1 is captured by
        hospital i, meaning that more of the price-induced substitution effect will be internalized
        by the hypothetical monopolist.

    •   The larger is the contribution margin of hospital i. If the hospital capturing the patient
        volume were more profitable, the hypothetical monopolist would profit more from the
        price increase at hospital 1 for the patients it loses to hospital i.

    •   The more expensive is hospital i (i.e., the higher is hospital i’s price, relative to hospital
        1). If the in-area hospital capturing the patient volume were more expensive, relative to
        hospital 1, the hypothetical monopolist would be better off than it was before, for the
        patients it loses to hospital i.

        60.      The hospitals in the candidate geography would constitute a relevant market if:

                                                  %∆𝑝𝑝1 ≥ 𝑠𝑠

where s is the “small but significant, non-transitory increase in price” threshold used for market
definition. 117 By traditional metrics, a value of %∆𝑝𝑝1 greater than five percent would lead to the
conclusion that the candidate market is a relevant market.




117
    Moresi, Serge, “The Use of Upward Price Pressure Indices in Merger Analysis,” The Antitrust Source, February
2010, pp. 1-12, available at https://www.americanbar.org/content/dam/aba/publishing/antitrust_source/
Feb10_Moresi2_25f.authcheckdam.pdf, site visited November 27, 2017, at p.7.


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           61.      I can obtain the inputs sufficient to implement the calculation for each of the
candidate markets with more than one non-Kaiser hospital. Diversion ratios are calculated using
the estimation results of the patients’ choice model described above. Relative prices are obtained
from Anthem claims data. Hospital-specific contribution margins for commercial patients are
available only for Sutter hospitals, through Sutter documents. Thus, I use the local Sutter hospital
contribution margin as a proxy for the local non-Sutter hospital contribution margin, though my
conclusions are robust to contribution margins substantially lower than Sutter’s margins.

                            b)          Inference Using Testimony and Ordinary-Course Evidence

           62.      The standard diversion analysis and the numerical calculation described above
cannot be used to determine the boundaries of a relevant market when there are no other
hospitals in a candidate geography. In such cases, diversion to hospitals outside of the candidate
geography is necessarily higher because patients have no other in-area alternatives; for this
reason, the analysis could lead to the conclusion of a broader geographic market. Furthermore,
where the hypothetical monopolist is an actual monopolist, the numerical calculation would
suffer from the Cellophane fallacy and lead to a false rejection of the candidate market as the
relevant antitrust market. In such instances, one can still rely on other evidence, including
testimony and document evidence, to determine whether a hypothetical monopolist over
hospitals in a candidate market could create a viable provider network without some set of area
hospitals. If the answer to this question is no, one can conclude that the hypothetical monopolist
would have market power over health plans and that the candidate market would be a relevant
market.

           63.      For example, one can draw inferences about the hypothetical monopolist test from
the Blue Shield redirection analysis, described above. This analysis provides information on
diversion patterns in response to moving individual Sutter hospitals out of network. 118 In this
case, the hypothetical monopolist’s price increase is replaced by the increase in out-of-pocket
expenses associated with movement of a previously in-network hospital to out-of-network status,




118
      Barnes Deposition, pp. 423-468.




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which I understand can be substantially larger than five-percent. 119,120 Nonetheless, the Blue
Shield redirection analysis shows that patients are highly unlikely to move away from their local
Sutter hospital in response to price increases well in excess of a SSNIP. The later sections of this
report use this information, along with other testimony and documentary evidence, to draw
inferences about the boundaries of the geographic market.

                                                           ***

         64.      The methods upon which I rely – ordinary-course documents, health plan
testimony, patient flows, diversion analysis, and the framework of the hypothetical monopolist
test – stand in contrast to Professor Gowrisankaran’s approach. Professor Gowrisankaran has
ignored ordinary-course documents and health plan testimony about the importance of Sutter to
their provider networks. 121 He has not undertaken diversion analysis, based on patient-level
hospital choice modelling, that has become standard in hospital market definition. Instead, he has
interpreted patient flows without the framework of the hypothetical monopolist test. One cannot
reject a candidate market as a relevant market, as Professor Gowrisankaran has done, simply
because some patients leave the candidate market for their hospital care. 122 To do so would be to
fall into the trap of the “silent majority” fallacy. As explained above, this term refers to the error
a researcher might commit by concluding that the presence of travelers disciplines a local
hospital’s market power over the non-travelers. 123 As explained by the court in Advocate-
NorthShore, it is a mistake to “focus on the patients who leave a proposed market instead of on
hospitals’ market power over the patients who remain.” 124 Professor Gowrisankaran has studied


119
    Merger Guidelines, §4.1.2 (“The Agencies most often use a SSNIP of five percent of the price paid by customers
for the products or services to which the merging firms contribute value.”).
120
    See, for example, Aetna Inc., “Save money with Aetna’s provider network,” available at
http://www.aetna.com/individuals-families-health-insurance/document-library/2012-aetna-provider-network.pdf,
site visited April 6, 2018 (describing that the costs to the patient for receiving out-of-network care are more than
eleven times the cost for receiving care from an in-network alternative.).
121
    Gowrisankaran Deposition, p. 83.
122
    To do so would require a basis to conclude that the actual travel habits of some consumers would be predictive of
the travel habits of others, in response to a price increase by a hypothetical monopolist. See Capps et al. p. 1 (“[I]f
travelers and non-travelers display fundamentally different demand behavior, either because they differ in their taste
for travel or their need for local/non-local services, then there is no necessary relationship between the market
experiences of these two groups post-merger.”).
123
    Capps et al., p.1 (“If travelers differ significantly from non-travelers, then the presence of a minority of travelers
does not imply that local firms lack market power vis-à-vis the majority of consumers who are non-travelers.”).
124
    Advocate-NorthShore Opinion, pp. 25-26.


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patient flows without the framework of the hypothetical monopolist test, which has led him to
commit the error of ignoring the “silent majority.”


V.      The Tied Geographic Markets

        65.      In this section, I evaluate the geographic boundaries of the four candidate Tied
Markets to determine whether they are relevant antitrust markets: (a) the Sacramento HSA, with
Sutter Sacramento; (b) the San Francisco HSA, with CPMC-Main and CPMC-St. Luke’s; (b) the
Modesto HSA, with Sutter Modesto; and (d) the Santa Rosa HSA, with Sutter Santa Rosa.
Specifically, for each Sutter hospitals in each of the candidate markets, I present: (a) a
description of the hospital and the local area in which the hospital is located, including
information on how far patients drive, what share of area-patients leave the area for inpatient
care, and whether there are any other non-Kaiser hospitals in the area; (b) an analysis of data and
ordinary-course documents that shed light on diversion and aggregate diversion inside / outside
of the candidate market; and (c) the results of a hypothetical monopolist test.

        A.       The Relevant Geographic Market for Sutter Sacramento Is the Sacramento
                 HSA

        66.      The candidate geographic market for Sutter Sacramento is the Sacramento
HSA. 125 Sutter Sacramento is a general acute care hospital with over 700 licensed beds and
7,000 annual discharges; the hospital was originally composed of two separate hospitals, Sutter
Memorial and Sutter General. Sutter Sacramento is located in the Sacramento HSA, in
Sacramento County. As seen in Exhibit 7A, Sutter Sacramento has a case mix index of 1.43, 126


125
    The Sacramento HSA includes the following zip codes as of 2015: 94203, 94204, 94205, 94206, 94207, 94208,
94209, 94211, 94229, 94230, 94232, 94234, 94235, 94236, 94237, 94239, 94240, 94244, 94245, 94247, 94248,
94249, 94250, 94252, 94254, 94256, 94257, 94258, 94259, 94261, 94262, 94263, 94267, 94268, 94269, 94271,
94273, 94274, 94277, 94278, 94279, 94280, 94282, 94283, 94284, 94285, 94286, 94287, 94288, 94289, 94290,
94291, 94293, 94294, 94295, 94296, 94297, 94298, 94299, 95605, 95612, 95615, 95624, 95626, 95639, 95651,
95652, 95655, 95659, 95662, 95668, 95670, 95672, 95673, 95680, 95683, 95690, 95691, 95693, 95741, 95757,
95758, 95759, 95762, 95798, 95799, 95811, 95812, 95813, 95814, 95815, 95816, 95817, 95818, 95819, 95820,
95821, 95822, 95823, 95824, 95825, 95826, 95827, 95828, 95829, 95830, 95831, 95832, 95833, 95834, 95835,
95836, 95837, 95838, 95840, 95851, 95852, 95853, 95860, 95864, 95865, 95866, 95867, 95894, 95899. The
following zip codes were removed from Sacramento HSA between 2011 and 2015: 94246 and 95887. The following
zip codes were added to Sacramento HSA between 2011 and 2015: 94245 and 94299.
126
    A hospital’s case mix index (“CMI”) is a measure originally constructed by the Centers for Medicare and
Medicaid to reflect the diversity, clinical complexity, and the resource needs of the hospital’s patients. CMIs
representing sicker and more costly diagnoses relative to the national average receive an index above 1.0, while



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and it is not listed among Sutter Health’s designated trauma centers. 127 There are three other non-
Kaiser hospitals in the candidate geography: 128 (a) University of California Davis Medical
Center; (b) Methodist Hospital of Sacramento; and (c) Mercy General Hospital. Exhibit 7B
shows a map depicting Sutter Sacramento and the Sacramento HSA.

                                            Exhibit 7A
                          Sutter Sacramento Hospital Profile, OSHPD 2011




Note: See Appendix C for a description of the OSHPD data analysis sample.
Sources:
1. OSHPD Patient Discharge Data, 2011.
2. OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
3. OSHPD Hospital Annual Financial Disclosure Data Complete Data Set, 2011.
4. National Bureau of Economic Research Diagnosis-Related Group (DRG) Weight Data, 2010-2011.
5. Centers for Medicare and Medicaid Services (CMS) Historical Impact Files, 2010-2012.
6. Dartmouth Atlas of Healthcare HSA Listings, 2015.




lower-intensity case mixes are rated below 1.0. See California HealthCare Foundation, “The Financial Health of
California Hospitals,” 2007, available at https://www.chcf.org/wp-content/uploads/2017/12/PDF-
HospitalFinancialHealthFullReport.pdf, site visited March 26, 2018, p. 4–14.
127
    Sutter Health, “What is a Trauma Center?” available at https://www.sutterhealth.org/services/emergency/trauma-
centers, site visited March 17, 2018 (“Designated trauma centers meet state and local requirements for treating life-
threatening injuries from gunshot wounds, car accidents, falls and other serious harm to the head, spine and vital
organs. Trauma centers are categorized into different levels based on their specific capabilities, equipment and
community programs. Sutter’s trauma centers in Roseville, Modesto and Castro Valley are designated Level II sites,
providing care considerably above and beyond the ability of typical emergency departments…. In Northern
California’s rural North Coast communities, Sutter Coast Hospital and Sutter Lakeside Hospital serve as Level IV
trauma centers, able to provide advanced trauma life support before transferring patients to a higher level trauma
center.”).
128
    There are also two Kaiser hospitals in the Sacramento HSA: (a) Kaiser Foundation Hospital-
Sacramento/Roseville; and (b) Kaiser Foundation Hospital-South Sacramento.


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receive their care locally and that the preferences of those who receive their care in the area may
be different from those who travel outside for their care. 130

                                              Exhibit 7C
                                  Sacramento HSA Profile, OSHPD 2011




      Notes:
      1. See Appendix C for a description of the OSHPD data analysis sample.
      2. Population and employment rates based on population aged 16 years and over.
      Sources:
      1. OSHPD Patient Discharge Data, 2011.
      2. OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
      3. OSHPD Hospital Annual Financial Disclosure Data Complete Data Set, 2011.
      4. Centers for Medicare and Medicaid Services (CMS) Historical Impact Files, 2010-2012
      5. Dartmouth Atlas of Healthcare HSA Listings, 2015.
      6. American Community Survey Five Year Estimates Employment Status Data, 2011-2015.
      7. Internal Revenue Service Individual Income Tax Data.
      8. Google Maps Distance Matrix API.


To put this evidence into context, the economic evidence from Advocate-NorthShore was that 73
percent of area-patients stayed in the FTC’s candidate geographic market, which was accepted
by the court as a relevant antitrust market. 131 The evidence from St. Luke’s-Saltzer was that
about 67 percent of area-patients stayed in the FTC’s candidate geographic market, which was
also accepted by the court as a relevant antitrust market. 132



130
   In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.
131
    Advocate-NorthShore Appellate Decision, pp. 22 (“As one insurance executive put it: 'Typically [patients] seek
[hospital] care in their own communities.' The evidence on that point is strong, not equivocal. For example, 73
percent of patients living in plaintiffs’ proposed market receive hospital care there.”).
132
    St. Luke’s-Saltzer Appellate Decision, p.16 (“evidence that one-third of Nampa residents travel to Boise for
PCPs did not prove that a significant number of other residents would so travel in the event of a SSNIP.”).


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         68.      Exhibit 7D presents the results of the diversion analysis. The top panel of this
exhibit presents the next-best substitutes to Sutter Sacramento, in order of the diversion from
Sutter Sacramento to each of the next-best substitutes. I find that the next-best substitute for
Sutter Sacramento is University of California Davis Medical Center, also in the Sacramento
HSA. The second next-best substitute is Mercy San Juan, outside of the Sacramento HSA, and
the third next-best substitute is Mercy General Hospital, inside the Sacramento HSA.

         69.      The bottom panel describes the aggregate diversion inside and outside of the
candidate market, computed based on the diversion from all hospitals in the candidate
geography. The aggregate diversion to hospitals inside of the candidate market is 61 percent,
which is higher than the 48 percent aggregate diversion inside calculated by the FTC’s economist
in connection with the accepted geographic market in Advocate-NorthShore. 133 The aggregate
diversion outside is 39 percent. Professor Gowrisankaran does not study diversion.




133
    “Redacted Memorandum Opinion and Order,” Federal Trade Commission and State of Illinois v. Advocate
Health Care Network, et al., Case No. 15 C 11473, March 16, 2017, p. 9 (“48% of the patients admitted to one of
the [hospitals in the candidate geographic market] would substitute to one of the other hospitals in the [candidate
geographic market] if their chosen hospital were no longer available.”).


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                                            Exhibit 7D
                 Diversion Analysis: Sutter Sacramento and the Sacramento HSA




     Notes:
     1. See Appendix C for a description of the OSHPD data analysis sample.
     2. Diversion ratios based on conditional logit patient choice model. See Appendix C for a description of the
     model and underlying estimation results. Totals may not add to 100 percent due to rounding.
     Sources: See Appendix C.


         70.      The calculation of the hypothetical monopolist’s optimal price requires
information on diversion, relative prices, and commercial inpatient margins. I use the diversion
estimates presented above. I construct relative prices using Anthem claims data. I do not have
data on variable contribution margins for the local non-Sutter hospital, but I do have what
appears to be variable contribution margin data from Sutter. 134 Thus, I use the local Sutter



134
    A hospital’s variable contribution margin is the difference between the revenue and the variable cost associated
with treating one more commercial patient. To the extent the margins data from Sutter are net of certain fixed costs,
they may be too low for the purposes of this calculation. In this case, the calculation would understate the optimal
price increase, which would, in turn, tend to reject the candidate market as the relevant market.


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hospital’s contribution margin as a proxy for the variable contribution margin for the local non-
Sutter hospital. Sutter has provided information on margins for Sutter Sacramento for all years
from 2009 to 2015. Because the hypothetical monopolist is less likely to raise prices when the
margin at the hospital receiving the diverted patients is lower, my calculation conservatively uses
the lowest local Sutter hospital commercial contribution margin, which in the case of Sutter
Sacramento is 36.4 percent, based on 2015 data. Thus, I calculate that a hypothetical monopolist
over the non-Kaiser hospitals in the candidate geography would find it profitable to raise Sutter
Sacramento’s price between 11 percent and 12 percent above the actual level in each year from
2010 to 2012. 135 To the extent Sutter has already elevated the price of Sutter Sacramento, beyond
competitive levels as a result of the alleged conduct, this price increase understates the true
hypothetical price increase.

        71.      The combination of these results indicates that the candidate geography of
Sacramento HSA is a relevant market. Basic descriptive statistics show a strong preference of a
majority of area-patients to receive their care locally. Diversion analysis shows a relatively large
aggregate diversion inside the area. Furthermore, the results of the hypothetical monopolist test
more than meets the five percent threshold of the Merger Guidelines. 136

        B.       The Relevant Geographic Market for CPMC Is the San Francisco HSA

        72.      The candidate geographic market for California Pacific Medical Center
(“CPMC”) is the San Francisco HSA. 137 CPMC is a general acute care hospital with four
campuses (Davies, Pacific, California, and St. Luke’s), 138 but CPMC reports data for its St.
Luke’s campus separately to OSHPD. CPMC’s three campuses (referred to collectively as

135
    I find that the hypothetical monopolist over the hospitals in Sacramento HSA would find it profitable to raise
Sutter Sacramento’s price by at least five percent even if the local non-Sutter hospital margin were as low as 17.3
percent, instead of the assumed 36.4 percent margin. See Chipty Workpapers.
136
    Merger Guidelines, §4.1.2 (“The Agencies most often use a SSNIP of five percent of the price paid by customers
for the products or services to which the merging firms contribute value.”).
137
    The San Francisco HSA includes the following zip codes as of 2015: 94102, 94103, 94104, 94105, 94107,
94108, 94109, 94110, 94111, 94112, 94114, 94115, 94116, 94117, 94118, 94119, 94120, 94121, 94122, 94123,
94124, 94126, 94127, 94129, 94130, 94131, 94132, 94133, 94134, 94137, 94139, 94140, 94141, 94142, 94143,
94144, 94145, 94146, 94147, 94151, 94158, 94159, 94160, 94161, 94163, 94164, 94172, 94177, 94188. The
following zip codes were removed from San Francisco HSA between 2011 and 2015: 94016, 94125, 94156, and
94162.
138
    Sutter Health, “Our Campuses History,” available at http://www.cpmc.org/about/history/campus html, site visited
March 17, 2018.




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receive their care locally and that the preferences of those who receive their care in the area may
be different from those who travel for their care. 143

                                              Exhibit 8C
                                San Francisco HSA Profile, OSHPD 2011




           Notes: See notes for Exhibit 7C.
           Sources: See sources for Exhibit 7C.


          75.     Exhibits 8D and 8E present the results of the diversion analysis, for CPMC-Main
and CPMC-St. Luke’s, respectively. In each exhibit, the top panel presents the next-best
substitutes to the Sutter hospital, in order of diversion from the Sutter hospital to the next-best
substitutes. The bottom panel, which is identical across the two exhibits, describes the aggregate
diversion inside and outside of the candidate market, computed based on the diversion from all
hospitals in the candidate geography. I find that:

      •   The next-best substitute for CPMC-Main is UCSF Medical Center in the San Francisco
          HSA. The second next-best substitute for CPMC-Main is Marin General Hospital,
          outside of the San Francisco HSA, and the third best substitute for CPMC-Main is
          CPMC-St. Luke’s.

      •   The next-best substitute for CPMC-St. Luke’s is Seton Medical Center, not in the San
          Francisco HSA. The second and third best substitute are UCSF Medical Center and
          CPMC-Main, both of which are located in the San Francisco HSA.

      •   The aggregate diversion to hospitals inside of the candidate market is 65 percent and
          aggregate diversion outside is 35 percent.

143
   In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.


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                                      Exhibit 8D
                Diversion Analysis: CPMC-Main and San Francisco HSA




Notes: See notes for Exhibit 7D.
Sources: See sources for Exhibit 7D.




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                                        Exhibit 8E
                       CPMC-St. Luke’s Diversion Analysis, OSHPD 2011




   Notes: See notes for Exhibit 7D.
   Sources: See sources for Exhibit 7D.


       76.      The calculation of the hypothetical monopolist’s optimal price requires
information on diversion, relative prices, and commercial inpatient margins. I use the diversion
estimates presented above. I construct relative prices using Anthem claims data. I do not have
data on contribution margins for the local non-Sutter hospital. Thus, I use as the local Sutter
hospital’s contribution margin as a proxy for the contribution margin for the local non-Sutter
hospital. Sutter has provided information on margins for CPMC for the years 2009 and 2010.
CPMC’s commercial fee-for-service margin in 2009 was 45.7 percent, and its commercial
margin in 2010 was 47.2 percent. Assuming the other hospitals to which CPMC-Main patients
would divert have the lower Sutter margin of 45.7 percent, I calculate that a hypothetical
monopolist over the non-Kaiser hospitals in the candidate geography would find it profitable to
raise CPMC-Main’s price 13 percent above the actual level in each year from 2010 to




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2012. 144,145 To the extent Sutter has already elevated the price of CPMC-Main, beyond
competitive levels as a result of the alleged conduct, this price increase understates the true
hypothetical price increase.

         77.      The combination of these results indicates that the boundaries of the San
Francisco HSA constitute a relevant geographic market. Basic descriptive statistics show a
strong preference of a majority of area-patients to receive their care locally. Diversion analysis
shows a relatively large aggregate diversion within the area. Furthermore, the results of the
hypothetical monopolist test more than meet the five percent threshold of the Merger
Guidelines. 146

         C.       The Relevant Geographic Market for Sutter Modesto Is the Modesto HSA

         78.      The candidate geographic market for Sutter Modesto is the Modesto HSA. 147
Sutter Modesto is a general acute care inpatient hospital, with more than 400 licensed beds and a
designation as a Level II Trauma Center. 148 The hospital is located in the Modesto HSA, in
Stanislaus County, and became affiliated with Sutter in 1996. 149 As seen in Exhibit 9A, Sutter
Modesto has a case mix index of 1.24. There is one other non-Kaiser hospital, Doctors Medical


144
    I find that the hypothetical monopolist over the hospitals in the San Francisco HSA would find it profitable to
raise CPMC-Main’s price by at least five percent even if the local non-Sutter hospital margin were 18.0 percent,
instead of the assumed 45.7 percent margin. See Chipty Workpapers.
145
    A similar calculation for CPMC-St. Luke’s shows a price increase of two to three percent above the actual level
in each year from 2010 to 2012. See Chipty Workpapers. This result, however, does not alter the conclusion that the
San Francisco HSA is a relevant antitrust market, because the price increase at CPMC-Main is found to be 13
percent and there only needs to be a SSNIP at one of the hospitals in the candidate market, in order for the candidate
market to be a relevant market. See Merger Guidelines §4.1.1 (“Specifically, the test requires that a hypothetical
profit-maximizing firm, not subject to price regulation, that was the only present and future seller of those products
(“hypothetical monopolist”) likely would impose at least a small but significant and non-transitory increase in price
(“SSNIP”) on at least one product in the market, including at least one product sold by one of the merging firms.”
[Emphasis added]).
146
    Merger Guidelines, §4.1.2 (The Agencies most often use a SSNIP of five percent of the price paid by customers
for the products or services to which the merging firms contribute value.”).
147
    The Modesto HSA includes the following zip codes as of 2015: 95230, 95307, 95313, 95319, 95320, 95322,
95323, 95326, 95328, 95329, 95350, 95351, 95352, 95353, 95354, 95355, 95356, 95357, 95358, 95360, 95363,
95366, 95367, 95368, 95385, 95386, 95387, 95397. The following zip codes were added to Modesto HSA between
2011 and 2015: 95230 and 95397.
148
    Sutter Health, “What is a Trauma Center?” available at https://www.sutterhealth.org/services/emergency/trauma-
centers, site visited March 17, 2018; and OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
149
    Sutter Health, “History of Memorial Medical Center,” available at http://www.memorialmedicalcenter.
org/about/about_hist html, site visited March 14, 2018.




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         79.      Exhibit 9C provides some basic facts about local residents. There are
approximately 342,000 residents of the candidate geography, 52 percent of whom are employed.
About 81 percent of non-Kaiser, commercially-insured area-patients stay in the area for inpatient
hospital services, and they drive an average of 18 minutes for their care. (Instead of 81 percent,
Professor Gowrisankaran calculates that 84 percent of the area-patients stay in the area for
inpatient hospital services. 151) The approximately 19 percent of area-patients who go outside of
the area for their inpatient hospital services drive significantly longer – about 71 minutes – for
their care. These statistics suggest that a large majority of area-patients prefer to receive their
care locally and that the preferences of those who receive their care in the area may be different
from those travel outside of the area for their care. 152

                                              Exhibit 9C
                                    Modesto HSA Profile, OSHPD 2011




          Notes: See notes for Exhibit 7C.
          Sources: See sources for Exhibit 7C.


         80.      Exhibit 9D presents the results of the diversion analysis. The top panel of this
exhibit presents the next-best substitutes, in order of diversion, and the bottom panel describes
the aggregate diversion inside and outside of the candidate market. I find that the next-best
substitute for Sutter Modesto is Doctors Medical Center, also in the Modesto HSA. The
aggregate diversion to hospitals inside of the candidate market is 68 percent and aggregate
diversion outside is 32 percent.




151
   Gowrisankaran Report, Figure 5.
152
   In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.


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                                             Exhibit 9D
                        Diversion Analysis: Sutter Modesto and Modesto HSA




    Notes: See notes for Exhibit 7D.
    Sources: See sources for Exhibit 7D.


         81.      The calculation of the hypothetical monopolist’s optimal price requires
information on diversion, relative prices, and commercial inpatient margins. I use the diversion
estimates presented above. I construct relative prices using Anthem claims data. I do not have
data on contribution margins for the local non-Sutter hospital. Thus, I use as the local Sutter
hospital’s contribution margin as a proxy for the contribution margin for the local non-Sutter
hospital. Sutter has provided information on margins for Sutter Modesto for the years 2009,
2010, and 2015. Sutter Modesto’s commercial fee-for-service margin in 2009 was 62.8 percent,
its commercial margin in 2010 was 66.2 percent, and its commercial margin in 2015 was 47.7
percent. Assuming the other hospitals to whom Sutter Modesto patients would divert have the
lowest Sutter Modesto margin, which in this case is 47.7 percent, I calculate that a hypothetical
monopolist over the non-Kaiser hospitals in the candidate geography would find it profitable to
raise Memorial’s price between 12 percent and 20 percent above the actual level in each year
from 2010 to 2012. 153 To the extent Sutter has already elevated the price of Sutter Modesto,


153
    I find that the hypothetical monopolist over the hospitals in Modesto HSA would find it profitable to raise at
Sutter Modesto’s price by at least five percent even if the local non-Sutter hospital margin were 19.5 percent, instead
of the assumed 47.7 percent margin. See Chipty Workpapers.


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beyond competitive levels as a result of the alleged conduct, this price increase understates the
true hypothetical price increase.

        82.      The combination of these results indicates that the candidate geography of
Modesto HSA is a relevant market. Basic descriptive statistics show a strong preference of a
majority of area-patients to receive their care locally. Diversion analysis shows a relatively large
aggregate diversion within the area. Furthermore, the results of the hypothetical monopolist test
more than meet the threshold five percent of the Merger Guidelines. 154

        D.       The Relevant Geographic Market for Sutter Santa Rosa Is the Santa Rosa
                 HSA

        83.      The candidate geographic market for Sutter Santa Rosa hospital is the Santa Rosa
HSA. 155 Sutter Santa Rosa is a general acute care hospital with 135 licensed beds. It is located in
Santa Rosa HSA, in Sonoma County. The hospital joined the Sutter system in 1996. 156 As seen
in Exhibit 10A, Sutter Santa Rosa has a case mix index of 1.20, and it is not designated by Sutter
as a trauma center. 157 There is one other non-Kaiser hospital, Santa Rosa Memorial Hospital, in
the candidate geography. 158 Exhibit 10B shows a map depicting the Sutter Santa Rosa and the
Santa Rosa HSA.




154
    Merger Guidelines, §4.1.2 (“The Agencies most often use a SSNIP of five percent of the price paid by customers
for the products or services to which the merging firms contribute value.”).
155
    The Santa Rosa HSAs includes the zip codes: 94926, 94927, 94928, 94931, 95401, 95402, 95403, 95404, 95405,
95406, 95407, 95409, 95412, 95421, 95436, 95439, 95445, 95446, 95452, 95459, 95462, 95468, 95471, 95480,
95486, 95492, 95494, 95497.
156
    Sutter Health, “Sutter Santa Rosa Regional Hospital – About Us,” available at http://www.suttersantarosa.
org/about/index. html, site visited March 16, 2018.
157
    Sutter Health, “What is a Trauma Center?” available at https://www.sutterhealth.org/services/emergency/trauma-
centers, site visited March 17, 2018.
158
    There is one Kaiser hospital, Kaiser Foundation Hospital-Santa Rosa. See OSHPD Hospital Annual Financial
Disclosure Data Pivot Profiles, 2011.


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         84.      Exhibit 10C provides some basic facts about local residents. There are
approximately 256,000 residents of the candidate geography, about 59 percent of whom are
employed. About 75 percent of non-Kaiser, commercially-insured area-patients stay in the area
for inpatient hospital services, and they drive an average of 20 minutes for their care. (By
comparison, Professor Gowrisankaran calculates that 83 percent of area-patients stay in the area
for their inpatient care. 159) The approximately 25 percent of area-patients who go outside of the
area for their inpatient hospital services drive significantly longer – about 67 minutes – for their
care. These statistics suggest that a large majority of area-patients prefer to receive their care
locally and that the preferences of those who receive their care in the area may be different from
those who travel outside of the area for their care. 160

                                              Exhibit 10C
                                  Santa Rosa HSA Profile, OSHPD 2011




      Notes: See notes for Exhibit 7C.
      Sources: See sources for Exhibit 7C.


         85.      Exhibit 10D presents the results of the diversion analysis. The top panel of this
exhibit presents the next-best substitutes, in order of diversion, and the bottom panel describes
the aggregate diversion inside and outside of the candidate market. I find that the next-best
substitute for Sutter Santa Rosa is Santa Rosa Memorial, also in the Santa Rosa HSA. The
aggregate diversion to hospitals inside of the candidate market is 73 percent and aggregate
diversion outside is 27 percent.




159
   Gowrisankaran Report, Figure 5.
160
   In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.


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                                            Exhibit 10D
                    Diversion Analysis: Sutter Santa Rosa and Santa Rosa HSA




     Notes: See notes for Exhibit 7D.
     Sources: See sources for Exhibit 7D.


         86.      The calculation of the hypothetical monopolist’s optimal price requires
information on diversion, relative prices, and commercial inpatient margins. I use the diversion
estimates presented above. I construct relative prices using Anthem claims data. I do not have
data on contribution margins for the local non-Sutter hospital. Thus, I use as the local Sutter
hospital’s contribution margin as a proxy for the contribution margin for the local non-Sutter
hospital. Sutter has provided information on margins for Sutter Santa Rosa for the years 2009
and 2010. Sutter Santa Rosa’s commercial fee-for-service margin in 2009 was 26.0 percent and
its commercial margin in 2010 was 43.8 percent. Assuming Santa Rosa Memorial, the area
hospital that would capture Sutter Santa Rosa patients, had the lower fee-for-service margin of
26.0 percent, I calculate that a hypothetical monopolist over the non-Kaiser hospitals in the
candidate geography would find it profitable to raise Sutter Santa Rosa’s price between seven
percent and ten percent above the actual level in each year from 2010 to 2012. 161 To the extent
Sutter has already elevated the price of Sutter Santa Rosa, beyond competitive levels as a result
of the alleged conduct, this price increase understates the true hypothetical price increase.



161
    I find that the hypothetical monopolist over the hospitals in the Santa Rosa HSA would find it profitable to raise
Sutter Santa Rosa’s price by at least five percent even if the local non-Sutter hospital margin were 19.0 percent,
instead of the assumed 26.0 percent margin. See Chipty Workpapers.


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        87.      The combination of these results indicates that the candidate geography of Santa
Rosa HSA is a relevant market. Basic descriptive statistics show a strong preference of a
majority of area-patients to receive their care locally. Diversion analysis shows a relatively large
aggregate diversion within the area. Furthermore, the results of the hypothetical monopolist test
more than meet the five percent threshold of the Merger Guidelines. 162

                                                      ***

        88.      Thus, I find that all four of the candidate Tied Markets are economically coherent
antitrust markets.


VI.     The Tying Geographic Markets

        89.      In this section, I evaluate the geographic boundaries of the candidate Tying
Markets to determine whether they are relevant antitrust markets: (a) the combined areas of the
Berkeley-Oakland HSAs; (b) the Crescent City HSA; (c) the Lakeport HSA; (d) the Antioch
HSA; (e) the Jackson HSA; (f) the Tracy HSA; (g) the Auburn HSA; and (h) the Davis HSA.
Specifically, for each of the Sutter hospitals in each of the candidate markets, I present: (a) a
description of the hospital and the local area in which the hospital is located, including
information about how far patients drive, what share of area-patients leave the area for inpatient
care, and whether there are any other non-Kaiser hospitals in the area; (b) an analysis of data and
ordinary-course documents that shed light on diversion and aggregate diversion outside of the
candidate market; and (c) analysis of evidence within the framework of the hypothetical
monopolist test.

        A.       The Relevant Geographic Market for Alta Bates Is the Combination of the
                 Berkeley-Oakland HSAs

        90.      The candidate geographic market for Sutter Alta Bates is the combined area of the
Berkeley-Oakland HSAs. 163 Alta Bates is a general acute care hospital with three campuses –

162
    Merger Guidelines, §4.1.2 (“The Agencies most often use a SSNIP of five percent of the price paid by customers
for the products or services to which the merging firms contribute value.”).
163
    The Berkeley HSA includes the following zip codes as of 2015: 94530, 94701, 94702, 94703, 94704, 94705,
94706, 94707, 94708, 94709, 94710, 94712, 94720. The Oakland HSAs includes the following zip codes as of 2015:
94502, 94601, 94602, 94603, 94604, 94605, 94606, 94607, 94608, 94609, 94610, 94611, 94612, 94613, 94614,
94615, 94617, 94618, 94619, 94620, 94621, 94623, 94624, 94649, 94659, 94660, 94661, 94662, 94666.




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Alta Bates in Berkeley, Herrick in Berkeley, Summit in Oakland 164 – but Alta Bates reports only
data for its Summit campus separately to OSHPD. 165 The hospital was formed from the 1999
merger of Sutter’s Alta Bates Medical Center and Summit Medical Center. 166 Alta Bates in
Berkeley has over 500 licensed beds, and its Summit campus has nearly 400 licensed beds. 167

         91.      As seen in Exhibit 11A, Alta Bates’ two Berkeley campuses combined (referred
to collectively as “Alta Bates-Main”) has a case mix index of 1.05; Alta Bates-Summit has a case
mix index of 1.55; and neither is listed among Sutter Health’s designated trauma centers. 168
There is one other, non-Sutter, non-Kaiser hospital in the candidate geography: Alameda County
Medical Center, located within ten minutes of Alta Bates-Main. Alameda County Medical
Center, which is part of Alameda Health System, is a safety net hospital in Oakland, California
with a poor reputation among area residents. 169 As explained by a 2015 research study on the
hospital, “the biggest challenge for AHS is becoming attractive to the ‘Regular Joe’ who views
AHS as a ‘Knife and Gun Club.’ People are reluctant to come here because of the challenging
neighborhood and poor access.” 170,171 Consistent with this, the hospital has not historically had



164
    Sutter Health, “Facts at a Glance,” available at http://www.altabatessummit.org/about/profile.html , site visited
May 23, 2018.
165
    OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
166
    Sutter Health, “Our History and Our Work,” available at http://www.altabatessummit.org/about/history.html, site
visited April 19, 2018.
167
    OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
168
    Sutter Health, “What is a Trauma Center?” available at https://www.sutterhealth.org/services/emergency/trauma-
centers, site visited March 17, 2018. CPMC is also not recognized as a trauma center by the American College of
Surgeons (“ACS”). American College of Surgeons, “Searching for Verified Trauma Centers,” available at
https://www. facs.org/search/trauma-centers, site visited March 17, 2018. (Note that the ACS specifically disclaims,
“The designation of trauma facilities is a geopolitical process by which empowered entities, government or
otherwise, are authorized to designate. The ACS does not designate trauma centers; instead, it verifies the presence
of the resources listed in The Resources for Optimal Care for the Injured Patient. This is a voluntary process and
only those trauma centers that have successfully completed a verification visit are listed…”).
169
    Marianne Aiello, “Why and How Safety Net Hospitals are Marketing Themselves,” HealthLeaders Media,
March 16, 2016, available at http://www.healthleadersmedia.com/marketing/why-and-how-safety-net-hospitals-are-
marketing-themselves, site visited May 12, 2018 (“Because of their history as a safety net provider, they [Alameda
Health System] were never associated with quality of care.”).
170
    Kane, Nancy M, “Alameda Health System ‘Helping an institution survive that used to serve people with no
choices.’,” Harvard T.H. Chan School of Public Health, 2015, pp. 1-23 (hereafter “Kane (2015)”), available at
http://caseresources hsph.harvard.edu/files/case/files/alameda.pdf, site visited May 12, 2018, at p. 6.
171




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receive their care locally and that the preferences of those who prefer to receive their care in the
area may be different from those who do not. 177

                                            Exhibit 11C
                             Berkeley-Oakland HSA Profile, OSHPD 2011




      Notes: See notes for Exhibit 7C.
      Sources: See sources for Exhibit 7C.


         93.      Because there are effectively no other hospitals in the candidate geography,
competing against Alta Bates in the upstream market for inclusion in commercial health plans’
provider networks, I cannot use the choice model to study diversion patterns or conduct a
traditional hypothetical monopolist test. Even if in-network alternatives were present, a
hypothetical monopolist test conducted in this geography may define an erroneously broad
market if prevailing prices are already supra-competitive due to pre-existing market power. 178,179

177
    In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.
178
    A retrospective analysis of the merger between Sutter’s Alta Bates and Summit, which created the current Alta
Bates Medical Center, found that post-merger prices “increased at both hospitals for every insurer.” The authors
found that “The price increase for Alta Bates ranges from 10.2% to 20.7%, depending on the insurer, compared to
29.0% to 72.0% at Summit.” See Tenn, Steven, “The Price Effects of Hospital Mergers: A Case Study of the Sutter-
Summit Transaction,” International Journal of the Economics of Business, Vol. 18, No.1, 2011, pp. 65-82, at p.75.
The hypothetical monopolist over the Alta Bates, Alta Bates-Summit, and Alameda County Medical Center may not
be able to elevate prices beyond their already elevated level. Such a finding, however, should not lead to a rejection
of the candidate market as a relevant market; to do so, would risk the Cellophane fallacy.
179
    The numerical calculation of the hypothetical monopolist test for the candidate market of Berkeley-Oakland
requires information on diversion from Alta Bates to Alameda County Medical Center and Alameda County
Medical Center’s prices and margins. There are limitations on all three inputs: (a) the diversion between the in-area
hospitals will be lower than it may be otherwise, because Alameda County Medical Center was out of network for
two of the big non-Kaiser health plans for much of the analysis period; (b) there are no prices for Alameda County
Medical Center because it was out of network for both Anthem and Blue Shield; and (c) there are no margins for
Alameda County Medical Center. For the sake of completeness, I implemented the numerical calculation using: (a)
the econometric diversion; (b) Sutter’s Alta Bates prices as a proxy for Alameda County Medical Center’s prices;
and (c) Sutter’s 2009 margin as a proxy for Alameda County Medical Center’s variable contribution margin. I find



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         94.      Instead I look to ordinary-course information that sheds light on patient
preferences, including Blue Shield’s redirection analysis.



                                                                                         180




                                                                                  81
                                                                                       Because of the substantial
overlap between Alameda County and the Berkeley-Oakland HSAs, 182




                                                                                               83,184




                                                    85
                                                         Furthermore, a 2011 Blue Shield analysis found that
                                                             186
                                                                   This perspective was not limited to Blue


that it would be profitable to raise the price at Alta Bates-Main by at most 2.2 percent, and it would be profitable to
raise the price at Alta Bates–Summit by at most 2.8 percent. (See Chipty Workpapers.) However, for the reasons I
describe in the text, one should be careful not to reject the candidate market as the relevant market, despite the
numerical result, because of the Cellophane fallacy.
180
    See Exhibit 19. Further, 51 percent of Alta Bates-Main PSA discharges and 45 percent of Alta Bates-Summit
PSA discharges are in the San Francisco HSA;
                                                                  See Chipty Workpapers.
181




182
    Nearly 85 percent of Alta Bates PSA discharges living in Alameda County are in the two-HSA area of Berkeley
and Oakland. See Chipty Workpapers.
183




184
   Despite these facts, diversion analysis shows John Muir and Alameda County Medical Center were among the
highest recipients of patients being diverted away from both Alta Bates and Alta Bates Summit, due to their
proximity. These results highlight the importance to patients of staying local. See Chipty Workpapers.
185




186
  Blue Shield, “Blue Shield of California presented to UFCW & Employers Benefit Trust,” December 8, 2011,
BSC_SutterSub00013018 at p. 26                                                           .




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Shield. For example, Aetna’s Chandra Welsh expressed a similar sentiment: “using my definition
of monopoly meaning a must-have from a marketability standpoint, one would be Alta Bates
Summit Medical Center, which [is] the only hospital really for Oakland and Berkeley for
commercial business.” 187 Staff at United also described the Berkeley and Oakland area among
those where Sutter has a “geographic monopoly.” 188

         95.      Collectively, this evidence indicates that hospitals outside of the candidate market
are not good substitutes for hospitals inside of the candidate market, from the perspective of
commercial health plans seeking to assemble a commercial viable provider network. 189 As such,
I conclude that the candidate geography of combined Berkeley and Oakland HSAs is a relevant
market.

         B.       The Relevant Geographic Market for Sutter Coast Is the Crescent City HSA

         96.      The candidate relevant geographic market for Sutter Coast is the Crescent City
HSA. 190 Sutter Coast is a general acute care hospital, with 59 licensed beds and a designation of
Trauma Level 4. 191 It is located in the Crescent City HSA and in Del Norte County. Originally
leased to Sutter as Seaside Hospital in 1986, Sutter Coast was rebuilt as a new hospital and began
operating in its current location in 1992. 192 As seen in Exhibit 12A, the hospital has a case mix
index of 1.01. There are no other hospitals (Kaiser or non-Kaiser) in the candidate geography.
Exhibit 12B shows a map depicting Sutter Coast and the boundaries of the candidate geography,
which extends into the state of Oregon.




187
    Welsh Deposition, p. 196.
188
    Harvey Email, p. 1 (indicating that Sutter has “geographic monopolies for the following submarkets – Auburn,
Amador, Tracy. Marin, Vallejo, Antioch, Berkeley, Oakland, San Mateo, Clearlake and Humboldt…Despite
widespread Broker acknowledgement of the high cost of Sutter, it is not feasible to present an HMO or FFS network
in Northern CA that does not include them.”).
189
    Merger Guidelines § 4.1.3 (“Even when the evidence necessary to perform the hypothetical monopolist test
quantitatively is not available, the conceptual framework of the test provides a useful methodological tool for
gathering and analyzing evidence pertinent to customer substitution and to market definition.”).
190
    The Crescent City HSA includes the following zip codes as of 2015: 95531, 95532, 95538, 95543, 95548, 95567,
97415.
191
    OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011; and Sutter Health, “What is a Trauma
Center?” available at https://www.sutterhealth.org/services/emergency/trauma-centers, site visited March 17, 2018.
192
    Sutter Health, “Sutter Coast History,” available at https://www.sutterhealth.org/coast/about/history/history-coast,
site visited March 17, 2018.


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employed. About 72 percent of non-Kaiser, commercially-insured area-patients stay in the area
for inpatient hospital services, and they drive an average of 32 minutes for their care. About 28
percent of area-patients travel outside of the area for their inpatient hospital services. 193 These
statistics show that a significant share of area-patients prefers to receive their care locally.

                                              Exhibit 12C
                                Crescent City HSA Profile, OSHPD 2011




      Notes:
      1. The OSHPD data are missing data for area-patients that choose an Oregon hospital; as such, the 275
         minutes of average drive time shown in the table is for area-patients that choose a California hospital
         outside of the area.
      2. See notes for Exhibit 7C.
      Sources: See sources for Exhibit 7C.


        98.       Ordinary-course documents indicate that health plans do not have substitute for
Sutter Coast. 194 Blue Shield


      195
            Sutter itself explains that for hospitals whose next closest facility is at least 30 miles
away, the local hospital “acts as a sole practical resource for acute care and emergency care”



193
    Because the OSHPD discharge data do not contain Oregon hospitals, I can only compute average drive times for
area-residents patients who choose out-of-area hospitals in California: this average drive time in this case is 275
minutes.
194




195

                                                                          See also, Welsh Deposition, pp. 196-198
(describing Sutter Coast, Sutter Lakeside, and Sutter Auburn as “must-have from a marketability standpoint,” and
explaining that these rural hospitals are “really it for a given area.”).




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within the community it serves. 196 Consistent with this evidence, Professor Gowrisankaran finds
no hospitals within a 30-minute drive of Sutter Coast 197 and describes Crescent City HSA an
“isolated geographic location on the coast of the Oregon-California border.” 198

         99.      Because there are no other hospitals in the candidate geography, I cannot use the
choice model to study diversion patterns. Instead I look to the Blue Shield redirection analysis
that provides ordinary-course information on where Blue Shield expected people to go if Sutter
Coast were to be taken out of network. In this case, patients would experience a significant
increase in out-of-pocket expenses, and Blue Shield would experience a significant increase in
hospital reimbursement rates, because of Sutter’s non-par provisions requiring payment at 95 to
100 percent of billed charges for out-of-network usage. Despite the price increase, Blue Shield
anticipated that
        99




         100.     Collectively, this evidence indicates that hospitals outside of the candidate market
are not good substitutes for hospitals inside of the candidate market, from the perspective of
commercial health plans seeking to assemble a commercial viable provider network. 200 As such,
I conclude that the candidate geography of the Crescent City HSA is a relevant antitrust market
in this matter.




196
    Blue Cross of California and Sutter Health Systemwide Amendment, February 18, 2001, DEF000097795-900, at
801 (“1.20 Rural Hospital. A Rural Hospital is a designation given by Sutter Health to any facility which acts as a
sole practical resource for acute care and emergency care within the rural community it serves, and the next closest
facility is at least 30 miles away from the Rural Hospital.”). See also, Deposition of Melissa Brendt, Djeneba Sidibe,
Diane Dewey and Jerry Jankowski on Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health,
Case No. 3:12-cv-4854-LB, May 15, 2018 (hereafter “Brendt Deposition”), p. 202 (“Q: So this document, you’re
saying that … Sutter Coast Hospital acts as a sole practical resource for acute care and emergency care within the
community that it serves; correct? A: Yes.”).
197
    Gowrisankaran Report, Exhibit 7.
198
    Gowrisankaran Report, p. 7.
199
    I find that 100 percent of Sutter Coast PSA discharges are in the Crescent City HSA;
                                                                                                             See
Exhibit 19 and Chipty Workpapers.
200
    Merger Guidelines § 4.1.3 (“Even when the evidence necessary to perform the hypothetical monopolist test
quantitatively is not available, the conceptual framework of the test provides a useful methodological tool for
gathering and analyzing evidence pertinent to customer substitution and to market definition.”).




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        C.       The Relevant Geographic Market for Sutter Lakeside Is the Lakeport HSA

        101.     The candidate relevant geographic market for Sutter Lakeside is the Lakeport
HSA. 201 Sutter Lakeside is a critical access, 202 general acute care hospital with only 37 beds and
a Trauma Level IV designation. It is located in the Lakeport HSA, in Lake County. The hospital
was founded in 1945 and became affiliated with Sutter Health in 1992. 203 As seen in Exhibit
13A, the hospital has a case mix index of 1.23. There are no other hospitals (Kaiser or non-
Kaiser) in the candidate geography. Exhibit 13B shows a map depicting Sutter Lakeside and the
boundaries of the candidate geography.

                                            Exhibit 13A
                           Sutter Lakeside Hospital Profile, OSHPD 2011




                  Notes: See notes for Exhibit 7A.
                  Sources: See sources for Exhibit 7A.




201
    The Lakeport HSA includes the following zip codes as of 2015: 95426, 95435, 95451, 95453, 95458, 95464,
95485, 95493. The following zip code was removed from Lakeport HSA between 2011 and 2015: 95715.
202
    California Critical Access Hospital Network, “Critical Access Hospital Profiles,” available at
https://www.ccahn.org/about-network/critical-access-hospital-profiles, site visited March 17, 2018.
203
    California Critical Access Hospital Network, “Sutter Lakeside Hospital,” available at
https://www.ccahn.org/hospital-profile/sutter-lakeside-hospital, site visited March 17, 2018.


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preferences of those who receive their care in the area may be different from those who do
not. 204

                                             Exhibit 13C
                                   Lakeport HSA Profile, OSHPD 2011




             Notes: See notes for Exhibit 7C.
             Sources: See sources for Exhibit 7C.


           103.   Ordinary-course documents indicate that health plans
                    205
                          Blue Shield also recognizes that


                  206
                        Sutter itself explains that for hospitals whose next closest facility is at least 30
miles away, the local hospital “acts as a sole practical resource for acute care and emergency
care” within the community it serves. 207 Consistent with this evidence, Professor Gowrisankaran
finds that there is no other hospital within a 30-minute drive of Sutter Lakeside 208 and that the


204
   In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.
205




206

                                                                             See also, Welsh Deposition, pp. 196-198
(describing Sutter Coast, Sutter Lakeside, and Sutter Auburn as “must-have from a marketability standpoint,” and
explaining that these rural hospitals are “really it for a given area.”).
207
    Blue Cross of California and Sutter Health Systemwide Amendment, February 18, 2001, DEF000097795-900, at
801 (“1.20 Rural Hospital. A Rural Hospital is a designation given by Sutter Health to any facility which acts as a
sole practical resource for acute care and emergency care within the rural community it serves, and the next closest
facility is at least 30 miles away from the Rural Hospital.”). See also Brendt Deposition, p. 202 (“Q: So this
document, you’re saying that Sutter Lakeside Hospital acts as a sole practical resource for acute care and emergency
care within the community that it serves; correct? A: That is how we identified it, yes.”).
208
    Gowrisankaran Report, Exhibit 7.




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majority of Lakeport HSA discharges live more than 30 minutes from a non-Sutter hospital in
another HSA. 209

           104.     Because there are no other hospitals in the candidate geography, I cannot use the
choice model to study diversion patterns. Instead I look to the Blue Shield redirection analysis
that provides ordinary-course information on where Blue Shield expected people to go if Sutter
Lakeside were to be taken out of network. In this case, patients would experience a significant
increase in out-of-pocket expenses, and Blue Shield would experience a significant increase in
hospital reimbursement rates, because of Sutter’s non-par provisions requiring payment at 95 to
100 percent of billed charges for out-of-network usage. Despite the price increase, Blue Shield
anticipated that




           105.     Collectively, this evidence indicates that hospitals outside of the candidate market
are not good substitutes for hospitals inside of the candidate market, from the perspective of
commercial health plans seeking to assemble a commercial viable provider network. 211 As such,
I conclude that the candidate geography of the Lakeport HSA is a relevant antitrust market in this
matter.

           D.       The Relevant Geographic Market for Sutter Delta Is the Antioch HSA

           106.     The candidate relevant geographic market for Sutter Delta is the Antioch HSA. 212
Sutter Delta is a general acute care hospital with 145 beds. It is located in the Antioch HSA, in
Contra Costa County. 213 The hospital is known for its Women’s Health Center and Level II



209
      Gowrisankaran Report, Exhibit 8.
210
      I find that 82 percent of Sutter Lakeside PSA discharges are in the Lakeport HSA;
                                                                                                             See
Exhibit 19 and Chipty Workpapers.
211
    Merger Guidelines § 4.1.3 (“Even when the evidence necessary to perform the hypothetical monopolist test
quantitatively is not available, the conceptual framework of the test provides a useful methodological tool for
gathering and analyzing evidence pertinent to customer substitution and to market definition.”).
212
    The Antioch HSA includes the following zip codes as of 2015: 94505, 94509, 94511, 94513, 94514, 94531,
94548, 94561.
213
    OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.




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neonatal intensive care unit. 214 The hospital was known as Delta Memorial Hospital before
joining the Sutter system in the 1990s. 215 As seen in Exhibit 14A, the hospital has a case mix
index of 1.08. There are no other non-Kaiser hospitals in the candidate geography. 216 Exhibit
14B shows a map depicting Sutter Delta and the boundaries of the candidate geography.

                                             Exhibit 14A
                              Sutter Delta Hospital Profile, OSHPD 2011




                    Notes: See notes for Exhibit 7A
                    Sources: See sources for Exhibit 7A.




214
    Sutter Health, “Sutter Delta Medical Center,” available at
http://www.babies.sutterhealth.org/delivering/delivery_delta html, site visited May 23, 2018.
215
    Sutter Health, “Sutter Delta Medical Center – History Timeline by Decade,” available at
https://www.sutterhealth.org/delta/about/history/history-delta, site visited May 23, 2018.
216
    There is one Kaiser hospital, Kaiser Foundation Hospital – Antioch, in the Antioch HSA.


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those who receive their care in the area may be different from those who travel outside of the
area for their care. 217

                                              Exhibit 14C
                                    Antioch HSA Profile, OSHPD 2011




          Notes: See notes for Exhibit 7C.
          Sources: See sources for Exhibit 7C.


         108.     Ordinary-course documents indicate that health plans do have a substitute for
Sutter Delta. For example, according to United, Sutter has a “geographic monopoly” in Antioch
and it is not feasible to present a commercially viable health plan without the hospital. 218
Because there are no other non-Kaiser hospital in the candidate geography, I cannot use the
choice model to study diversion patterns. Instead I look to the Blue Shield redirection analysis
that provides ordinary-course information on where Blue Shield expected people to go if Sutter
Delta were to be taken out of network. In this case, patients would experience a significant
increase in out-of-pocket expenses, and Blue Shield would experience a significant increase in
hospital reimbursement rates, because of Sutter’s non-par provisions requiring payment at 95 to
100 percent of billed charges for out-of-network usage. Despite the price increase, Blue Shield
anticipated that




217
    In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.
218
    Harvey Email, p. 1 (indicating that Sutter has “geographic monopolies for the following submarkets – Auburn,
Amador, Tracy. Marin, Vallejo, Antioch, Berkeley, Oakland, San Mateo, Clearlake and Humboldt…Despite
widespread Broker acknowledgement of the high cost of Sutter, it is not feasible to present an HMO or FFS network
in Northern CA that does not include them.”).




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          219




           109.     Collectively, this evidence indicates that hospitals outside of the candidate market
are not good substitutes for hospitals inside of the candidate market, from the perspective of
commercial health plans seeking to assemble a commercial viable provider network. 220 As such,
I conclude that the candidate geography of the Antioch HSA is a relevant antitrust market in this
matter.

           E.       The Relevant Geographic Market for Sutter Amador Is the Jackson HSA

           110.     The candidate relevant geographic market for Sutter Amador is the Jackson
HSA. 221 Sutter Amador is a general acute care hospital, with 52 licensed beds. It is located in the
Jackson HSA, in Amador County. Originally called Amador County Hospital, the facility was
built in 1876, rebuilt in 1952, and heavily expanded in both 1972 and 1990 before affiliating with
Sutter Health in 1993, after which it was rebuilt again before opening in its current state on April
10, 2000. 222 As seen in Exhibit 15A, Sutter Amador has a case mix index of 1.01. There are no
other hospitals (Kaiser or non-Kaiser) in the candidate geography. Exhibit 15B shows a map
depicting Sutter Amador and the boundaries of the candidate geography.




219
      I find that 77 percent of Sutter Delta PSA discharges are in the Antioch HSA;
                                                                                                See Exhibit 19 and
Chipty Workpapers.
220
    Merger Guidelines § 4.1.3 (“Even when the evidence necessary to perform the hypothetical monopolist test
quantitatively is not available, the conceptual framework of the test provides a useful methodological tool for
gathering and analyzing evidence pertinent to customer substitution and to market definition.”).
221
    The Jackson HSA includes the following zip codes as of 2015: 95232, 95255, 95601, 95629, 95640, 95642,
95644, 95646, 95654, 95665, 95666, 95669, 95675, 95685, 95689, 95699. The following zip codes were removed
from Jackson HSA between 2011 and 2015: 95257 and 95656.
222
    Sutter Health, “Sutter Amador History,” available at https://www.sutterhealth.org/amador/about/history/history-
amador, site visited March 17, 2018.


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employed. About 43 percent of non-Kaiser, commercially-insured area-patients stay in the area
for inpatient hospital services, and they drive an average of 21 minutes for their care. The
approximately 57 percent of area-patients who go outside of the area for their inpatient hospital
services drive significantly longer – an average of 71 minutes – for their care. These statistics
suggest that a significant share of area-patients prefer to receive their care locally and that the
preferences of those who receive their care in the area may be different from those who travel
outside of the area for their care. 223

                                              Exhibit 15C
                                    Jackson HSA Profile, OSHPD 2011




       Notes: See notes for Exhibit 7C.
       Sources: See sources for Exhibit 7C.


         112.     Ordinary-course documents indicate that health plans do not see an alternative to
contracting with Sutter Amador. 224 According to United, Sutter has a “geographic monopoly” in
Amador, and it is not feasible to present a commercially viable health plan without the
hospital. 225
                                     226
                                           Sutter itself explains that for hospitals whose next closest

223
    In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.
224




225
    Harvey Email, p. 1 (indicating that Sutter has “geographic monopolies for the following submarkets – Auburn,
Amador, Tracy. Marin, Vallejo, Antioch, Berkeley, Oakland, San Mateo, Clearlake and Humboldt…Despite
widespread Broker acknowledgement of the high cost of Sutter, it is not feasible to present an HMO or FFS network
in Northern CA that does not include them.”).
226




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facility is at least 30 miles away, the local hospital “acts as a sole practical resource for acute
care and emergency care” within the community it serves. 227

         113.     Because there is no other hospital in the candidate geography, I cannot use the
choice model to study diversion patterns. Instead, I look to the Blue Shield redirection analysis
that provides ordinary-course information on where Blue Shield expected people to go if Sutter
Amador were to be taken out of network. In this case, patients would experience a significant
increase in out-of-pocket expenses, and Blue Shield would experience a significant increase in
hospital reimbursement rates, because of Sutter’s non-par provisions requiring payment at 95 to
100 percent of billed charges for out-of-network usage. Despite the price increase, Blue Shield
anticipated tha




         114.     Collectively, this evidence indicates that hospitals outside of the candidate market
are not good substitutes for hospitals inside of the candidate market, from the perspective of
commercial health plans seeking to assemble a commercial viable provider network. 229 As such,




227
    Blue Cross of California and Sutter Health Systemwide Amendment, February 18, 2001, DEF000097795-900, at
801 (“1.20 Rural Hospital. A Rural Hospital is a designation given by Sutter Health to any facility which acts as a
sole practical resource for acute care and emergency care within the rural community it serves, and the next closest
facility is at least 30 miles away from the Rural Hospital.”). See also, Brendt Deposition, p. 200 (“Q: So here Sutter
was saying that Sutter Amador Hospital acts as a sole practical resource for acute care and emergency care within
the community that it serves, isn’t that right? A: Yes.”).
228
    I find that 66 percent of Sutter Amador PSA discharges are in the Jackson HSA;
                                                                                                              See
Exhibit 19 and Chipty Workpapers.
229
    Merger Guidelines § 4.1.3 (“Even when the evidence necessary to perform the hypothetical monopolist test
quantitatively is not available, the conceptual framework of the test provides a useful methodological tool for
gathering and analyzing evidence pertinent to customer substitution and to market definition.”).




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I conclude that the candidate geography of the Jackson HSA is a relevant antitrust market in this
matter.

          F.        The Relevant Geographic Market for Sutter Tracy Is the Tracy HSA

          115.      The candidate relevant geographic market for Sutter Tracy is the Tracy HSA. 230
Sutter Tracy is a general acute care hospital with 82 beds. 231 It is located in the Tracy HSA, in
San Joaquin County. Sutter Tracy was established as Tracy Community Memorial Hospital in
1948 and affiliated with Sutter Health in 1993. 232 As seen in Exhibit 16A the hospital has a case
mix index of 1.01. There are no other hospitals (Kaiser or non-Kaiser) in the candidate
geography. Exhibit 16B shows a map depicting Sutter Tracy and the boundaries of the candidate
geography.

                                               Exhibit 16A
                                Sutter Tracy Hospital Profile, OSHPD 2011




               Notes: See notes for Exhibit 7A.
               Sources: See sources for Exhibit 7A.




230
    The Tracy HSA includes the following zip codes as of 2015: 95304, 95376, 95377, 95378, 95391. The following
zip code was removed from Tracy HSA between 2011 and 2015: 95296.
231
    OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
232
    Sutter Health, “Sutter Tracy History,” available at https://www.sutterhealth.org/stch/about/history/history-stch,
site visited, March 17, 2018.


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                                             Exhibit 16C
                                    Tracy HSA Profile, OSHPD 2011




        Notes: See notes for Exhibit 7C.
        Sources: See sources for Exhibit 7C.

        117.     Ordinary-course documents indicate that health plans do not have a substitute for
Sutter Tracy. For example, according to United, Sutter has a “geographic monopoly” in Tracy,
and it is not feasible to present a commercially viable health plan without the hospital. 234 Sutter’s
own planning document describes Sutter Tracy as the “only hospital in the area.” 235 Because
there are no other hospitals in the candidate geography, I cannot use the choice model to study
diversion patterns. Instead I look to the Blue Shield redirection analysis that provides ordinary-
course information on where Blue Shield expected people to go if Sutter Tracy were to be taken
out of network. In this case, patients would experience a significant increase in out-of-pocket
expenses, and Blue Shield would experience a significant increase in hospital reimbursement
rates, because of Sutter’s non-par provisions requiring payment at 95 to 100 percent of billed
charges for out-of-network usage. Despite the price increase, Blue Shield anticipated that it




234
    Harvey Email, p. 1 (indicating that Sutter has “geographic monopolies for the following submarkets – Auburn,
Amador, Tracy. Marin, Vallejo, Antioch, Berkeley, Oakland, San Mateo, Clearlake and Humboldt…Despite
widespread Broker acknowledgement of the high cost of Sutter, it is not feasible to present an HMO or FFS network
in Northern CA that does not include them.”).
235
    Matson, Ted, “STCH AG Retreat, CVR Strategy and Business Development” January 26, 2010, STCA0510319,
p. 8.
236
    I find that 43 percent of Sutter Tracy discharges are in the Tracy HSA;
                                                                                   See Exhibit 19 and Chipty
Workpapers.




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        118.      Collectively, this evidence suggests that hospitals outside of the candidate market
are not good substitutes for hospitals inside of the candidate market, from the perspective of
commercial health plans seeking to assemble a commercial viable provider network. 237 If they
were, the area around Sutter Tracy would not be described as a “geographic monopoly.”

        G.        The Relevant Geographic Market for Sutter Auburn Is the Auburn HSA

        119.      The candidate relevant geographic market for Sutter Auburn is the Auburn
HSA. 238 Sutter Auburn is a general acute care hospital, with 78 licensed beds. It is located in the
Auburn HSA, in Placer County. The hospital was founded in 1966 and became affiliated with
Sutter Health in 1989. 239 As seen in Exhibit 17A, the hospital has a case mix index of 1.29.
There are no other hospitals (Kaiser or non-Kaiser) in the candidate geography. Exhibit 17B
shows a map depicting Sutter Auburn and the boundaries of the candidate geography for the
relevant market.

                                            Exhibit 17A
                             Sutter Auburn Hospital Profile, OSHPD 2011




               Notes: See notes for Exhibit 7A.
               Sources: See sources for Exhibit 7A.




237
    Merger Guidelines § 4.1.3 (“Even when the evidence necessary to perform the hypothetical monopolist test
quantitatively is not available, the conceptual framework of the test provides a useful methodological tool for
gathering and analyzing evidence pertinent to customer substitution and to market definition.”).
238
    The Auburn HSA includes the following zip codes as of 2015: 95602, 95603, 95604, 95614, 95631, 95658,
95664, 95701, 95703, 95713, 95714, 95717, 95722, 95736. The following zip code was removed from Auburn HSA
between 2011 and 2015: 95715.
239
    Caspers, Tricia, “Sutter Auburn Faith Hospital Celebrates 50 Years,” Auburn Journal, July 14, 2016, available at
http://www. auburnjournal.com/article/7/14/16/sutter-auburn-faith-hospital-celebrates-50-years, site visited March
17, 2018.


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                                              Exhibit 17C
                                     Auburn HSA Profile, OSHPD 2011




         Notes: See notes for Exhibit 7C.
         Sources: See sources for Exhibit 7C.


           121.     Ordinary-course documents indicate that health plans do not see an alternative to
contracting with Sutter Auburn. 241 According to United, Sutter has a “geographic monopoly” in
Auburn, and it is not feasible to present a commercially viable health plan without the
hospital. 242 Blue Shield also recognizes that


          43

                                     244
                                           Consistent with this evidence, Professor Gowrisankaran found
56 percent of Auburn HSA discharges live more than 30 minutes away from a non-Sutter
hospital in another HSA. 245




241




242
   Harvey Email, p. 1 (indicating that Sutter has “geographic monopolies for the following submarkets – Auburn,
Amador, Tracy. Marin, Vallejo, Antioch, Berkeley, Oakland, San Mateo, Clearlake and Humboldt…Despite
widespread Broker acknowledgement of the high cost of Sutter, it is not feasible to present an HMO or FFS network
in Northern CA that does not include them.”).
243

                                                                          See also, Welsh Deposition, pp. 196-198
(describing Sutter Coast, Sutter Lakeside, and Sutter Auburn as “must-have from a marketability standpoint,” and
explaining that these rural hospitals are “really it for a given area.”).
244

245
      Gowrisankaran Report, Exhibit 8.




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           122.     Because there are no other hospitals in the candidate geography, I cannot use the
choice model to study diversion patterns. Instead I look to the Blue Shield redirection analysis
that provides ordinary-course information on where Blue Shield expected people to go if Sutter
Auburn were to be taken out of network. In this case, patients would experience a significant
increase in out-of-pocket expenses, and Blue Shield would experience a significant increase in
hospital reimbursement rates, because of Sutter’s non-par provisions requiring payment at 95 to
100 percent of billed charges for out-of-network usage. Despite the price increase, Blue Shield
anticipated that




           123.     Collectively, this evidence suggests that hospitals outside of the candidate market
are not good substitutes for hospitals inside of the candidate market, from the perspective of
commercial health plans seeking to assemble a commercial viable provider network. 247 If they
were, the area around Sutter Tracy would not be described as a “geographic monopoly.”

           H.       The Relevant Geographic Market for Sutter Davis Is the 90 Percent Primary
                    Service Area for Sutter Davis

           124.     The candidate relevant geographic market for Sutter Davis is the Davis HSA. 248
Sutter Davis is a general acute care hospital with 48 beds. It is located in the Davis HSA, in Yolo
County. 249 Originally opened in 1968, the hospital was purchased by Sutter Health in 1981,
making it one of the system’s longest-tenured hospitals. 250 As seen in Exhibit 18A the hospital
has a case mix index of 0.98. There are no other hospitals (Kaiser or non-Kaiser) in the candidate
geography. Exhibit 18B shows a map depicting Sutter Davis and the boundaries of the candidate
geography.


246
      I find that 35 percent of Sutter Auburn PSA discharges are in the Auburn HSA;
                                                                                               See Exhibit 19 and
Chipty Workpapers.
247
    Merger Guidelines § 4.1.3 (“Even when the evidence necessary to perform the hypothetical monopolist test
quantitatively is not available, the conceptual framework of the test provides a useful methodological tool for
gathering and analyzing evidence pertinent to customer substitution and to market definition.”).
248
    The Davis HSA includes the following zip codes as of 2015: 95616, 95617, 95618, 95620, 95694.
249
    OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
250
    Sutter Health, 2018, “Our History – Sutter Davis Hospital,” available at http://www.sutterdavis.org/about/history.
html, site visited March 17, 2018.


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         125.     Exhibit 18C provides some basic facts about local residents. There are
approximately 90,000 residents of the candidate geography, about 55 percent of whom are
employed. About 38 percent of the non-Kaiser, commercially-insured, area-patients stay in the
area for inpatient hospital services, and they drive an average of 15 minutes for their care. The
approximately 62 percent of area-patients who go outside of the area for their inpatient hospital
services drive significantly longer – an average of 39 minutes – for their care. These statistics
suggest that a significant share of area-patients prefer to receive their care locally and that the
preferences of those who receive their care in the area may be different from those who travel
outside of the area for their care. 251
                                               Exhibit 18C
                                      Davis HSA Profile, OSHPD 2011




      Notes: See notes for Exhibit 7C.
      Sources: See sources for Exhibit 7C.


         126.     Because there are no other hospitals in the candidate geography, I cannot use the
choice model to study diversion patterns. Instead I look to the Blue Shield redirection analysis
that provides ordinary-course information on where Blue Shield expected people to go if Sutter
Davis were to be taken out of network. In this case, patients would experience a significant
increase in out-of-pocket expenses, and Blue Shield would experience a significant increase in
hospital reimbursement rates, because of Sutter’s non-par provisions requiring payment at 95 to
100 percent of billed charges for out-of-network usage. Despite the price increase, Blue Shield
anticipated that



251
   In such circumstances, one risks the silent majority fallacy by concluding that the existence of residents who are
willing to travel for their care limits hospital market power with respect to residents who are not willing to travel.


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          However, only eight percent of Sutter Davis’ PSA discharges live in the Davis HSA;
accordingly, one cannot conclude, on the basis of this evidence, that the preferences of the
residents of the candidate geography resemble                                                                Instead,
my analysis shows that the relevant antitrust market for Sutter Davis is no broader than the PSA,
shown in Exhibit 18B. 252

                                                         ***

         127.     My analysis for each candidate market involves an analysis of data, documents,
and deposition testimony within the framework of the hypothetical monopolist test. In each
instance, my analysis begins with a description of the share of area-patients that preferred to stay
local for their care and the difference in drive times between area-patients that stayed inside the
candidate market and those that went outside for their hospital care. For seven of the eight
candidate markets, excluding the Davis HSA, I also relied on ordinary-course documents and
deposition testimony, including the Blue Shield redirection analysis and health plan and Sutter’s
own descriptions of the area around the Tying hospital as a “monopoly.” Based on this analysis, I
conclude that the Berkeley-Oakland, Crescent City, Antioch, Lakeport, Jackson, Tracy, and
Auburn HSAs are economically coherent relevant antitrust markets. I also conclude that Davis is
not a relevant antitrust market; instead, the evidence suggests that the relevant antitrust market
containing Sutter Davis is no bigger than Sutter Davis’ 90 percent primary service area.

         128.     As I explain below, in the discussion of market power, the conclusions with
respect to market power are not sensitive to the precise boundaries of these relevant markets.




252
   The calculation of the hypothetical monopolist’s optimal price requires information on diversion, relative prices,
and commercial contribution margins. I use the diversion estimates from the choice model described in Appendix C.
I use relative prices constructed from Anthem claims data. I use the local Sutter hospital’s contribution margin as a
proxy for the contribution margin for the local non-Sutter hospital. Sutter has provided information on commercial
and commercial fee-for-service margins reported for Sutter Davis that exceed 20 percent in every year from 2009 to
2015, except in 2013, where the commercial margin is reported to be 4.4 percent. Using a contribution margin of 20
percent, I find that the hypothetical monopolist over the broader candidate market of the hospital’s PSA could
profitably raise price by at least 6.5 percent. I find that the hypothetical monopolist over the hospitals in Davis PSA
would find it profitable to raise Sutter Davis’ price by at least five percent even if the local non-Sutter hospital
margin were as low as 15.5 percent, instead of the assumed 20 percent margin. See Chipty Workpapers.




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VII.     General Acute Care Inpatient Services Are a Relevant Product Market

         129.     Professor Gowrisankaran does not dispute Plaintiffs’ candidate product market of
general acute care inpatient services. 253 General acute care hospitals provide a wide variety of
acute care inpatient services that are not substitutes for one another. For example, a hip
replacement is not a substitute for a normal delivery. However, for practical reasons largely out
of convenience, antitrust analysts have aggregated inpatient services together for the purpose of
analyzing competitive effects when the behavior at issue is likely to affect the cluster of services
in the same way. 254 This condition will tend to be satisfied in circumstances where the cluster of
services faces similar competitive conditions.

         130.     Outpatient services are not a substitute for inpatient services. 255 Some services,
like a surgery to deliver a baby (known as a cesarean section), are only performed on an inpatient
basis. Other services can be performed either on an inpatient or outpatient basis. But even in
these circumstances, there are differences in medical need. Outpatient services tend to be less
complicated, or rather performed on patients with fewer medical complications, and as such
outpatient services tend to be less expensive. Thus, because health insurance coverage is
typically purchased before medical needs arise, consumers demand access to inpatient services
even though outpatient services might be possible for some conditions, under some
circumstances. I understand that, for purposes of the motion for summary judgment that Sutter
made, it has assumed the existence of the product market alleged in the Fourth Amended
Complaint – the market for inpatient hospital services sold to commercial health plans.

         131.     For these reasons, a hypothetical monopolist over all inpatient services in a
relevant geographic market would be able to raise prices for those services, despite the fact that


253
    Gowrisankaran Deposition, p. 116 (“I have not contested that definition in any way, and so I’ve accepted the
plaintiffs’ statement that that is the product market.”).
254
    Tenn (2017), p. 3 (“Individual inpatient [hospital] services generally are not substitutes for each other. For
example, a cardiac procedure is not a substitute for an orthopedic procedure. Because of this lack of
interchangeability, in principle one might separately delineate each individual inpatient [hospital] service as a
distinct product market. Instead, solely for analytical convenience, a ‘cluster market’ of inpatient [hospital] services
is typically employed in hospital mergers.”).
255
    See for example, “Brief and Required Short Appendix of Appellants Federal Trade Commission and State of
Illinois (Public Version),” Federal Trade Commission and State of Illinois v. Advocate Health Care Network, et al.,
Case No. 16-2492, filed July 15, 2016, pp. 38-39; “Opinion,” ProMedica Health System, Inc. v. Federal Trade
Commission, Case No. 12-3583, filed April 22, 2014, § II.A; and “Opinion,” United States v. Rockford Memorial
Corp., Case No. 89-1900, filed April 3, 1990, ¶ 16.


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some inpatient services could be provided on an outpatient basis. Furthermore, a provider
network without inpatient hospital services would not be commercially viable because patients
would not be willing to replace all inpatient care with outpatient care due to a small but
significant and non-transitory increase in the price of inpatient services. Consistent with this fact,
I am not aware of any health insurance products in California – whether commercial or
government sponsored, whether fully-insured or self-insured – that do not offer inpatient
coverage.


VIII. Market Power

       132.    Market power refers to the ability of a firm or group of firms to raise prices above
competitive levels. Only firms with market power can engage in unilateral anticompetitive
conduct; absent market power, the conduct would be undone by competitive forces and as such
could not have an anticompetitive effect. Thus, market power is a necessary condition to
concluding anticompetitive effects. In this case, the question is whether Sutter has market power
in one or more of the Tying Markets, relative to one or more of the Tied Markets.

       A.      Approaches to Assess Market Power

       133.    There can be many different types of indicia of market power. In many instances,
high market shares can be indicative of market power. It may be the case that a hospital (or a
hospital system) with high market shares is viewed by health plans as a “must-have” provider,
meaning that health plans need to include the provider in their network to attract employers and
consumers. Such a “must-have” status increases the provider’s bargaining leverage in
negotiations with health plans which would ultimately lead to increased negotiated
reimbursement rates. It is not always clear, however, how high a market share needs to be to
conclude market power. Thus, when possible, one should also look for direct evidence of market
power, from documents and payer testimony. Evidence that would indicate a hospital has market
power includes evidence that: (a) area-residents are insistent on the hospital; and (b) a health
plan could not sell an insurance product to area-residents without the hospital being in the
provider network.

       134.    In its broadest sense, market power is the ability to extract surplus from
consumers, either by raising price or reducing quality or choice. In competitive markets, attempts


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by firms endeavoring to engage in such behavior would be undone by competitive pressure from
rival firms or potential entrants. Thus, as a predicate matter, it is useful to assess whether Sutter
in this case has the market power that would be necessary to engage in anticompetitive conduct.

        B.       There Is High Insistence for Sutter Hospitals in the Tying Markets

        135.     The ordinary-course documents show that Sutter has bargaining leverage in
negotiations with health plans and that this leverage stems from Sutter’s market power in specific
geographic markets, where health plans need the local Sutter hospital in their provider networks
to compete in the downstream market. For example, according to Blue Shield, “Sutter Health has
become the largest healthcare system in Northern California with 27 hospitals serving 100
communities. Sutter uses an aggressive bargaining strategy that leverages its overwhelming
market power in particular geographic regions to win high-pricing contracts for all its medical
groups and facilities.” 256 According to United, Sutter has “geographic monopolies for services in
the following submarkets - Auburn, Amador, Tracy, Marin, Vallejo, Antioch, Berkeley,
Oakland, San Mateo, Clearlake and Humboldt. …Despite widespread Broker acknowledgement
of the high cost of Sutter, it is not feasible to present an HMO or FFS network in Northern CA
that does not include them. In addition, many of our national accounts require Sutter network
participation to retain and grow business.” 257

        136.     Consistent with this evidence, Blue Shield’s redirection analysis shows that
patients who rely on the Sutter hospitals in the Tying Markets are insistent on the hospital being
in their provider network. 258 According to Blue Shield, the percent of patients who would likely
stay at their chosen Sutter hospital even if that hospital were to go out of network ranges from
                           Blue Shield’s redirection analysis shows that the combination of patient
preferences and Sutter’s 95 percent of billed charges non-participating rate render it
             for Blue Shield to drop any of the hospitals in the Tying Markets. 259 Exhibit 19 shows
Blue Shield’s hospital insistence parameter for each of the Sutter hospitals in the Tying Markets.



256
    Blue Shield of California, “Communications Plan: Sutter Health Contract Negotiations November 28, 2005,”
Email attachment, November 30, 2005, BSC UFCW 00007608-611, p.9 [Emphasis added].
257
    Harvey Email, p.1 [Emphasis added].
258
    BSC_SutterSub00037814 - 2014-4 Analysis IP Redirect.xls; Barnes Deposition pp. 423-462.
259
    BSC_SutterSub00037814 – 2014-4 Analysis Redirect.xls; and Chipty Workpapers.


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             D.     Sutter Has Relatively High Share of Discharges in the Tying Markets,
                    Compared to the Tied Markets

             140.   The evidence shows that Sutter has a relatively high share of discharges in the
Tying Markets. These shares are on average higher than the shares in the Tied Markets, where
health plans have more options to steer patients to other hospitals. Further, Sutter’s share in each
of the Tied Markets is likely inflated by Sutter’s conduct. Exhibit 21 shows Sutter hospital and
system shares. As seen there:

        •    The Sutter system has a relatively high share of discharges in each of the Tying markets.
             These range from 45 percent to 84 percent, with an average of 67 percent. 265 By
             comparison, Sutter’s system share in the Tied Markets ranges from 31 percent to 62
             percent, with an average of 43 percent.

       •     With the exception of the Davis HSA, the Sutter hospital in each of the Tying Markets
             has a relatively high share of the discharges from its respective candidate market. This
             share ranges from 37 percent to 76 percent, with an average of 53 percent. By
             comparison, Sutter’s hospital share in the Tied Markets ranges from 26 percent to 61
             percent, with an average of 39 percent. Sutter’s hospital share in Sutter Davis’ PSA is
             only six percent.

Like the other testimony and documentary evidence, these results provide support for the
conclusion that Sutter has market power in the Tying Markets, and that it has relatively less
market power in the Tied Markets.




265
      The two CPMPC facilities and the two Alta Bates facilities are reported on a combined basis. See Exhibit 21.


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                                              Exhibit 21
                          Sutter Share of Discharges by HSA, OSHPD 2011




Notes: See notes for Exhibit 7A.
Sources:
1. OSHPD Patient Discharge Data, 2011.
2. OSHPD Hospital Annual Financial Disclosure Data Pivot Profiles, 2011.
3. OSHPD Hospital Annual Financial Disclosure Data Complete Data Set, 2011.
4. Centers for Medicare and Medicaid Services (CMS) Historical Impact Files, 2010-2012.
5. Dartmouth Atlas of Healthcare HSA Listings, 2015.


        E.       Kaiser Competition in the Downstream Market Does Not Constrain Sutter’s
                 Market Power in the Upstream Market

        141.     Evidence from Sutter itself shows that Kaiser does not constrain Sutter’s ability to
raise prices to non-Kaiser health plans. This fact is seen clearly in an ordinary-course document
prepared by Sutter’s Chief Financial Officer, Mr. Reed, shown in Exhibit 22. In this document,
Mr. Reed explores the possibility of lowering Sutter’s prices to health plans, in order to compete
more effectively against Kaiser. However, Mr. Reed concludes that it does not make financial
sense to do so. Specifically, Mr. Reed testifies that “if Sutter reduced its prices by 20 percent, it
would only have a 4 or 5 percent impact on the total premium.” 266 Yet, Kaiser’s premiums are 15
to 20 percent lower than premiums of broad network insurance products that include Sutter and


266
   Deposition of Robert Reed, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf of Themselves and All
15 Other Similarly Situated, v. Sutter Health, Case No. 3:12-cv-4854-LB, October 17,2017, pp. 115-116.




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conclusions are not sensitive to reasonable changes in the boundaries of the relevant geographic
market.


IX.     Assessment of Professor Gowrisankaran’s Analyses and Conclusions

        143.     Professor Gowrisankaran uses analyses of patient flows and distances to dismiss
the Plaintiffs’ candidate geographic markets for the sale of inpatient hospital services to
commercial health plans. For the reasons I have already mentioned, his analyses fail to satisfy
the criteria for market definition. His calculations of patient flows are consistent with my own,
but his interpretation of them are flawed. By focusing on patient inflows and outflows in a
vacuum, he falls into the trap of the fallacy of the silent majority. His analysis of drive times and
the proximity of out-of-area hospitals supports, not contradicts, Plaintiffs’ candidate markets.
Furthermore, his conclusion that Sutter faces substantially more competition for certain hospitals
is inconsistent with many ordinary-course documents that show that Sutter has the ability to
force onerous contracting provisions, including higher prices, on health plans in those
geographies.

        A.       It is Irrelevant that HSAs Were Not Constructed to be Antitrust Markets

        144.     Professor Gowrisankaran is distracted by Plaintiffs’ use of HSAs to build
candidate geographic markets. He spends more than half of his report explaining that HSAs as a
general matter were not constructed as antitrust markets. 268 While Professor Gowrisankaran is
correct in stating that not all HSAs are necessarily antitrust markets, that does not negate reliance
on them in specific instances. Professor Gowrisankaran also criticizes HSAs for being
constructed based on older data on hospital use patterns of the Medicare population. 269 He claims
that the Auburn and Davis HSAs would not satisfy the Dartmouth Atlas’s own definition of
HSAs if constructed with current commercial discharge data. 270 These facts, even if true, fail to
speak to the question of whether in these specific instances, the HSAs put forth by Plaintiffs as
relevant antitrust markets satisfy the hypothetical monopolist test. Professor Gowrisankaran



268
    Gowrisankaran Report, pp. 14-37.
269
    Gowrisankaran Report, pp. 24-33.
270
    Gowrisankaran Report, p. 31.




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appears to concede that it is possible that HSAs could be relevant antitrust markets in some
applications, but one would need to assess the reasonableness of such use on a case-by-case
basis. 271 Yet, Professor Gowrisankaran has not done that work.

         145.     Professor Gowrisankaran also forgets that no off-the-shelf geographic boundaries,
be they ZIP codes, counties, metropolitan statistical areas, or states, are built for specific antitrust
purposes. Yet, antitrust economists and practitioners use such off-the-shelf boundaries for
convenience in building candidate geographic markets. Plaintiffs do not assert that all HSAs are
(or need to be) relevant antitrust markets, as evidenced by the fact that one of their asserted
relevant markets is the combination of two HSAs.

         B.       Professor Gowrisankaran Fails to Recognize the Silent Majority

         146.     Professor Gowrisankaran argues that many discharges for residents of the alleged
Tying and Tied HSAs take place in hospitals outside their HSA of residence. 272 Professor
Gowrisankaran, however, has offered no basis to conclude that the actual travel habits of some
consumers would be predictive of the travel habits of others, in response to a price increase by a
hypothetical monopolist. 273 To do so would be to fall into the trap of what is described by
economists and recognized by courts to be the “silent majority” fallacy. For example, in the
Advocate-NorthShore, a case cited by Professor Gowrisankaran, 274 the appellate court concluded
that the district court erred by overlooking the market power created by the remaining patients’
preferences. In that case, the evidence was that only 48 percent of patients would stay in the
candidate market if their first-choice hospital (inside the candidate market) was not available to
them. 275 Thus, even in that case – where a bigger share of patients would have left the candidate
geographic market than stayed in it for hospital services – the FTC’s expert and the court found



271
    Professor Gowrisankaran admits in his deposition that it is possible that HSAs can be relevant antitrust markets.
Gowrisankaran Deposition, p. 90-91 (Q: Is it your opinion that there's no HSA in the United States that constitutes
the boundaries of a relevant antitrust market? A: That is not an opinion that I offered in this -- in this report.”).
272
    Gowrisankaran Report, pp. 37-38 and Figure 5.
273
    Capps et al., p. 1 (“[I]f travelers and non-travelers display fundamentally different demand behavior, either
because they differ in their taste for travel or their need for local/non-local services, then there is no necessary
relationship between the market experiences of these two groups post-merger.”).
274
    Gowrisankaran Report, pp. 35-36 and Exhibit 6.
275
    Advocate-NorthShore Appellate Decision, pp. 6-7.




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that the candidate market was a relevant market. 276 As explained by the court, it is a mistake to
“focus on the patients who leave a proposed market instead of on hospitals’ market power over
the patients who remain, which means that the hospitals have market power over the insurers
who need them to offer commercially viable products to customers who are reluctant to travel
farther for general acute hospital care.” 277

        147.     Professor Gowrisankaran also argues that many of the patients who chose
hospitals in the candidate Tying Markets live relatively close to at least one hospital outside their
HSA of residence. For example, he explains that there is a hospital outside of the Auburn HSA
that is within 30 minutes of Sutter Auburn, and that focusing on the Auburn HSA would miss the
competitive significance of this outside hospital. 278 If patients receiving care from out-of-area
hospitals do so because of the proximity to these hospitals, they should have similar average
drive time as patients who receive care from in-area hospitals. However, the evidence shows that
the average drive times for area-patients who receive their care from Sutter Auburn is 18 minutes
and the average drive time for area-patients who receive their care outside of the Auburn HSA is
43 minutes. These results show that, contrary to Professor Gowrisankaran’s assertions, area-
patients who drive outside of the candidate geographic markets are typically not going to
otherwise close or closer hospitals just outside of the candidate geography. Furthermore,
Professor Gowrisankaran’s assertion that there is a hospital outside of the Auburn HSA that
places competitive pressure on Sutter Auburn is contrary to substantial documentary evidence to
the contrary. 279

        148.     Systematically, the evidence shows that patients who stay in the candidate
geographic market for their inpatient care spend substantially less time driving than patients who
travel outside the area for their care. The large difference in drive times makes it less likely that


276
    Id.
277
    Advocate-NorthShore Appellate Decision, pp. 25-26.
278
    Gowrisankaran Report, p. 39.
279

                                   and Harvey Email, p.1 (explaining that “Sutter has “geographic monopolies for
services in the following submarkets - Auburn, Amador, Tracy, Marin, Vallejo, Antioch, Berkeley, Oakland, San
Mateo, Clearlake and Humboldt….. Despite widespread Broker acknowledgement of the high cost of Sutter, it is not
feasible to present an HMO or FFS network in Northern CA that does not include them. In addition, many of our
national accounts require Sutter network participation to retain and grow business.”).




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patients who receive their care from an area-hospital would be willing to switch to a hospital
outside of the area. In other work, Professor Gowrisankaran himself has recognized that the large
literature on hospital choice finds that patients are “very sensitive to travel time” and that “an
increase in travel time of 5 minutes” can have a material impact on patient choice and consumer
welfare. 280

        149.     Based on the patient flows, Professor Gowrisankaran concludes that health plans
have “attractive” options in forming provider networks, particularly for the four HSAs of
Auburn, Davis, Lakeport, and Antioch. 281 This conclusion is at odds with substantial ordinary-
course evidence to the contrary. As I have explained, United describes Sutter as having a
“geographic monopoly” in Auburn and Antioch, among other areas, explaining that “it is not
feasible to present an HMO or FFS network in Northern CA that does not include them. In
addition, many of our national accounts require Sutter network participation to retain and grow
business.” 282 Blue Shield describes patient insistence for Sutter Auburn as 95 percent, for Sutter
Lakeside as 86 percent, and for Sutter Delta as 91 percent. 283 Furthermore, Sutter’s own
documents show a recognition that Sutter faces little to no competition in some regions,
including regions with Sutter Auburn, Sutter Lakeside, Sutter Davis, and Sutter Delta. 284

        150.     Thus, one cannot merely rely, as Professor Gowrisankaran has, on patient inflows
and outflows and distances between hospitals to suggest that hospitals outside of the candidate
market are substitutes for patients who live inside the candidate geographies. While patient flows
may require one to broaden the boundaries of a candidate market, one cannot know that without
insights from diversion analysis and the framework of the hypothetical monopolist test.




280
    Gowrisankaran, Nevo, and Town (2015), p. 191 (“Consistent with the large literature on hospital choice, we find
that patients are very sensitive to travel times. The willingness to travel is increasing in the DRG weight and
decreasing in age. An increase in travel time of 5 minutes reduces each hospital's share between 17 and 41%. The
parameter estimates imply that increasing the travel time to all hospitals by one minute reduces consumer surplus by
approximately $167.”).
281
    Gowrisankaran Report, pp. 41-42.
282
    Harvey Email, p. 53 [Emphasis added].
283
    See Exhibit 19.
284
    McKinsey & Company, “Building an integrated strategy for excellence in a post-reform environment,” Prepared
for Sutter Health, December 2, 2010, STCA0602090-142 at 138-142.




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         C.       Professor Gowrisankaran Did Not Perform the Hypothetical Monopolist Test

         151.     Professor Gowrisankaran admits that the hypothetical monopolist test described
by the Merger Guidelines is an appropriate tool that has been accepted by various courts, to
determine whether a candidate market is a relevant antitrust market. 285 However, Professor
Gowrisankaran does not actually apply the method of the Merger Guidelines, nor does he follow
the guidance of the courts. He gets distracted by outflows and falls into the fallacy of the silent
majority. He does not apply a framework, like the hypothetical monopolist test, to determine
whether the patient flows are competitively significant. He ignores the document and deposition
testimony from health plans. 286

         152.     To the contrary, the evidence in this case shows that patient outflows do not
defeat Sutter’s market power over health plans. Had Professor Gowrisankaran conducted a
hypothetical monopolist test or considered the significant ordinary-course document and
testimony evidence from health plans, he would have found strong support for most of the
candidate markets as relevant antitrust markets. 287

         D.       Professor Gowrisankaran Ignores His Own Evidence Showing that Some
                  Sutter Hospitals Face Little to No Competition

         153.     Professor Gowrisankaran’s own evidence shows that Sutter is likely to command
market power over health plans in several of the Tying Markets. Specifically, Professor
Gowrisankaran describes in his Exhibit 8 the share of discharges from the Tying Markets that are
for patients living within 30 minutes of non-Sutter hospitals in other HSAs. For reference, his
Exhibit 8 is shown below, as Exhibit 23.




285
    Gowrisankaran Deposition, pp. 106-107.
286
    Gowrisankaran Deposition, pp. 82-83 (admitting that the only document he reviewed for this case was the
Complaint).
287
    De La Torre Declaration, ¶ 8 (“As a result, it is not possible to develop, and successfully market a commercially
viable insurance product and/or benefit plan in Northern California without any Sutter providers.”); and Katz
Declaration, ¶ 4




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analyses of patient discharge data, ordinary-course documents from both health plans and Sutter,
and testimony from health plan executives.

       155.    I find Professor Gowrisankaran’s arguments against the Plaintiffs Tied and Tying
Markets to be unconvincing. He rejects the candidate geographic markets as valid antitrust
markets largely because of patient flow; by so doing, he inappropriately ignores the preferences
of the majority of residents who are insistent on their local Sutter hospital. Professor
Gowrisankaran has ignored health plan testimony and evidence from the ordinary course, and he
has failed to apply the framework of the hypothetical monopolist test.

       156.    The evidence in this case shows that patient outflows do not defeat Sutter’s
market power over health plans. Had Professor Gowrisankaran conducted a hypothetical
monopolist test or considered the significant ordinary-course document and testimony evidence
from health plans, he would have found strong support for most of the candidate markets as
relevant antitrust markets. Furthermore, Professor Gowrisankaran’s view that the Plaintiffs
candidate markets ignore important competitive constraints on the local Sutter hospitals in the
Tying Markets ignores the significant documentary evidence to the contrary.




                                         ________________________________

                                         Tasneem Chipty, Ph.D.
                                         Dated: May 26, 2018
                                         Boston, Massachusetts




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                                           Appendix A: CV


                                                                               TASNEEM CHIPTY
                                                                                Managing Principal

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Cell: (617) 697-6826                                                                        Suite 1632
tchipty@matrixeconomics.com                                                         Boston, MA 02110



Dr. Chipty is an expert in industrial organization, antitrust economics, and econometrics. Her
practice spans both the areas of antitrust litigation and mergers and acquisitions, in a broad array of
sectors including: agricultural equipment; airlines; broadcast and satellite radio; cable and satellite
television; containerized shipping; healthcare; newspapers; pharmaceuticals; pulp and paper; and
tobacco. Her work has been influential both internationally and domestically. She has assisted the
U.S. Department of Justice on several investigations and merger reviews. She has assisted the
Government of Australia at the World Trade Organization in a dispute surrounding Australia’s
national tobacco control policy. She was Comcast’s antitrust damages expert in Behrend et al. vs.
Comcast – a U.S. Supreme Court case in which the Court dismissed the case against Comcast
because of deficiencies in the plaintiffs’ damages model. On behalf of the parties, she studied the
competitive effects of the CenturyLink-Level 3 merger and the Charter-Time Warner Cable merger,
both of which received approvals from the U.S. Department of Justice and the Federal
Communications Commission. She serves as an antitrust advisor to the Massachusetts Health Policy
Commission, for whom she has evaluated the competitive effects of healthcare transaction in the
Commonwealth, including Partners Healthcare’s attempted acquisition of South Shore Hospital and
Hallmark Health. Dr. Chipty has submitted testimony, been deposed, and testified at trial in several
litigation matters. She has appeared before the Federal Trade Commission, the Department of
Justice, the World Trade Organization, the Canadian Mergers Bureau, the U.S. Copyright Board,
and the Canadian Copyright Board. She is co-editor of the current edition of the American Bar
Association’s book Proving Antitrust Damages. She has published research on the strategic use of
vertical integration, the role of firm size and network effects on bilateral business negotiations, and
the effects of regulations on firm behavior.
Prior to founding Matrix Economics, Dr. Chipty was a Managing Principal at Analysis Group, and
before that a Vice President at Charles River Associates. She has served on the faculties of the Ohio
State University, Brandeis University, and MIT, where she taught courses in antitrust and regulation,
industrial organization, and econometrics. Dr. Chipty received her Ph.D. in economics from the
Massachusetts Institute of Technology and her undergraduate degree in economics and mathematics
from Wellesley College.

EDUCATION
Ph.D.          Economics, Massachusetts Institute of Technology


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B.A.           Mathematics and Economics, with honors, Wellesley College


PROFESSIONAL EXPERIENCE
2016 –         Matrix Economics, LLC
               Founder and Managing Principal
2010 – 2016    Analysis Group, Inc.
               Managing Principal (2010-2016)
1999 – 2010    Charles River Associates, Inc.
               Vice President (2005-2010)
2005           Massachusetts Institute of Technology
               Visiting Associate Professor of Economics
1997 – 1999    Brandeis University, Graduate School of International Economics and Finance
               Visiting Assistant Professor of Economics
1995           Osaka University
               Visiting Foreign Scholar
1993 – 1999    Ohio State University
               Assistant Professor of Economics

TESTIMONY EXPERIENCE
   United States of America v. Deere & Company, Precision Planting LLC, and Monsanto
    Company, Civil Action No. 1:16-cv-08515 in the United States District Court for the Northern
    District of Illinois Eastern Division. On behalf of the United States, submitted testimony on
    December 23, 2016 and January 10, 2017; and testified at deposition on March 2, 2017. (Norm
    Familant and Bill Jones).
   United States of America, et al. v. Hillsdale Community Health Center, et. al., Case No. 5:15-cv-
    12311-JEL-DRG in the United States District Court for the Eastern District of Michigan. On
    behalf of the United States, submitted testimony on October 27, 2016 and December 5, 2016;
    and testified at deposition on December 12, 2016. U.S. Department of Justice, 2017 (Beth
    Armington and Katrina Rouse).
   In the Matter of: Statement of Proposed Royalties to be Collected for the Retransmission of
    Distant Television Signals, In Canada, for the Years 2014 to 2018, before the Canadian
    Copyright Board. Submitted testimony on October 2, 2015 and testified at trial on January 25-
    26, 2016, on behalf of Bell Canada, Cogeco Cable Inc., Rogers Communications Inc, Shaw
    Communications Inc., Videotron G.P., and Telus Communications Company. Fasken Martineau
    DuMoulin, LLP (Jay Kerr-Wilson).
   Challenges to Australia’s Tobacco Plain Packaging Act, on behalf of Australia, in the World
    Trade Organization. Submitted testimony on March 9, 2015, May 31, 2015, September 14, 2015,
    October 26, 2015, December 8, 2015, and February 1, 2016. Australian Government Solicitor
    (Simon Sherwood and Damien O’Donovan)
   Caroline Behrend et al. v. Comcast Corporation et al., Civil Action No. 03-6604 in the United

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    States District Court for the Eastern District of Pennsylvania. On behalf of Comcast Corporation,
    submitted testimony on April 10, 2009, on May 6, 2009, on May 11, 2009, on August 21, 2009,
    September 18, 2009, May 22, 2012, and January 15, 2014; testified at deposition on May 22,
    2009; and testified at a class recertification hearing on October 26, 2009. Kasowitz Benson
    Torres & Freidman (Michael Shuster and Sheron Korpus) and Davis Polk (David Toscano and
    Arthur Burke).
   American Broadcasting Company Inc., et. al. v. Aereo, 12 Civ. 1543, in United States District
    Court in the Southern District of New York. Submitted testimony on December 20, 2013 on
    behalf of Aereo. Fish and Richardson (David Hosp).
   DISH Network LLC. f/k/a Echostar Satellite LLC v. ESPN, Inc., and ESPN Classic, Inc., No. 09
    CIV 6875 (JGK) (FM), in United States District Court in the Southern District of New York.
    Submitted testimony on July 29, 2011; testified at deposition on November 22, 2011; testified at
    deposition in January 2013; testified at trial February 2013 on behalf of DISH Network.
    Flemming Zulack Williamson Zauderer LLP (Dean Nyciper) and Simpson Thatcher (Barry
    Ostrager and Mary Kay Vyskocil).
   Echostar Satellite LLC v. ESPN, Inc., ESPN Classic, Inc., ABC Cable Networks Group, Inc.,
    Soapnet L.L.C., and International Family Entertainment Inc., Index 08-600282 in the Supreme
    Court of the State of New York County of New York. Testified at deposition on June 23, 2011,
    on behalf of Echostar Satellite LLC. Flemming Zulack Williamson Zauderer LLP (Dean
    Nyciper).
   Casitas Municipal Water District v. United States, Case No. 05-168L in the United States Court
    of Federal Claims. Submitted testimony on February 25, 2010 and February 8, 2007, testified at
    deposition on March 10, 2010, testified at trial on October 28, 2010 on behalf of the United
    States. U.S. Justice Department (James Gette and Barrett Atwood).
   Royalties To Be Collected By CSI and SOCAN For the Reproduction and the Communication to
    the Public by Online Music Services, In Canada, of Musical or Dramaticaomusical Works, for
    the years 2007 to 2010, before the Canadian Copyright Board. Submitted testimony on April 29,
    2010 and on June 9, 2010, and testified at trial on June 28-9, 2010, on behalf of Apple Inc., Bell
    Canada Enterprises Inc., Rogers Communications Inc., Telus Communications Company, and
    Videotron Ltd. Goodmans LLP for Apple Inc. (Michael Koch); and Fasken Martineau
    DuMoulin, LLP for the rest (Jay Kerr-Wilson).
   United States of America v. Daily Gazette Company and MediaNews Group, Inc., Civil Action
    No. 2:07-0329 in the United States District Court Southern District of West Virginia. Submitted
    testimony on September 1, 2009, on behalf of the United States. U.S. Justice Department (John
    Reed, Mark Merva and Norm Familant).
   In re. ASARCO LLC, et al., Case No. 05-21207 in the United States Bankruptcy Court for the
    Southern District of Texas, Corpus Christi Division. Submitted testimony on August 1, 2008 and
    testified at deposition on August 7, 2008, on behalf of Ready Mix USA, LLC. Baker, Donelson,
    Bearman, Caldwell & Berkowitz P.C. (Gary Shockley).
   SOCAN Tariff No. 16 – Royalties To Be Collected By SOCAN For the Public Performance or the
    Communication to the Public by Telecommunication, In Canada, of Musical or
    Dramaticaomusical Works, for the years 2007 to 2009, before the Canadian Copyright Board.
    Submitted testimony on November 30, 2007 and testified at trial in January 2008, on behalf of a


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    consortium of Canadian background music users, including Bell ExpressVu, Chum Satellite
    Services, and DMX Canada. Fasken Martineau DuMoulin, LLP (Jay Kerr-Wilson and Aidan
    O’Neill).
   In the Matter of Digital Performance Right in Sound Recordings and Ephemeral Recordings for
    a New Subscription Service, CRB Proceeding 2005-5, before the U.S. Copyright Board.
    Submitted testimony on October 30, 2006 and July 24, 2007; testified at deposition on May 8,
    2007; and testified at trial in June 2007, on behalf of Sirius Satellite Radio and XM Satellite
    Radio. Wiley Rein, LLP for Sirius (Bruce Joseph) and Weil, Gotshal & Manges for XM (Ralph
    Miller).

MERGERS AND ACQUISITIONS AND OTHER GOVERNMENT INVESTIGATIONS
Dr. Chipty has extensive experience evaluating the competitive effects of proposed transactions and
has advised clients at various stages of their deals, including strategic advice in identifying targets,
assistance with agency review, and analyses for post-merger contestations. She has employed
economic and econometric tools to evaluate issues of market definition, critical loss analysis, direct
evidence of unilateral effects, and efficiencies. She has studied the likelihood of temporary or
permanent foreclosure, as part of a raising rivals cost strategy. In addition, she has assessed
regulatory structures and their associated effect on competition. Examples of Dr. Chipty’s work in
this area include:
   Assisting Nippon Yusen Kabushiki Kaisha Ltd., Mitsui O.S.K. Lines, Ltd., Kawasaki Kisen
    Kaisha Ltd. evaluate the competitive effects of a container shipping joint venture, before the
    Department of Justice, 2017. Wilmer Cutler Pickering Hale and Dorr (Hartmut Schneider).
   Assisting parties in the CenturyLink-Level 3 merger, before the Department of Justice and the
    Federal Communications Commission, 2017. Wachtell, Lipton, Rosen & Katz and Jones Day
    (Ilene Gotts and Bruce McDonald) and Covington & Burling (Yaron Dori)
   Assisted parties in the Charter-Time Warner Cable merger, before the Department of Justice and
    the Federal Communications Commission, 2015-2016. Wachtell, Lipton, Rosen & Katz and
    Jenner Block (Ilene Gotts and John Flynn).
   Submitted white paper evaluating the impact of tobacco plain packaging on smoking prevalence
    in Australia, to the Australian Parliament on behalf of the Government of Australia, in
    Australia’s post implementation review of tobacco plain packaging legislation, 2016. Australian
    Government Solicitor (Simon Sherwood and Simon Daley).
   Expert for the U.S. Department of Justice in its review of the One Main-Spring Leaf merger,
    2015. U.S. Department of Justice (Stephanie Fleming and Nicholas Hill).
   Coauthored a white paper, on behalf of Aeromexico, evaluating the competitive effects of airport
    slot allocation governing air traffic to and from Mexico City Airport, submitted to Mexico’s
    competition authority, 2015, (joint with Professor Robert Pindyck).
   Expert for Olin Corporation in its acquisition of Dow Chemical’s cholor-alkali business unit,
    before the Federal Trade Commission, 2014-2015. Baker Botts (William Henry and Thomas
    Dillickrath).



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   Expert for the Mergers Bureau of Canada in its review of Post Media’s acquisition of Sun
    Media. Canadian Mergers Bureau (Steve Sansom and Nicholas Janota).
   Assisted the U.S. Department of Justice in its challenge of American Express’s use of merchant
    restraints, 2014-2015. U.S. Department of Justice (Craig Conrath and John Read).
   Advised the Massachusetts Health Policy Commission on the likely competitive impact of
    Partners HealthCare System’s proposed acquisition of Hallmark Health System, including
    submitting a written statement in the HPC’s Cost and Market Impact Review of the transaction,
    2014. Health Policy Commission (Karen Tseng and Kate Scarborough).
   Advised the Massachusetts Health Policy Commission on the likely competitive impact of
    Partners HealthCare System’s proposed acquisition of South Shore Hospital, including
    submitting a written statement in the HPC’s Cost and Market Impact Review of the transaction,
    2013-2014. Health Policy Commission (Karen Tseng and Kate Scarborough).
   Assisted Saint Alphonsus Medical Center to evaluate the competitive effects of St. Luke’s
    Health System’s acquisition of Saltzer Medical Group, in Nampa, Idaho, 2012-2013. Honigman,
    Miller, Schwartz and Cohn (David Ettinger).
   Assisted Arris Group in its acquisition of Motorola Home business unit from Google, before the
    Department of Justice, 2013. Hogan Lovells (Logan Breed) and Troutman Sanders (Daniel
    Anziska).
   Coauthored a white paper, on behalf of Televisa, evaluating the competitive impact in the mobile
    telephone marketplace of Televisa’s proposed acquisition of 50% of GSF Telecom Holdings,
    S.A.P.I. de C.V., which owns 100% of Grupo Iusacell, S.A. de C.V. (joint with Almudena
    Arcelus and David Sosa). Submitted to Mexico’s competition authority, Federal Commission of
    Economic Competition, 2012.
   Conducted analyses and presented before staff of the FTC, in an investigation of two joint
    venture partners involving allegations of potentially anticompetitive conduct, 2011-2012. Baker
    Botts (Thomas Dillickrath and William Henry).
   Authored a white paper analyzing the likely effects of Steward Healthcare’s acquisition of
    Morton Hospital, in the greater Boston area, submitted to the State Attorney General’s office,
    June 14, 2011. Edwards Angell Palmer & Dodge (Patricia Sullivan).
   Evaluated the likely effects of the Southwest Airlines-Airtran merger, on behalf of the United
    States, Winter 2011. U.S. Justice Department (Michael Billiel and Oliver Richard).
   Coauthored a white paper, on behalf of Time Warner Cable, analyzing brinkmanship tactics and
    broadcast retransmission consent rules established by the 1992 Cable Act, submitted to the
    Federal Communications Commission (joint with Prof. Steven Salop, Dr. Martino DeStefano,
    Dr. Serge Moresi, and Dr. John Woodbury), June 3, 2010.
   Authored Federal Communication Commission Media Study #5, on behalf of the Commission,
    as part of it periodic review of the media ownership rules, analyzing the effects of ownership
    structure in broadcast radio, on program variety and advertiser and listener welfare, released
    June 2007.
   Coauthored a white paper analyzing bidding behavior and the potential competitive effects of the
    merger of Alcatel and Lucent, submitted to the Department of Justice (joint with Drs. Andrew


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    Dick and Stanley Besen), April 28, 2006. Skadden, Arps, Slate Meagher & Flom LLP (James
    Keyte and Neal Stoll).
   Conducted and presented analysis before the Federal Trade Commission on behalf of Barr
    Pharmaceuticals regarding its acquisition of a hormone contraceptive product (joint with Prof.
    Steven Salop), Fall 2005. Kirkland & Ellis LLP (Mark Kovner).
   Conducted an analysis of efficiencies on behalf of Time Warner and Comcast, in their joint bid
    for Adelphia Communications (joint with Dr. Stanley Besen). Paul Weiss Rifkind Wharton &
    Garrison, LLP (Joseph Simons).
   Assisted NorthShore University HealthSystem (formerly Evanston Northwestern Health
    Corporation) with the Federal Trade Commission’s post-merger investigation of the 2000 merger
    of Evanston Hospital and Highland Park Hospital. Winston & Strawn LLP (Michael Sibarium).

OTHER CONSULTING EXPERIENCE, BY TOPICAL AREA
Dr. Chipty has also provided consultation to litigation clients on matters some of which eventually
settled, and she has provided business guidance to clients for strategic planning. Examples of Dr.
Chipty’s work in this area include:

Tobacco
   Assisted the Department of Justice, in United States v. Philip Morris et al., Civil Action No. 99-
    2486, a RICO case against the major tobacco manufacturers and associations involving
    allegations of conspiracy to suppress information and to suppress innovation. U.S. Department
    of Justice (Steve Brody, Renee Brooker, and James Gette).
   Assisted Appalachian Oil Company, in R.J. Reynolds Tobacco Company v. Market Basket Food
    Stores, Inc., et al., Civil Action No. 5:05-CV-253. Baker, Donelson, Bearman, Caldwell &
    Berkowitz P.C. (Gary Shockley).
   Assisted Star Scientific, in Star Scientific, Inc. v. R.J. Reynolds Tobacco Company, Case No.
    AW 01-CV-1504 and AW 02-CV-2504. Crowell and Moring (Richard MacMillan and Kathryn
    Kirmayer).

Pharmaceutical and Health Care
   Advised the working groups of the Advanced Market Commitment (“AMC”), an initiative of the
    Gates Foundation to pilot the first AMC for the pneumococcus vaccine. The goal of this AMC is
    to provide appropriate market-based incentives to induce capacity investments by the major
    pharmaceutical companies for manufacturing sufficient vaccines for low-income countries.
   Assisted a pharmaceutical manufacturer against Medicaid reimbursement, fraud, and unfair trade
    practices claims brought by numerous State Attorneys General. O’Melveny & Meyers LLP
    (Steve Brody and Brian Anderson) and Baker Botts LLP (Richard Josephson).
   Advised Regional Urology, in Willis-Knighton Health System and Health Plus of Louisiana, Inc.
    v. Regional Urology LLC, et al., Civil No. CV02-1094-S. Breazeale Sachse & Wilson, LLP
    (Claude Reynaud).



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Media and Sports
   Assisted the YES Television Network in evaluating the value to the network of carriage rights
    for certain New Jersey Nets games, for contract renegotiation and possible arbitration. Boies
    Schiller & Flexner, LLP (Robert Dwyer).
   Assisted the Monte Carlo Tennis Tournament, in a dispute with the ATP Tour, alleging abuse of
    market power. Sidley Austin LLP (Alan Unger).
   Assisted a team of the National Football League, in a dispute with a cable operator, alleging
    vertical foreclosure. Boies Schiller & Flexner, LLP (Robert Dwyer).
   Assisted Major League Baseball in Major League Baseball Properties, Inc. v. Salvino, involving
    a challenge to the league’s use of centralized trademark licensing. Foley & Lardner LLP (Jim
    Mckeown).
   Advised HBO on reasonable fees for music performance rights in their negotiation with BMI.
    Cravath, Swaine & Moore LLP (Kenneth Lee).
   Advised XM Satellite Radio on reasonable fees for music performance rights for business
    negotiations. Shaw Pittman LLP (Cynthia Greer).

ECONOMETRICS AND STATISTICS
Dr. Chipty is an expert in the area of statistics and econometrics and has been successful at using
econometric arguments both to construct affirmative arguments in litigation as well as to evaluate
the use of econometrics by opposing experts. Many of the projects described above used
econometric analysis. Other examples of Dr. Chipty’s work in this area are described below:
   Submitted a white paper to the European Commission, DG Competition Bureau, on behalf of the
    European Liner Affairs Association, analyzing the impact of shipping conferences on carriers’
    ability to collude on prices (joint with Professor Fiona Scott Morton and Mr. Nils Von Hinten-
    Reed).
   Developed analyses and drafted a report on behalf of defendants in the In Re: Monosodium
    Glutamate Litigation in support of a defendants’ motion to dismiss plaintiff’s expert testimony
    based upon improper use of econometrics. Dorsey & Whitney LLP (Michael Lindsay) and
    Haynes & Boone LLP (Ronald Breaux).
   Used advanced statistical techniques along with a large volume of administrative data, on behalf
    of United Parcel Service, to evaluate the Postal Service’s expert testimony on variable costs.
    Piper & Marbury LLP (John McKeever).
   Evaluated and criticized the econometric testimony of a defendants’ expert, on behalf of a
    generic pharmaceuticals firm alleging vertical foreclosure and unlawful delay of entry. Solomon
    Zauderer (Colin Underwood).

TRISTATE RESEARCH PARTNERSHIP
Dr. Chipty was a member of the research team from 1997-1999 in this Department of Health and
Human Resources funded collaboration that included the states of Massachusetts, Alabama, and
Florida. Dr. Chipty worked with state governments to design research experiments, develop

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econometric models, and process large administrative databases, in an effort to understand the
structure, administration, and impact of minimum standards regulations.
   “The Black-White Wage Gap in the Deep South: Location, Location, Location?” (with Ann
    Dryden Witte), Working Paper 98-03, Tri-State Child Care Research Partnership, Miami, FL.
   “Employment Patterns of Workers Receiving Subsidized Child Care: A Study of Eight Counties
    in Alabama,” (with Ann Dryden Witte), Available from Margie Curry, Executive Director,
    Childcare Resources, 1904 First Ave. North, Birmingham, AL 35203-4006.
   “Parents Receiving Subsidized Child Care: A Study of Alabama’s Labor Force,” (with Ann
    Dryden Witte), Working Paper 98-01, Tri-State Child Care Research Partnership, Miami, FL.
   “Employment of Parents Receiving Subsidized Child Care in Dade County, Florida,” (with
    Harriet Griesinger and Ann Dryden Witte), Working Paper 98-03, Department of Economics,
    Wellesley College, Wellesley MA 02481.

SELECTED PAPERS AND PRESENTATIONS

Published Articles
“US: Economics” (with Michael Chapman), Global Competition Review, The Antitrust Review of the
Americas 2016, available at:
http://globalcompetitionreview.com/reviews/74/sections/275/chapters/2983/us-economics/.
“Economists’ Perspective on the Efficiency Defense in Provider Consolidations: What Works,
What Doesn’t Work, and What We Still Don’t Know,” American Health Lawyer’s Association
Connections Magazine, September 2015.
“Competitor Collaborations in Health Care: Understanding the Proposed ACO Antitrust Review
Process,” CPI Antitrust Chronicle, May 2011 (1).
“Vertical Integration, Market Foreclosure, and Consumer Welfare in the Cable Television Industry,”
American Economic Review, Vol. 91, No. 3, June 2001, pp. 428-453.
“The Role of Buyer Size in Bilateral Bargaining: A Study of the Cable Television Industry” (with
Christopher Snyder), Review of Economics and Statistics, May 1999, 81(2): 326-340.
“Economic Effects of Quality Regulations in the Daycare Industry,” American Economic Review,
Vol. 85, No. 2, May 1995, pp. 419-424.
“Horizontal Integration for Bargaining Power: Evidence from the Cable Television Industry,”
Journal of Economics and Management Strategy, Vol. 4, No. 2, Summer 1995, pp. 375-397.
“A Marginal Cost Transfer Pricing Methodology,” Tax Notes, Nov. 26, 1990 (with Ann Dryden
Witte, Wellesley College and NBER).

Chapters in Books
“Hospital-Physician Integration: The St. Luke’s Case” (with Deborah Haas-Wilson), in The Antitrust
Revolution, 7th Edition (Oxford University Press), edited by John Kwoka and Lawrence White,
forthcoming.

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                                                                           Tasneem Chipty, Page 9

Books Edited
Proving Antitrust Damages, 3rd Edition (ed., with Cathy Beagan Flood), (American Bar Association,
2017).

Book Reviews
The Antitrust Source, October 2007, Book Review of Michael D. Whinston, Lectures on Antitrust
Economics (Cambridge, MIT Press, 2006).
The Journal of Economic Literature, June 1992, Vol. XXX, No. 2, Book Review of Frank Cowell,
Cheating the Government (with Ann Dryden Witte, Wellesley College and NBER) (Cambridge,
MIT Press, 1990).

Working Papers
“In a Race Against the Clock: Auctioneer Strategies and Selling Mechanisms in Live Outcry
Auctions,” 2014 (with Lucia Dunn and Stephen Cosslett, the Ohio State University).
“Efficient Estimation Via Moment Restrictions,” (with Whitney K. Newey).
“Antidumping and Countervailing Orders: A Study of the Market for Corrosion-Resistant Steel,”
(with Brian L. Palmer).
“Firms’ Responses to Minimum Standards Regulations: An Empirical Investigation” (with Ann
Dryden Witte), NBER Working Paper # 6104.
“Effects of Information Provision in a Vertically Differentiated Market” (with Ann Dryden Witte),
NBER Working Paper # 6493.
“Unintended Consequences? Welfare Reform and the Working Poor” (with Ann Dryden Witte,
Magaly Queralt, and Harriet Griesinger), NBER Working Paper # 6798.

Invited Presentations
AHLA Antitrust Practice Group, “Interview with Tasneem Chipty, Founder and Managing Principal
of Matrix,” Member Briefing, March 2018, available at
https://www.healthlawyers.org/Members/PracticeGroups/Antitrust/Pages/Default.aspx.
ABA Webinar: “Market Definition in section 2 and section 7: The same but not the same? Questions
of fact or law?” November 2017.
International Congress of Addictology Albatros, “Economics of Tobacco Plain Packaging:
Australian Legislation,” May 2017.
Federal Communication Commission’s Event on Challenges Facing Independent Programmers,
April 2016, available at: https://www.youtube.com/watch?v=8yxC_3M4IWA.
Federal Communication’s Panel on Challenges Facing Multichannel Video Programming
Distributors, March 2016, available at: https://www.youtube.com/watch?v=03CMDtdpRDQ.
ABA Webinar: “Sports Leagues Claims After 5 Years After American Needle,” 2015.



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                                                                         Tasneem Chipty, Page 10

NYSBA Antitrust Class Action Program: “Comcast v. Behrend: Interpretation and Application of
Comcast to Damages Issues in Class Certification,” 2015.
AHLA Annual Meetings: “Antitrust and Provider Mergers and Affiliations: Competition vs. More
Affordable Care?” 2015.
AHLA Webinar: “Antitrust Implications and Lessons Learned from the Ninth Circuit Decision in St.
Luke’s,” 2015.
ABA Webinar: “St. Lukes: State and Federal Enforcement in Non-Reportable Program,” 2015.
NYC Bar Antitrust and Healthcare Program, 2015.
NYSBA Antitrust Law Section Annual Meetings: “Efficiencies: The Cheshire Cat of Merger
Analysis,” 2014.
NYC Bar Antitrust & Trade Regulation Committee: “Approaches to Antitrust Damages,” 2014.

PROFESSIONAL SERVICE
Defendant’s expert at the ABA Mock Trial involving the issue exclusivity, in the form of theaters’
use of clearances, 2017.
Vice Chair of the Antitrust Practice Group of the American Health Lawyers Association, 2014-2016.
Advisory board of the Pricing Conduct Committee, 2011-2012.
Editorial comments on a chapter of the ABA’s Price Discrimination Handbook, 2011.
Plaintiffs’ expert at the ABA Mock Trial involving the issue of resale price maintenance, 2008.
Editorial comments on a chapter of the ABA’s book on Market Definition, 2008.
Contribution to the ABA’s Econometrics Legal, Practical, and Technical Issues, 2005.

MEMBERSHIPS
American Health Lawyers Association (AHLA)
American Bar Association (ABA)
American Economic Association

HONORS
National Science Foundation Fellowship, 1989-1992
Phi Beta Kappa, 1988




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                                  Appendix B: Materials Considered

I.        Expert Reports and Declarations

      •    Declaration of Dr. Gautam Gowrisankaran, October 5, 2017.

II.       Expert Reports and Declarations in the UFCW & Employers Benefit Trust v. Sutter
          Health Matter

      •    Declaration of Aldo De La Torre in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 7, 2017.

      •    Declaration of Becky LaCroix-Milani in Connection with Plaintiff UEBT's Motion for
           Class Certification, February 7, 2017.

      •    Declaration of Benjamin Katz in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 6, 2017.

      •    Declaration of Chandra Welsh in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 8, 2017.

      •    Declaration of David Joyner in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 7, 2017.

      •    Declaration of Janet Lundbye in Connection with Plaintiff UEBT's Memorandum in
           Support of its Motion for Class Certification, February 6, 2017.

      •    Declaration of Jeff Sprague in Support of Defendants' Opposition to UEBT's Motion for
           Class Certification, April 11, 2017.

      •    Declaration of Michael Ramseier in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 6, 2016.

      •    Declaration of Paige Rothermel in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 6, 2017.

      •    Declaration of Randy Lukins in Connection with Plaintiff UEBT's Motion for Class
           Certification, February 6, 2016.




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   •    Declaration of Scott Hamilton in Connection with Plaintiff UEBT's Motion for Class
        Certification, February 6, 2017.

   •    Declaration of Steve Melody in Connection with Plaintiff UEBT's Motion for Class
        Certification, February 7, 2017.

   •    Declaration of Tracy Barnes in Connection with Plaintiff UEBT's Motion for Class
        Certification, February 7, 2017.

   •    Redacted Declaration of Ben C. Lee in Support of Defendants' Opposition to Motion for
        Class Certification, April 14, 2017.

   •    Redacted Declaration of Dr. Jeffrey J. Leitzinger, February 10, 2017.

   •    Redacted Declaration of Jon Chason in Support of Defendants' Opposition to UEBT's
        Motion for Class Certification, April 13, 2017.

   •    Redacted Declaration of Margaret E. Guerin-Calvert in Support of Defendants'
        Opposition to Class Certification, April 14, 2017.

   •    Redacted Declaration of Melissa Brendt in Support of Defendants' Opposition to UEBT's
        Motion for Class Certification, April 13, 2017.

   •    Reply Declaration of Dr. Jeffrey J. Leitzinger in Support of UEBT's Motion for Class
        Certification, May 25, 2017.

III. All Depositions and Associated Exhibits

   •    Deposition of Aldo de la Torre, UFCW & Employers Benefit Trust on behalf of itself and
        all others situated vs. Sutter Health, March 13, 2017.

   •    Deposition of Chandra Welsh, UFCW & Employers Benefit Trust on behalf of itself and
        all others situated vs. Sutter Health, April 12, 2017.

   •    Deposition of David Joyner, UFCW & Employers Benefit Trust on behalf of itself and all
        others situated vs. Sutter Health, March 20, 2017.

   •    Deposition of Gautam Gowrisankaran, Djeneba Sidibe, Diane Dewey and Jerry
        Jankowski on Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health
        et al., February 6, 2018.


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•    Deposition of Gerald David Crews, UFCW & Employers Benefit Trust on behalf of itself
     and all others situated vs. Sutter Health, March 15-16, 2018.

•    Deposition of Gerald Lalande, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
     Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al.,
     September 29, 2017.

•    Deposition of Jan Voge, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf of
     Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., August 11, 2017.

•    Deposition of Janet Lundbye, UFCW & Employers Benefit Trust on behalf of itself and
     all others situated vs. Sutter Health, March 30, 2018.

•    Deposition of Jeffrey Leitzinger, UFCW & Employers Benefit Trust on behalf of itself
     and all others situated vs. Sutter Health, March 15, 2017.

•    Deposition of Jonathan Chason, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
     Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al.,
     September 6, 2017.

•    Deposition of Margaret E. Guerin-Calvert, UFCW & Employers Benefit Trust on behalf
     of itself and all others situated vs. Sutter Health, May 11, 2017.

•    Deposition of Melissa Lynn Brendt, UFCW & Employers Benefit Trust on behalf of itself
     and all others situated vs. Sutter Health, July 13, 2016.

•    Deposition of Michael Beuoy, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
     Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., May 2,
     2018.

•    Deposition of Michael Ramseier, UFCW & Employers Benefit Trust on behalf of itself
     and all others situated vs. Sutter Health, March 30, 2017.

•    Deposition of Paige Rothermel, UFCW & Employers Benefit Trust on behalf of itself and
     all others situated vs. Sutter Health, March 23, 2017.

•    Deposition of Peter Anderson, UFCW & Employers Benefit Trust on behalf of itself and
     all others situated vs. Sutter Health, October 14, 2016.



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  •    Deposition of Phil Jackson, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf
       of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., December 21,
       2017.

  •    Deposition of Randy Lukins, UFCW & Employers Benefit Trust on behalf of itself and all
       others situated vs. Sutter Health, July 19, 2016.

  •    Deposition of Randy Lukins, UFCW & Employers Benefit Trust on behalf of itself and all
       others situated vs. Sutter Health, March 30, 2017.

  •    Deposition of Robert Reed, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf
       of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., October 17,
       2017.

  •    Deposition of Steve Melody, UFCW & Employers Benefit Trust on behalf of itself and all
       others situated vs. Sutter Health, March 21, 2017.

  •    Deposition of Todd Smith, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on Behalf
       of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., August 17,
       2017.

  •    Deposition of Tracey Barnes, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
       Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health et al., January
       30-February 1, 2018.

IV. Legal Documents

  •    Brief and Required Short Appendix of Appellants Federal Trade Commission and State
       of Illinois (Public Version), Federal Trade Commission and State of Illinois v. Advocate
       Health Care Network, et al., July 15, 2016.

  •    Class Action Complaint, UFCW & Employers Benefit Trust v. Sutter Health; Sutter East
       Bay Hospitals; Sutter West Bay Hospitals; Eden Medical Center; Sutter Central Valley
       Hospitals; Mills-Peninsula Health Services; Sutter Health Sacramento Sierra Region;
       Sutter Coast Hospital; Palo Alto Medical Foundation for Healthcare, Research and
       Education; and Sutter Medical Foundation, April 7, 2014.




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•    Fourth Amended Complaint, Djeneba Sidibe, Diane Dewey and Jerry Jankowski on
     Behalf of Themselves and All 15 Other Similarly Situated, v. Sutter Health, September
     29, 2017.

•    Opinion, Federal Trade Commission and Commonwealth of Pennsylvania v. Penn State
     Hershey Medical Center; Pinnacle Health System, September 27, 2016.

•    Opinion, Federal Trade Commission and State of Illinois v. Advocate Health Care
     Network, et al., October 31, 2016.

•    Opinion, ProMedica Health System, Inc. v. Federal Trade Commission, April 22, 2014.

•    Opinion, Saint Alphonsus Medical Center-Nampa Inc.; Saint Alphonsus Health System
     Inc.; Saint Alphonsus Regional Medical Center, Inc.; Treasure Valley Hospital Limited
     Partnership; Federal Trade Commission; State of Idaho; v. St. Luke’s Health System
     Ltd.; St. Luke’s Regional Medical Center, Ltd.; Saltzer Medical Group, February 9, 2015.

•    Opinion, United States v. Rockford Memorial Corp., April 3, 1990.

•    Order Amending Opinion and Amended Opinion, Cascade Health Solutions fka
     McKenzie-Willamette Hospital, an Oregon nonprofit corporation, Plaintiff-Appellant, v.
     PeaceHealth, a Washington State nonprofit corporation, Defendant-Appellee, and
     PacificSource Health Plans, Defendant, Regence BlueCross BlueShield of Oregon;
     Providence Health Plan; McKenzie-Willamette Regional Medical Center Associates,
     LLC, Defendant-Intervenors. McKenzie-Willamette Hospital, Plaintiff-Appellee, v.
     PeaceHealth, a Washington State nonprofit corporation, Defendant-Appellant. and
     PacificSource Health Plans, Defendant, Regence BlueCross BlueShield of Oregon;
     Providence Health Plan; McKenzie-Willamette Regional Medical Center Associates,
     LLC, Defendant-Intervenors. McKenzie-Willamette Hospital, Plaintiff-Appellee, v.
     PeaceHealth, a Washington State nonprofit corporation, Defendant-Appellant,
     McKenzie-Willamette Hospital, an Oregon nonprofit corporation, Plaintiff-Appellant, v.
     PeaceHealth, Defendant-Appellee, September 4, 2007, amended February 1, 2008.

•    Order Granting Class Certification, UFCW & Employers Benefit Trust v. Sutter Health;
     Sutter East Bay Hospitals; Sutter West Bay Hospitals; Eden Medical Center; Sutter
     Central Valley Hospitals; Mills-Peninsula Health Services; Sutter Health Sacramento


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          Sierra Region; Sutter Coast Hospital; Palo Alto Medical Foundation for Healthcare,
          Research and Education; and Sutter Medical Foundation, August 14, 2018.

     •    Redacted Memorandum Opinion and Order, Federal Trade Commission and State of
          Illinois v. Advocate Health Care Network, et al., March 16, 2017.

V.       Produced Documents

     •    ABCLH002694

     •    ABCLH008005

     •    ABCLH054780

     •    ABCLH106417

     •    ABCLH108094

     •    ABCLH108096

     •    ABCLH111410

     •    ABCLH111808

     •    ABCLH115049

     •    ABCLH115096

     •    ABCLH117043

     •    ABCLH119031

     •    ABCLH119922

     •    ABCLH120166

     •    ABCLH123497

     •    ABCLH127629

     •    ABCLH135963

     •    ABCLH142249

     •    ABCLH149828


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•    ABCLH161586

•    ABCLH162555

•    ABCLH166755

•    ABCLH172907

•    ABCLH223862

•    ABCLH365510

•    ABCLH379968

•    ABCLH379969

•    ABCLH382035

•    ABCLH388256

•    ABCLH394926

•    ABCLH396261

•    ABCLH402856

•    ABCLH408171

•    ABCLH465813

•    AET-ES10025032

•    AET-ESI0001511

•    AET-ESI0003351

•    AET-ESI0008321

•    AET-ESI0022418

•    AET-ESI0022876

•    AET-ESI0022876.

•    AET-ESI0023568




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•    AET-ESI0023574

•    AET-ESI0026354

•    AET-ESI0034157

•    BSC_SutterSidibe0267438

•    BSC_SutterSub00013018

•    BSC_SutterSub00030379

•    BSC_SutterSub00037618

•    BSC_SutterSub00037814

•    BSC_SutterSub00062387

•    BSC_SutterSub00062476

•    BSC_SutterSub00062559

•    BSC_SutterSub00063535

•    BSC_UFCW-00002428

•    BSC_UFCW-00002953

•    BSC_UFCW-00003134

•    BSC_UFCW-00003249

•    BSC_UFCW-00003325

•    BSC_UFCW-00007608

•    BSC_UFCW-00008342

•    BSC_UFCW-00010568

•    BSC_UFCW-00011799

•    BSC_UFCW-00044752

•    BSC_UFCW-00045000




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•    BSC_UFCW-00045202

•    BSC_UFCW-00045213

•    BSC_UFCW-00060354

•    BSC_UFCW-00099460

•    BSC_UFCW-00115484

•    BSC_UFCW-00121265

•    BSC_UFCW-00174271

•    BSC_UFCW-00200169

•    BSC-UEBT-0000001

•    BSC-UEBT-0005326

•    BSC-UEBT-0005337

•    BSC-UEBT-0005339

•    BSC-UEBT-0009556

•    BSC-UEBT-0009704

•    BSC-UEBT-0031648

•    BSC-UEBT-0037886

•    BSC-UEBT-0037887

•    BSC-UFCW00010568

•    BSC-UFCW00045202

•    BSC-UFCW00060354

•    Cigna_6-16-00013085

•    DEF000002613

•    DEF000020880




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•    DEF000049921

•    DEF000094071

•    DEF000094390

•    DEF000094517

•    DEF000094759

•    DEF000095680

•    DEF000097795

•    DEF000122903

•    DEF000147336

•    DEF000148126

•    DEF000151711

•    DEF000152820

•    DEF000154044

•    DEF000154045

•    DEF000154047

•    DEF000176667

•    DEF000186441

•    DEF000186566

•    DEF000206743

•    DEF000208068

•    DEF000218792

•    DEF000227544

•    DEF000227548




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•    DEF000228654

•    DEF000234584

•    DEF000251505

•    DEF000325395

•    DEF000403701

•    DEF000405001

•    DEF000411493

•    DEF000423609

•    DEF000474192

•    DEF000728516

•    DEF000751719

•    DEF000756198

•    DEF000761111

•    DEF000807441

•    DEF000891947

•    DEF000895660

•    DEF001170498

•    DEF001258766

•    DEF001361203

•    DEF001454452

•    DEF001458429

•    DEF001472015

•    DEF001567261




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•    DEF001771416

•    DEF001786550

•    DEF001786799

•    DEF001806980

•    DEF001826709

•    DEF001927710

•    DEF001993646

•    DEF001993700

•    DEF001993762

•    DEF001993774

•    DEF002008388

•    DEF002065731

•    DEF002190232

•    DEF002198177

•    DEF002198178

•    DEF002216931

•    DEF002278956

•    DEF002345130

•    DEF002583665

•    DEF002641158

•    DEF002646081

•    DEF002647676

•    DEF002660141




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•    DEF002763553

•    DEF003231202

•    DEF003691525

•    DEF003728623

•    DEF004150400

•    DEF004388157

•    DEF004447422

•    DEF004687098

•    DEF004933316

•    DEF004963326

•    DEF004963336

•    DEF004963338

•    DEF004963344

•    HN-0003199

•    HN-0003254

•    HN-0003274

•    HN-0003276

•    STCA0006169

•    STCA0098363

•    STCA0113844

•    STCA0117621

•    STCA0119334

•    STCA0132775




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•    STCA0136693

•    STCA0145931

•    STCA0234063

•    STCA0234221

•    STCA0274993

•    STCA0281559

•    STCA0282420

•    STCA0285864

•    STCA0321358

•    STCA0367598

•    STCA0391747

•    STCA0433707

•    STCA0449970

•    STCA0461852

•    STCA0483629

•    STCA0483630

•    STCA0509709

•    STCA0588271

•    STCA0589151

•    STCA0596286

•    STCA0602090

•    STCA0608569

•    STCA0625045




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•    STCA0626073

•    STCA0630549

•    STCA0692962

•    STCA0719211

•    STCA0719241

•    STCA0719416

•    UHC-00000005

•    UHC-00000009

•    UHC-00003579

•    UHC-00011192

•    UHC-00035140

•    UHC-00073965

•    UHC-00101128

•    UHC-00134453

•    UHC-00148539

•    UHC-00149274

•    UHC-00149371

•    UHC-00149552

•    UHC-00171442

•    UHC-00171572

•    UHC-00171576

•    UHC-00180454

•    UHC-00184183




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   •    UHC-00204851

   •    UHC-00207585

   •    UHC-00210338

   •    UHC-00291232

   •    UHC-00298908

   •    UHC-00330451

   •    UHC-00347957

   •    UHC-00499801

   •    UHC-005058737

   •    UHC-005085987

VI. Data Sources

   •    American Hospital Directory, “Free Hospital Profiles,” available at
        https://www.ahd.com/search.php, site visited May 23, 2018.

   •    Anthem Claims Data, SIDIBE_ABC_0139333 through SIDIBE_ABC_0139352.

   •    Blue Shield Claims Data, “sidibe_facets_extract.txt” and “sidibe_tpsu_extract.txt”.

   •    California Health Care Foundation, “California Health Insurers Enrollment Database,”
        available at https://www.chcf.org/wp-
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                     Appendix C: Hospital Choice Model and Data Processing

         1.      This Appendix describes the hospital discrete choice model used as a basis for the
diversion ratio analyses. 1 It provides a description of the data, the data processing steps used to
create the choice model analysis dataset, and the econometric framework, including the variables
used in the estimation. Attachments 1 and 2 provide an overview of the analysis sample and the
estimation results.

         A.      Dataset

         2.      The analysis relies upon the 2011 OSHPD Patient Discharge Data (“PDD”). For
each inpatient discharge at a California hospital, these data provide information on patient
medical need, hospital chosen, demographics, and five-digit zip code of residence. I used the
2011 PDD because they are the most recent PDD with sufficiently detailed patient demographic
information – specifically, 2011 is the last year to include five-digit zip codes for patient
residence.

         B.      Creation of the Data Set for Estimation

         3.      The choice model analysis dataset is created by applying standard sample
restrictions to arrive at a set of discharges for Northern California residents with sufficient
information to study non-Kaiser hospital choice, conditional on having a medical need. For this
purpose, the sample is restricted to patients identified as having access to a broad provider
network for whom key pieces of information are available. The sample excludes discharges with
the following characteristics:

    •    Health plan was missing, unknown, or non-commercial;

    •    Health plan was a Knox-Keene/Medi-Cal County Organized Health System (“MCOHS”)
         plan, marked as invalid, or is marked as another HMO; 2




1
 Chipty Workpapers provide the computer programs.
2
 For the purposes of Exhibits 7A to 18A, Exhibits 7C to 18C, and Exhibit 21, I only drop observations for which the
patient’s health plan is Kaiser.


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    •    Discharge was associated with DRG codes 795 (“Normal Newborn”), 998 (“Principal
         Diagnosis invalid as Discharge Diagnosis”), or 999 (“Ungroupable”);

    •    Discharge was associated with Major Diagnostic Category (“MDC”) codes 19 (“Mental
         Diseases and Disorders”), 20 (“Alcohol/Drug Use or Induced Mental Disorders”), or 00
         (“Ungroupable”); 3

    •    Discharge had a length of stay that is missing, unknown, or greater than 180 days; or

    •    Discharge was: (a) a transfer from another hospital, a skilled nursing facility or
         intermediate care facility, another health care facility, an ambulatory surgery center, or a
         hospice; (b) associated with a patient admitted to the hospital due to court or law
         enforcement; or (c) a newborn.

         4.       The sample also applies additional filters based on demographic characteristics. 4
Specifically, the estimation sample excludes observations for which the patient’s:

    •    Sex was unknown, other, or marked as invalid;

    •    Race was missing or unknown;

    •    Ethnicity was unknown or marked as invalid; or

    •    Age range (measured in twenty categories) was missing or unknown.

Attachment 1 describes the impact of this first set of data steps on sample size. After applying
these filters, 244,758 discharges remain in the analysis dataset.

         5.       Additional information on hospital characteristics and patient demographics is
then merged onto the analysis dataset. This information is obtained from various sources.
Specifically:




3
  Ungroupable MDCs are coded as "00" in OSHPD's patient discharge data. See OSHPD, "Patient Discharge Data
(PDD) Data Dictionary Public Use File," available at
https://www.oshpd.ca.gov/documents/HID/Data_Request_Center/puf/DataDictionary_Public_PDD.pdf, site visited
March 1, 2017.
4
  I do not apply these demographic filters to Exhibits 7A to 18A, Exhibits 7C to 18C, or Exhibit 21, as they are not
relevant to those exhibits.


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    •    Hospital-level information, including hospital beds, system affiliation, 5 and medical
         services provided, is obtained from the OSHPD Hospital Annual Financial Disclosure
         Data Pivot Profiles and from the OSHPD Hospital Annual Financial Disclosure Data
         Complete Data Set;

    •    Zip code-level information is obtained from the IRS Statistics of Income (SOI) Tax Stats
         for California; 6

    •    DRG weight information is obtained from the National Bureau of Economic Research;

    •    Hospital service area (“HSA”) information is obtained from Dartmouth Atlas;

    •    Hospital latitude and longitude information is obtained via Google Maps API;

    •    Zip code latitude and longitude information is obtained via Google Maps API;

    •    Calculated drive times from zip codes to hospitals are obtained via Google Maps API;
         and

    •    Centers for Medicare and Medicaid Services (“CMS”) Certification Numbers (“CCNs,”
         sometimes referred to as Medicare Provider Numbers or “MPNs”) are obtained from the
         CMS Historical Impact Files and the American Hospital Directory (“AHD”).

         6.       After merging in information from the above sources, discharges were then
excluded if:

    •    The chosen hospital did not have a valid CCN;

    •    The patient’s zip code was not in the IRS’s SOI Tax Stats for California; 7,8,9

    •    The discharge did not occur at a general acute care hospital, defined as a hospital that: (a)
         reports itself as “General” or “General Acute” in its annual financial disclosure to

5
  Systems were defined based on each hospital’s system name from the OSHPD Hospital Annual Financial
Disclosure Data Pivot Profiles, which is populated for all systems with at least three hospitals. In addition to the
system field, I use the owner field to assign hospitals to systems. My staff manually reviewed system ownership for
all remaining unassigned hospitals. See Chipty Workpapers.
6
  I also obtain tax information on zip code 97415, which is in Oregon but belongs to the Crescent City HSA.
7
  The exception to this filter is zip code 97415.
8
  This filter eliminates discharges where the patient’s full five-digit zip code is not available due to masking as well
as patients whose zip code is a P.O. box.
9
  These filters are not used in reporting data for Exhibits 7A to 18A, Exhibits 7C to 18C, or Exhibit 21.


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          OSHPD; and (b) has a CCN whose last four digits fall within the range 0001-0879, the
          range specified by CMS for “Short-term (General and Specialty) Hospitals;” 10 or

     •    The discharge occurred at a Kaiser hospital.

Applying these additional filters results in an analysis sample of 223,272 discharges.

          7.     Next, to determine the set of relevant zip codes whose residents’ hospital choices
might shed light on preferences for Sutter hospitals, I first identify all hospitals that are located
within 100 miles of any of the 23 hospitals owned by Sutter in 2011 and that receive at least one
discharge from the set of 223,272 discharges. This calculation results in 107 hospitals. I then
identify the set of relevant zip codes as those zip codes that are within 100 miles of any of the
107 hospitals defined above. This calculation results in 767 relevant zip codes.

          8.     The estimation sample then consists of the 102,589 discharges from the set of
relevant zip codes defined above. To identify the set of inside hospitals, I calculate each
hospital’s volume of discharges. The hospitals within 100 miles of a Sutter hospital with at least
150 discharges from this sample are considered part of the “inside” choice set. Hospitals with
fewer than 150 discharges or farther than 100 miles from the nearest Sutter hospital are instead
considered part of the “outside” choice set and are treated as a single composite choice in the
estimation. 11

          9.     I then expand the set of discharges so that each has 85 observations, one for each
of the 84 hospitals in the inside set and one for the composite outside choice. This results in a
final analysis dataset of 8,720,065 observations.

          C.     Economic Framework for Hospital Patient Choice

          10.    I study patients’ hospital choices given their medical need using a conditional
logit model, a standard approach in the literature. 12 In this economic framework, individuals are
assumed to make decisions that maximize their expected utility. A patient p’s utility from




10
   The first two digits of the six-digit CCN identify the state in which the hospital is located.
11
   See below for a discussion of the hospital characteristics assigned to the outside option.
12
   See Farrell et. al., pp. 275-276. See also, Daniel McFadden, “Conditional Logit Analysis of Qualitative Choice
Behavior,” Frontiers in Econometrics, 1973, pp. 105 – 142.


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choosing hospital h is separated into two components, a deterministic component and a
stochastic component:

                                            𝑈𝑈𝑝𝑝,ℎ = 𝑉𝑉𝑝𝑝,ℎ + 𝜀𝜀𝑝𝑝,ℎ

where 𝑉𝑉𝑝𝑝,ℎ is the deterministic component of utility and 𝜀𝜀𝑝𝑝,ℎ is the idiosyncratic, unobservable
component of utility. I model the deterministic component of utility from choosing hospital h as
a function of hospital-specific characteristics, patient-specific characteristics, and characteristics
of a hospital that vary between patients using a conditional logit model:

                                        𝑉𝑉𝑝𝑝,ℎ = 𝛼𝛼𝑠𝑠 + 𝛽𝛽𝑿𝑿𝑝𝑝,ℎ,𝑧𝑧 + 𝛾𝛾𝑝𝑝

where: (a) 𝛼𝛼𝑠𝑠 are system “fixed” effects which are used to take into account all system-specific
characteristics (e.g. system reputation) not directly captured by the hospital characteristics
included in the model; (b) 𝑿𝑿𝑝𝑝,ℎ,𝑧𝑧 is the set of patient and hospital-specific characteristics; and (c)
𝛾𝛾𝑝𝑝 is a patient-specific fixed effect. Patient-specific characteristics are as follows:

     •    An indicator for emergency and urgent admissions;

     •    An indicator for female patients;

     •    An indicator for patients older than 64;

     •    An indicator for patients younger than 20;

     •    An indicator for African-American patients;

     •    An indicator for non-white patients (including African-Americans);

     •    An indicator for Hispanic patients;

     •    The number of diagnoses associated with each discharge; 13

     •    The number of procedures associated with each discharge; 14



13
   The OSHPD 2011 PDD only contains a maximum of 24 diagnosis codes for each discharge and uses a value of
799.9 to denote missing or invalid diagnosis codes. See OSHPD, "Patient Discharge Data (PDD) Data Dictionary
Public Use File," available at
https://www.oshpd.ca.gov/documents/HID/Data_Request_Center/puf/DataDictionary_Public_PDD.pdf, site visited
March 1, 2017. I exclude the 799.9 codes when determining the number of diagnoses for each discharge.
14
   The OSHPD 2011 PDD only contains a maximum of 21 procedure codes for each discharge. See OSHPD,
"Patient Discharge Data (PDD) Data Dictionary Public Use File," available at


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    •    DRG weight;

    •    The patient’s length of stay; and

    •    The mean adjusted gross income for the patient’s zip code.

Hospital characteristics are as follows:

    •    An indicator for whether the hospital is a teaching hospital;

    •    Number of hospital beds;

    •    Number of hospital beds squared;

    •    Total number of beds across all hospitals for the system to which the hospital belongs
         (“system beds”); 15 and

    •    System beds squared.

Hospital characteristics that vary over different patients are as follows:

    •    Drive time between a patient’s zip code and hospital h; 16

    •    Drive time squared;

    •    A set of “match” variables for six disease categories: cardiology, delivery, oncology,
         pediatric, organ transplant, and trauma.

         11.      The match variables are defined in two steps. The first step is to consider the set
of DRGs that define a particular patient-need. Table C.1 lists the DRG and MDC codes used to
define patient needs. A patient was determined to have a pediatric need if they are younger than
20 years of age.




https://www.oshpd.ca.gov/documents/HID/Data_Request_Center/puf/DataDictionary_Public_PDD.pdf, site visited
March 1, 2017.
15
   For hospitals not belonging to the system, this characteristic is equal to the hospital beds.
16
   Since the outside choice is a composite set of different hospitals, the drive time between zip code z and the outside
choice has been set to the simple average of the drive time between zip code z and all hospitals in the outside set.


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An observation is considered to have a “match” if the patient is a pediatric patient or has a
specific need (Table C.1) and the hospital has the service offerings that meet that specific need
(Table C.2).

         13.      Finally, the following hospital-specific characteristics are assigned to the
composite outside option: (a) the drive time, hospital beds, and system beds are set to the simple
average of each field over the outside hospitals; (b) the teaching indicator is set to be non-
teaching; and (c) the service indicators are set to the mode of the joint distribution of the outside
hospitals’ services (with the match variable computed as described above). 19

         14.      In the conditional logit framework, patient-specific characteristics enter the model
via interaction terms with the hospital-specific characteristics. Each of the patient-specific
characteristics is interacted with each hospital-specific and patient/hospital-specific characteristic
except for the system fixed effects. This allows, for example, for the effect of drive time on
utility to vary between males and females.

         15.      Within this framework, it can be shown that the predicted probability that patient
p chooses hospital h over all hospitals j ϵ J is: 20

                                                          𝑒𝑒 𝑉𝑉𝑝𝑝,ℎ
                                                      ∑𝐽𝐽𝑗𝑗 𝑒𝑒 �𝑉𝑉𝑝𝑝,𝑗𝑗�

I estimate this probability for each of the 8,720,065 observations defined above and use it to
calculate diversion ratios. 21 The full set of parameter estimates appears as Attachment 2 to this
Appendix. I estimate this model via maximum likelihood using Stata, a common statistical
software package.




19
   This results in the outside option having cardiology, delivery, pediatric, and oncology services, but not trauma or
transplant services.
20
   Jeffrey Wooldridge, Econometric Analysis of Cross Section and Panel Data, 2002, p. 500.
21
   Farrell et. al., pp. 275-277.


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                                                        Appendix C: Attachment 1
                                            Summary of the First Set of Choice Model Filters
                                                                                            Discharges                        Percentage Discharges
Filter                                                                                       Removed                           Removed   Remaining
Health plan was non-commercial, missing, or unknown.                                            2,675,883                          68.0%  1,257,356
Health plan was a Knox-Keene/MCOHS plan or other HMO.                                             702,701                          17.9%    554,655
Source of admission indicated a transfer, newborn, court, or law enforcement.                     131,828                           3.4%    422,827
MDC code was for mental disorders, alcohol or drug use, or ungroupable.                            28,955                           0.7%    393,872
DRG code was for normal newborn or is invalid, unknown, or ungroupable.                               834                           0.0%    393,038
Length of stay was greater than 180 days, missing, or unknown.                                         18                           0.0%    393,020
Age range was missing or unknown.                                                                  73,694                           1.9%    319,326
Sex was unknown or invalid.                                                                        22,739                           0.6%    296,587
Race was unknown or invalid.                                                                       35,216                           0.9%    261,371
Ethnicity was unknown or invalid.                                                                  16,613                           0.4%    244,758
Total                                                                                           3,688,481                                   244,758

Notes :
1. Invalid and ungroupable DRGs are coded as 998 and 999, respectively; ungroupable MDCs are coded as "00" in OSHPD's patient discharge data. See OSHPD,
"Patient Discharge Data (PDD) Data Dictionary Public Use File," available at
https://www.oshpd.ca.gov/documents/HID/Data_Request_Center/puf/DataDictionary_Public_PDD.pdf, site visited March 1, 2017; and OSHPD, "Appendix J Medicare
Severity-Diagnosis Related Groups (MS-DRGs)," available at http://oshpd.ca.gov/HID/Data_Request_Center/documents/App_J_MS-DRG_PDD.xlsx, site visited July
5, 2017.
2. Knox-Keene/MCOHS plans are managed care plans which are licensed under the Knox-Keene Healthcare Service Plan Act of 1975 or are designated as a Medi-Cal
County Organized Health System. See OSHPD, "Patient Discharge Data (PDD) Data Dictionary Public Use File," available at
https://www.oshpd.ca.gov/documents/HID/Data_Request_Center/puf/DataDictionary_Public_PDD.pdf, site visited March 1, 2017.
Source : 2011 OSHPD patient discharge data.




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                                           Appendix C: Attachment 2
                             Parameter Estimates for Patient Hospital Choice Model
                                                                              Parameter
Interaction Category             Variable                                     Estimate    z -Statistic
Main Effect (Uninteracted)       Drive Time                                   -0.081***   (-52.630)
                                 Drive Time Squared                           0.000***    (19.894)
                                 Teaching Hospital                            -0.413***   (-7.824)
                                 Hospital Beds                                0.012***    (27.531)
                                 Hospital Beds Squared                        -0.000***   (-21.107)
                                 System Beds                                  -0.002***   (-7.061)
                                 System Beds Squared                          0.000***    (16.283)
                                 Cardiology Match                             1.362***    (5.174)
                                 Delivery Match                               1.302***    (4.746)
                                 Oncology Match                               2.887***    (4.423)
                                 Pediatric Match                              1.190***    (4.500)
                                 Transplant Match                             15.028***   (6.376)
                                 Trauma Match                                 5.564***    (4.098)
Drive Time                       Emergency Room                               -0.009***   (-12.454)
                                 Female                                       -0.009***   (-11.801)
                                 Under 20                                     0.011***    (10.105)
                                 Over 64                                      -0.012***   (-10.095)
                                 African American                             -0.003      (-1.734)
                                 Non-White                                    0.001       (0.579)
                                 Hispanic                                     -0.017***   (-26.705)
                                 Number of Diagnoses                          0.000***    (4.093)
                                 Number of Procedures                         -0.000      (-1.689)
                                 Length of Stay                               0.000***    (3.302)
                                 Average Adjusted Gross Income                -0.000***   (-29.659)
                                 Acuity (DRG Weight)                          0.003***    (7.689)
Drive Time Squared               Emergency Room                               0.000***    (8.933)
                                 Female                                       0.000***    (7.678)
                                 Under 20                                     -0.000***   (-7.796)


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                                       Appendix C: Attachment 2
                          Parameter Estimates for Patient Hospital Choice Model
                                                                           Parameter
Interaction Category          Variable                                     Estimate    z -Statistic
                              Over 64                                      0.000***    (6.593)
                              African American                             0.000**     (3.131)
                              Non-White                                    0.000       (0.125)
                              Hispanic                                     0.000***    (17.031)
                              Number of Diagnoses                          -0.000***   (-3.742)
                              Number of Procedures                         0.000       (1.849)
                              Length of Stay                               -0.000***   (-3.617)
                              Average Adjusted Gross Income                0.000***    (32.254)
                              Acuity (DRG Weight)                          -0.000***   (-4.121)
Teaching Flag                 Emergency Room                               0.107***    (3.295)
                              Female                                       -0.752***   (-23.658)
                              Under 20                                     0.058       (1.022)
                              Over 64                                      -0.545***   (-9.238)
                              African American                             0.982***    (13.061)
                              Non-White                                    -0.102**    (-3.084)
                              Hispanic                                     0.266***    (5.728)
                              Number of Diagnoses                          0.008*      (2.327)
                              Number of Procedures                         -0.010      (-1.337)
                              Length of Stay                               0.010**     (2.764)
                              Average Adjusted Gross Income                -0.000***   (-4.063)
                              Acuity (DRG Weight)                          0.127***    (9.018)
Hospital Beds                 Emergency Room                               0.005***    (20.278)
                              Female                                       -0.001**    (-3.146)
                              Under 20                                     -0.002***   (-3.580)
                              Over 64                                      0.006***    (12.618)
                              African American                             0.002*      (2.403)
                              Non-White                                    -0.000      (-0.783)
                              Hispanic                                     0.000       (0.531)


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                                        Appendix C: Attachment 2
                           Parameter Estimates for Patient Hospital Choice Model
                                                                            Parameter
Interaction Category           Variable                                     Estimate    z -Statistic
                               Number of Diagnoses                          -0.000***   (-12.511)
                               Number of Procedures                         0.000***    (6.859)
                               Length of Stay                               0.000**     (3.140)
                               Average Adjusted Gross Income                -0.000***   (-37.678)
                               Acuity (DRG Weight)                          0.001***    (7.949)
Hospital Beds Squared          Emergency Room                               -0.000***   (-26.985)
                               Female                                       0.000       (0.770)
                               Under 20                                     0.000***    (9.131)
                               Over 64                                      -0.000***   (-11.910)
                               African American                             -0.000***   (-3.416)
                               Non-White                                    0.000***    (5.634)
                               Hispanic                                     -0.000***   (-4.098)
                               Number of Diagnoses                          0.000***    (12.930)
                               Number of Procedures                         -0.000***   (-6.011)
                               Length of Stay                               -0.000      (-0.613)
                               Average Adjusted Gross Income                0.000***    (39.363)
                               Acuity (DRG Weight)                          -0.000***   (-6.085)
System Beds                    Emergency Room                               -0.000      (-0.411)
                               Female                                       0.000***    (10.477)
                               Under 20                                     0.000***    (9.923)
                               Over 64                                      0.000***    (5.751)
                               African American                             0.000       (1.841)
                               Non-White                                    -0.000***   (-3.510)
                               Hispanic                                     -0.000***   (-5.540)
                               Number of Diagnoses                          -0.000      (-0.071)
                               Number of Procedures                         0.000***    (6.544)
                               Length of Stay                               0.000       (0.995)
                               Average Adjusted Gross Income                -0.000***   (-9.848)


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                                        Appendix C: Attachment 2
                           Parameter Estimates for Patient Hospital Choice Model
                                                                            Parameter
Interaction Category           Variable                                     Estimate    z -Statistic
                               Acuity (DRG Weight)                          -0.000***   (-6.978)
System Beds Squared            Emergency Room                               -0.000***   (-4.769)
                               Female                                       -0.000***   (-9.992)
                               Under 20                                     -0.000***   (-10.314)
                               Over 64                                      -0.000***   (-7.506)
                               African American                             0.000       (0.809)
                               Non-White                                    0.000***    (4.709)
                               Hispanic                                     0.000***    (8.114)
                               Number of Diagnoses                          0.000**     (2.923)
                               Number of Procedures                         -0.000***   (-5.329)
                               Length of Stay                               -0.000      (-1.170)
                               Average Adjusted Gross Income                0.000***    (14.905)
                               Acuity (DRG Weight)                          0.000***    (6.156)
Cardiology Match               Emergency Room                               -0.887***   (-4.114)
                               Female                                       0.129       (0.982)
                               Under 20                                     0.360       (0.314)
                               Over 64                                      -1.267***   (-8.127)
                               African American                             -0.688      (-1.632)
                               Non-White                                    0.422       (1.635)
                               Hispanic                                     -0.414*     (-2.079)
                               Number of Diagnoses                          0.002       (0.139)
                               Number of Procedures                         0.100**     (3.193)
                               Length of Stay                               -0.058**    (-2.627)
                               Average Adjusted Gross Income                -0.000      (-1.778)
                               Acuity (DRG Weight)                          0.021       (0.272)
Delivery Match                 Emergency Room                               -0.880***   (-3.547)
                               Female                                       0.000       (.)
                               Under 20                                     -0.180      (-0.350)


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                                         Appendix C: Attachment 2
                            Parameter Estimates for Patient Hospital Choice Model
                                                                             Parameter
Interaction Category            Variable                                     Estimate    z -Statistic
                                Over 64                                      0.000       (.)
                                African American                             1.646       (1.599)
                                Non-White                                    1.100***    (6.491)
                                Hispanic                                     0.030       (0.211)
                                Number of Diagnoses                          -0.166***   (-7.463)
                                Number of Procedures                         -0.322***   (-8.067)
                                Length of Stay                               0.481***    (5.768)
                                Average Adjusted Gross Income                0.000***    (9.577)
                                Acuity (DRG Weight)                          0.036       (0.096)
Oncology Match                  Emergency Room                               -2.783***   (-4.866)
                                Female                                       0.152       (0.337)
                                Under 20                                     0.500       (0.439)
                                Over 64                                      -1.524**    (-2.665)
                                African American                             13.369***   (12.454)
                                Non-White                                    1.078       (1.202)
                                Hispanic                                     -0.762      (-1.077)
                                Number of Diagnoses                          0.042       (0.641)
                                Number of Procedures                         -0.140      (-0.979)
                                Length of Stay                               0.086       (1.358)
                                Average Adjusted Gross Income                0.000       (1.612)
                                Acuity (DRG Weight)                          -0.254      (-0.906)
Pediatric Match                 Emergency Room                               -0.077      (-0.500)
                                Female                                       -0.393*     (-2.446)
                                Under 20                                     0.000       (.)
                                Over 64                                      0.000       (.)
                                African American                             -0.630      (-1.794)
                                Non-White                                    -0.531***   (-3.356)
                                Hispanic                                     -0.506**    (-2.989)


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                          Parameter Estimates for Patient Hospital Choice Model
                                                                           Parameter
Interaction Category          Variable                                     Estimate    z -Statistic
                              Number of Diagnoses                          -0.095**    (-3.207)
                              Number of Procedures                         -0.097*     (-1.977)
                              Length of Stay                               0.012       (0.545)
                              Average Adjusted Gross Income                0.000**     (2.793)
                              Acuity (DRG Weight)                          0.204*      (2.001)
Transplant Match              Emergency Room                               -3.653**    (-2.624)
                              Female                                       -1.735      (-1.384)
                              Under 20                                     -7.325***   (-4.004)
                              Over 64                                      -4.105**    (-2.739)
                              African American                             -6.136      (-1.478)
                              Non-White                                    12.606***   (4.804)
                              Hispanic                                     7.767***    (3.380)
                              Number of Diagnoses                          0.007       (0.038)
                              Number of Procedures                         0.155       (0.736)
                              Length of Stay                               -0.072      (-1.405)
                              Average Adjusted Gross Income                -0.000      (-0.564)
                              Acuity (DRG Weight)                          -0.246      (-1.760)
Trauma Match                  Emergency Room                               -1.105      (-1.168)
                              Female                                       0.515       (0.507)
                              Under 20                                     -0.589      (-0.625)
                              Over 64                                      0.997       (0.469)
                              African American                             16.520***   (15.447)
                              Non-White                                    -1.505*     (-2.216)
                              Hispanic                                     0.736       (1.009)
                              Number of Diagnoses                          -0.130      (-1.804)
                              Number of Procedures                         0.143       (1.531)
                              Length of Stay                               0.032       (0.890)
                              Average Adjusted Gross Income                0.000       (1.034)


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                                                  Appendix C: Attachment 2
                                     Parameter Estimates for Patient Hospital Choice Model
                                                                                      Parameter
Interaction Category                     Variable                                     Estimate          z -Statistic
                                         Acuity (DRG Weight)                          -0.383            (-1.662)
                                         Number of Discharges                                   102,589
                                         Choice Set Size (Including Outside Option)                  85
                                         Total Observations                                   8,720,065
                                         System Fixed Effects                                       Yes
                                                  2
                                         Pseudo-R                                               69.17%

Notes :
1. Asterisks ***, **, and * indicate statistical significance at the one, five, and ten percent level, respectively.
2. Some interaction terms dropped out of the model due to collinearity.

Source: See Appendix C.




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                    Appendix D: Hypothetical Monopolist’s Optimal Price Increase

         1.       As described by the Merger Guidelines, the formal test for market definition
evaluates whether there would be a SSNIP over current levels, for at least one product in the
candidate market, if all products (here, hospitals) in the candidate market were controlled by a
hypothetical monopolist (“HM”). Accordingly, this Appendix describes the profit-maximizing
price increase for a single hospital (denoted 𝐻𝐻1 ) when it is owned by a HM of all hospitals in a
candidate market. For simplicity, the derivations assume that the prices of all other hospitals
(those owned by the HM in the candidate market and those not owned by the HM outside of the
candidate market) are held fixed at their original levels. As a result, the profit-maximizing price
is a measure of “upward pricing pressure” in the spirit of Farrell and Shapiro (2010). 1 In other
words, if owners of hospitals outside of the candidate market would find it optimal to change
their prices due to the hypothetical change in industry ownership structure inside the candidate
market, the prices derived below would not be equilibrium prices.

         2.       Here, I describe a simple Nash bargaining model in which a single health plan
bargains with each hospital system over the reimbursement rate (the price) that the health plan
will pay to the hospital system when one of its plan members visits a specific hospital within that
system. 2,3 Following Nash, I assume that the health plan enters into simultaneous negotiations
with each hospital system separately and all parties believe that efficient trade will occur, and
this belief is justified in equilibrium, where the parties equally divide the surplus generated from
trade. 4 For convenience, I also assume the health plan and each hospital system engage in
separate bargaining for each individual hospital within that system.

1
  Farrell, Joseph and Carl Shapiro, “Antitrust Evaluation of Horizontal Mergers: An Economic Alternative to
Market Definition,” The B.E. Journal of Theoretical Economics, Vol. 10, No. 1, 2010.
2
  The same profit-maximizing price increase can be derived from an alternative model that assumes linear demand and
Bertrand price competition, as long as the health plan reaches an agreement in the equilibrium with the other hospitals in
the candidate market. In this alternative approach, the only decision the health plan makes is whether or not to purchase at
the price posted by the hospital system.
3
  Following Nash, I use the term “bargaining” to refer to a situation where: (a) the parties can conclude a mutually
beneficial agreement; (b) there is a conflict of interests about which agreement to conclude; and (c) no agreement
can be reached without the approval of all the parties. See Nash, John F., “The Bargaining Problem,” Econometrica,
Vol. 18, No. 2, April 1950, pp. 155-62.
4
  As explained by Chipty and Snyder, the Nash assumption is that the outcome from negotiations between the health
plan (buyer) and each hospital (seller) maximizes joint surplus and therefore involves an efficient amount of trade.
The health plan and hospital i split evenly the incremental surplus generated by their trade under the belief that the
health plan buys the efficient amount in each of its negotiations with hospitals k ≠ i. It can be shown that this

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         A.        Basic Setup

         3.        To begin, consider a single health plan I that seeks to assemble a provider
network in a candidate market with 𝑚𝑚 competing hospital systems, 𝑆𝑆1 , 𝑆𝑆2 , … , 𝑆𝑆𝑚𝑚 that own 𝑛𝑛 ≥ 𝑚𝑚
different hospitals, 𝐻𝐻1 , 𝐻𝐻2 , … 𝐻𝐻𝑛𝑛 . It is useful to denote the set of hospitals owned by 𝑆𝑆𝑗𝑗 as 𝐽𝐽𝑗𝑗 . For
example, if 𝑆𝑆1 owns 𝐻𝐻1 and 𝐻𝐻2 , then 𝐽𝐽1 = [𝐻𝐻1 , 𝐻𝐻2 ], and the set of all hospitals is 𝐽𝐽 =
[𝐽𝐽1 , 𝐽𝐽2 , … , 𝐽𝐽𝑚𝑚 ] = [𝐻𝐻1 , 𝐻𝐻2 , … , 𝐻𝐻𝑛𝑛 ]. Within this framework:

    •    Let 𝑄𝑄𝑖𝑖 denote the number of health plan 𝐼𝐼’s members that visit 𝐻𝐻𝑖𝑖 .

    •    Assume that each hospital 𝑖𝑖 receives a price 𝑝𝑝𝑖𝑖 for each unit of service that it provides at
         cost 𝑐𝑐𝑖𝑖 to health plan 𝐼𝐼’s members.

    •    Let ∆i denote the gain in health plan 𝐼𝐼’s membership when 𝐻𝐻𝑖𝑖 is included in the network.

    •    Assume that the health plan receives a fixed net premium 𝜙𝜙 (premium paid net of costs
         other than hospital reimbursements) for each member.

         4.        Denote the set of hospitals in 𝐽𝐽𝑗𝑗 for which an agreement is successfully negotiated
as 𝐽𝐽𝑗𝑗̅ . If the health plan and hospital system do not come to an agreement over any individual
hospital, that hospital is out-of-network for the health plan. The set of all hospitals in the health
plan’s network is 𝐽𝐽 ̅ = [𝐽𝐽1̅ , 𝐽𝐽2̅ , … , 𝐽𝐽𝑚𝑚
                                              ̅ ]. In the two-hospital problem, this notation can be simplified.
If 𝐽𝐽1 = [𝐻𝐻1 , 𝐻𝐻2 ], then 𝐼𝐼 must bargain with 𝑆𝑆1 separately for hospitals 𝐻𝐻1 and 𝐻𝐻2 . If the health
plan and hospital system come to an agreement over the price at which the health plan will
reimburse 𝐻𝐻2 , but not 𝐻𝐻1 , then 𝐻𝐻2 will be in-network for 𝐼𝐼’s plan members, but 𝐻𝐻1 will be out-
of-network. In this instance, 𝐽𝐽1̅ = [𝐻𝐻2 ].

         5.        I assume that health plan members only go to in-network hospitals, and the out-
of-network hospitals do not recapture any of the lost patients through other channels. However,
the hospital system can recapture these lost patients through other in-network hospitals in the
hospital system, and the health plan can recapture the patients that continue to subscribe to the
health plan and visit other hospitals in the health plan’s network. Let 𝐷𝐷𝑘𝑘𝑘𝑘 be the diversion ratio
from 𝐻𝐻𝑘𝑘 to 𝐻𝐻𝑖𝑖 , or the percentage of patients that would have visited 𝐻𝐻𝑘𝑘 if it were in-network, but

outcome emerges as a limiting perfect Bayesian equilibrium of an extensive-form game. See Chipty, Tasneem and
Christopher Snyder, “The Role of Firm Size in Bilateral Bargaining: A Study of the Cable Television Industry,”
Review of Economics and Statistics, May 1999, Vol. 81, No. 2, pp. 326–340, at p. 329.

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instead visit 𝐻𝐻𝑖𝑖 when 𝐻𝐻𝑘𝑘 is out-of-network. In the two-hospital example above, the percentage of
𝐼𝐼’s plan members that would have visited 𝐻𝐻1 if it were in-network, but instead visit 𝐻𝐻2 when 𝐻𝐻1
is out of network is denoted 𝐷𝐷12 .

         B.         Equilibrium with Independent Ownership

         6.         Consider first the equilibrium in the actual world with independent hospital
systems negotiating with a health plan. Hospital system 𝑆𝑆1’s “surplus” from an agreement with
health plan 𝐼𝐼 over the price to be paid for hospital 𝐻𝐻1 is the variable profit from treating insured
patients at 𝐻𝐻1 (if an agreement is reached) minus the variable profit that would be recaptured at
other hospitals within the hospital system 𝑆𝑆1 (if an agreement is not reached):

(1)      ∑𝑖𝑖∈𝐽𝐽1̅ (𝑝𝑝𝑖𝑖 − 𝑐𝑐𝑖𝑖 )𝑄𝑄𝑖𝑖 − ∑𝑖𝑖∈𝐽𝐽1̅ ;𝑖𝑖≠1(𝑝𝑝𝑖𝑖 − 𝑐𝑐𝑖𝑖 )(𝑄𝑄𝑖𝑖 + 𝑄𝑄1 𝐷𝐷1𝑖𝑖 ),

which, after rearranging and collecting terms, is equal to (𝑝𝑝1 − 𝑐𝑐1 )𝑄𝑄1 − ∑𝑖𝑖∈𝐽𝐽1̅ ;𝑖𝑖≠1(𝑝𝑝𝑖𝑖 − 𝑐𝑐𝑖𝑖 ) 𝑄𝑄1 𝐷𝐷1𝑖𝑖 .

         7.         Health plan 𝐼𝐼’s surplus from an agreement with 𝑆𝑆1 over 𝐻𝐻1 is the additional
revenue gained from having 𝐻𝐻1 in the network minus the additional costs to the health plan of
paying for patients treated at 𝐻𝐻1 :

(2)      𝜙𝜙∆1 − �∑𝑖𝑖∈𝐽𝐽̅ 𝑝𝑝𝑖𝑖 𝑄𝑄𝑖𝑖 − ∑𝑖𝑖∈𝐽𝐽;̅ 𝑖𝑖≠1 𝑝𝑝𝑖𝑖 (𝑄𝑄𝑖𝑖 + 𝑄𝑄1 𝐷𝐷1𝑖𝑖 )�,

which, after rearranging and collecting terms, equals 𝜙𝜙∆1 − 𝑝𝑝1 𝑄𝑄1 + ∑𝑖𝑖∈𝐽𝐽;̅ 𝑖𝑖≠1 𝑝𝑝𝑖𝑖 𝑄𝑄1 𝐷𝐷1𝑖𝑖 .

         8.         Because of the assumption of an equal split of the surplus created by the
agreement, the equilibrium negotiated price 𝑝𝑝10 will be the one that makes the hospital system’s
surplus from the agreement equal to the seller’s surplus from the agreement. In other words,
setting (1) equal to (2):

(3)      (𝑝𝑝10 − 𝑐𝑐1 )𝑄𝑄1 − ∑𝑖𝑖∈𝐽𝐽1̅ ;𝑖𝑖≠1(𝑝𝑝𝑖𝑖 − 𝑐𝑐𝑖𝑖 ) 𝑄𝑄1 𝐷𝐷1𝑖𝑖 = 𝜙𝜙∆1 − 𝑝𝑝10 𝑄𝑄1 + ∑𝑖𝑖∈𝐽𝐽;̅ 𝑖𝑖≠1 𝑝𝑝𝑖𝑖 𝑄𝑄1 𝐷𝐷1𝑖𝑖

Solving (3) for 𝑝𝑝10 would yield the equilibrium negotiated price, as a function of other hospital
prices and other model parameters.

         C.         Equilibrium with the Hypothetical Monopolist

         9.         Now consider an alternative scenario in which a HM owns 𝑆𝑆1 as well as other
hospital systems in the candidate market. Denote the set of other hospitals in the candidate


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market as 𝐽𝐽𝐴𝐴 , and the set of other hospitals in the candidate market that are in the health plan’s
network as 𝐽𝐽𝐴𝐴̅ . For example, if 𝑆𝑆1 were to acquire 𝑆𝑆2 and 𝑆𝑆3 (because of the hypothetical
monopolist thought experiment), then 𝐽𝐽𝐴𝐴 = [𝐽𝐽2 , 𝐽𝐽3 ] and 𝐽𝐽𝐴𝐴̅ = [𝐽𝐽2̅ , 𝐽𝐽3̅ ].

         10.        The HM’s surplus from an agreement with 𝐼𝐼 is:

(4)      (𝑝𝑝1∗ − 𝑐𝑐1 )𝑄𝑄1 − ∑𝑖𝑖∈𝐽𝐽1̅ ;𝑖𝑖≠1(𝑝𝑝𝑖𝑖 − 𝑐𝑐𝑖𝑖 ) 𝑄𝑄1 𝐷𝐷1𝑖𝑖 − ∑𝑖𝑖∈𝐽𝐽𝐴𝐴̅ (𝑝𝑝𝑖𝑖 − 𝑐𝑐𝑖𝑖 ) 𝑄𝑄1 𝐷𝐷1𝑖𝑖

where the third term in equation (4) represents the profit that would be earned by the HM when
patients that would have visited 𝐻𝐻1 if it were in-network are diverted to acquired hospitals. The
presence of the third term indicates that the benefit to an agreement for the HM, shown in (4), is
lower than the benefit to 𝑆𝑆1 in the independent negotiation scenario, shown above in (1).

         11.        Because the health plan and hospital system bargain over hospitals individually,
the health plan 𝐼𝐼’s surplus from an agreement over 𝐻𝐻1 is the same in the independent and HM
scenarios, and is given by (2). Once again, the equilibrium negotiated price 𝑝𝑝1∗ will be the one
that makes the hospital system’s surplus from the agreement equal to the seller’s surplus from
the agreement. In other words, setting (4) equal to (2):

(5)      (𝑝𝑝1∗ − 𝑐𝑐1 )𝑄𝑄1 − ∑𝑖𝑖∈𝐽𝐽1̅ ;𝑖𝑖≠1,𝐽𝐽𝐴𝐴̅ (𝑝𝑝𝑖𝑖 − 𝑐𝑐𝑖𝑖 ) 𝑄𝑄1 𝐷𝐷1𝑖𝑖 = 𝜙𝜙∆1 − 𝑝𝑝1∗ 𝑄𝑄1 + ∑𝑖𝑖∈𝐽𝐽;̅ 𝑖𝑖≠1 𝑝𝑝𝑖𝑖 𝑄𝑄1 𝐷𝐷1𝑖𝑖

Solving (5) for 𝑝𝑝1∗ would yield the equilibrium negotiated price, as a function of other hospital
prices and other model parameters.

         D.         Optimal Price Increase for the HM

         12.        To calculate the optimal price increase for the hypothetical monopolist, I calculate
the difference between the equilibrium price with a hypothetical monopolist and the equilibrium
price with independent ownership. Substituting (3) into (5), solving for the difference in price
𝑝𝑝1∗ − 𝑝𝑝1𝑜𝑜 , and dividing by 𝑝𝑝1𝑜𝑜 , gives the predicted percentage price increase:
                           1                 𝑝𝑝
(6)      %∆𝑝𝑝1 = 2 ∑𝑖𝑖∈𝐽𝐽𝐴𝐴̅ 𝑀𝑀𝑖𝑖 𝐷𝐷1𝑖𝑖 𝑝𝑝0𝑖𝑖
                                              1

                (𝑝𝑝𝑖𝑖 −𝑐𝑐𝑖𝑖 )
where 𝑀𝑀𝑖𝑖 =                    is the margin for hospital 𝐻𝐻𝑖𝑖 .
                    𝑝𝑝𝑖𝑖




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